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                     Exhibit B
Plaintiffs’ and Defendants’ pleadings and responses
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         EXHIBIT B -1
                                                         Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 3 of 236                           7/28/2016 11:29:24 AM
                                                                                                                                   Chris Daniel - District Clerk Harris County
                                                                                                                                                     Envelope No. 11874864
                                                                           2016-49928 / Court: 125                                                          By: Monica Ovalle
                                                                                                                                              Filed: 7/28/2016 11:29:24 AM



                                                                                  CAUSE NO. _______________

                                                    ALLEN LAWRENCE BERRY                           §        IN THE DISTRICT COURT OF
                                                    2007 TRUST                                     §
                                                                                                   §
                                                    v.                                             §        HARRIS COUNTY, T E X A S
                                                                                                   §
                                                    DAMON CADE                                     §        ______TH JUDICIAL DISTRICT


                                                                              PLAINTIFF’S ORIGINAL PETITION

                                                            Allen Lawrence Berry, Individual Trustee of the Allen Lawrence Berry 2007

                                                    Trust, Plaintiff, files this Original Petition complaining of Damon Cade (“Defendant”),

                                                    Defendant herein, and respectfully states as follows:

                                                                                               I.
                                                                                           DISCOVERY

                                                            1.     Discovery in this case is intended to be conducted under Level 2. See

                                                    Texas R. Civ. P. 190.3.

                                                                                            II.
                                                                                 JURSIDICTION AND VENUE

                                                            2.     This Court has subject matter jurisdiction because the amount in

                                                    controversy exceeds the jurisdictional requirement of this Court and because none of the

                                                    causes of action pled fall within the exclusive jurisdiction of any court of this state.
Certified Document Number: 71255830 - Page 1 of 4




                                                            3.     Venue is proper in Harris County, Texas because the acts and occurrences

                                                    giving rise to the various causes of action occurred in part in Harris County, Texas.

                                                                                         III.
                                                                           PARTIES AND SERVICE OF CITATION

                                                            4.     Plaintiff is Allen Lawrence Berry, Trustee of the Allen Lawrence Berry

                                                    2007 Trust and whose address is 5005 Riverway, Suite 440, Houston, Texas 77056.
                                                      Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 4 of 236




                                                            5.    Defendant, Damon Cade is an individual residing in Harris County, Texas

                                                    who resides at 14303 Red Creek Cove, Humble, Texas. Service is not requested at this

                                                    time.

                                                                                              IV.
                                                                                             FACTS

                                                            6.    Defendant was responsible for operating certain oil and gas interests of

                                                    Plaintiff. Defendant, in operating said interests, failed to act as a reasonably prudent

                                                    operator.

                                                                                            V.
                                                                                     CAUSES OF ACTION

                                                                                         NEGLIGENCE

                                                            7.    Plaintiff incorporates all previous paragraphs as if fully restated herein.

                                                            8.    Defendant owed a duty to Plaintiff to conduct operations in a reasonably

                                                    prudent manner. Defendant breached this duty. Defendant knew or should have known

                                                    that he was not acting a reasonably prudent operator.

                                                                                                  VI.

                                                                                           DAMAGES


                                                            9.    Plaintiff seeks to recover all out-of-pocket losses that it has sustained. In
Certified Document Number: 71255830 - Page 2 of 4




                                                    addition, Plaintiff has sustained actual damages including direct and consequential

                                                    damages, as well as special damages, as a result of Defendant’s breaches, including but

                                                    not limited to: benefit of the bargain; loss of profit; loss of business opportunity; loss of

                                                    investment opportunity; expenses and fees.

                                                            10.   Plaintiff’s damages resulting from the conduct and omissions of the

                                                    Defendant are continuing and are in excess of the jurisdictional minimums of this Court.



                                                                                                 2
                                                      Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 5 of 236




                                                           11.     Finally, Plaintiff sues to recover prejudgment interest on all elements of

                                                    damages incurred in the past as provided by law; post-judgment interest on the judgment

                                                    rendered in this case at the legal rate, until paid in full; and costs of court.



                                                                                           VII.
                                                                                  CONDITIONS PRECEDENT


                                                           12.     All conditions precedent to bringing the above causes of action have been

                                                    met or occurred.

                                                                                          VIII.
                                                                                 NO ELECTION OF REMEDIES

                                                           13.     The foregoing facts and theories are pled cumulatively and alternatively,

                                                    with no election or waiver of rights or remedies.

                                                                                              IX.
                                                                                         TRIAL BY JURY


                                                           14.     Plaintiff requests trial by jury and submits appropriate jury fee.

                                                                                                X.
                                                                                              PRAYER

                                                           WHEREFORE, PREMISES CONSIDERED, Allen Lawrence Berry, Individual

                                                    Trustee of the Allen Lawrence Berry 2007 Trust prays that it take judgment against
Certified Document Number: 71255830 - Page 3 of 4




                                                    Defendant and recover:

                                                           a.      All the actual damages and special damages caused by the wrongful

                                                                   conduct complained of herein;

                                                           b.      Just and reasonable attorney’s fees;

                                                           c.      Pre- and post-judgment interest;




                                                                                                   3
                                                    Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 6 of 236




                                                       d.    Costs of suit;

                                                       e.    Other such relief at law and equity for which it may be justly entitled.




                                                                                           Respectfully submitted,

                                                                                           BUTCH BOYD LAW FIRM




                                                                                           By:
                                                                                           Ernest W. Boyd
                                                                                           State Bar No. 00783694
                                                                                           2905 Sackett Street
                                                                                           Houston, Texas 77098
                                                                                           butchboyd@butchboydlawfirm.com
                                                                                           Phone: (713) 589-8477
                                                                                           Fax: (713) 589-8563
Certified Document Number: 71255830 - Page 4 of 4




                                                                                           4
                 Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 7 of 236




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 5, 2019


     Certified Document Number:        71255830 Total Pages: 4




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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please e-mail support@hcdistrictclerk.com
Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 8 of 236




         EXHIBIT B -2
                                                         Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 9 of 236                              8/1/2016 3:47:05 PM
                                                                                                                                   Chris Daniel - District Clerk Harris County
                                                                                                                                                     Envelope No. 11932560
                                                                                                                                                         By: Brianna Denmon
                                                                                                                                                  Filed: 8/1/2016 3:47:05 PM



                                                                                     CAUSE NO. 2016-49928

                                                    ALLEN LAWRENCE BERRY                           §        IN THE DISTRICT COURT OF
                                                    2007 TRUST                                     §
                                                                                                   §
                                                    v.                                             §        HARRIS COUNTY, T E X A S
                                                                                                   §
                                                    DAMON KADE, et al.                             §        125th JUDICIAL DISTRICT


                                                                 PLAINTIFF’S FIRST AMENDED ORIGINAL PETITION

                                                            Allen Lawrence Berry, Individual Trustee of the Allen Lawrence Berry 2007

                                                    Trust, Plaintiff, files this Original Petition complaining of Damon Kade (“Defendant”),

                                                    Defendant herein, and respectfully states as follows:

                                                                                               I.
                                                                                           DISCOVERY

                                                            1.     Discovery in this case is intended to be conducted under Level 2. See

                                                    Texas R. Civ. P. 190.3.

                                                                                            II.
                                                                                 JURSIDICTION AND VENUE

                                                            2.     This Court has subject matter jurisdiction because the amount in

                                                    controversy exceeds the jurisdictional requirement of this Court and because none of the

                                                    causes of action pled fall within the exclusive jurisdiction of any court of this state.
Certified Document Number: 71304398 - Page 1 of 6




                                                            3.     Venue is proper in Harris County, Texas because the acts and occurrences

                                                    giving rise to the various causes of action occurred in part in Harris County, Texas.

                                                    Furthermore, one or more of the defendants reside in Harris County, Texas.
                                                     Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 10 of 236




                                                                                       III.
                                                                         PARTIES AND SERVICE OF CITATION

                                                             4.    Plaintiff is Allen Lawrence Berry, Trustee of the Allen Lawrence Berry

                                                    2007 Trust and whose address is 5005 Riverway, Suite 440, Houston, Texas 77056.

                                                             5.    Defendant, Damon Kade is an individual residing in Harris County, Texas

                                                    and may be served at 14303 Red Creek Cove, Humble, Texas or wherever he may be

                                                    found.

                                                             6.    Defendant, Kay Reick is an individual who may be served at his place of

                                                    employment, Furie Operating Alaska, LLC, 100 Enterprise Avenue, League City, Texas

                                                    or wherever he may be found.

                                                             7.    Defendant, Lars Degenhardt is an individual who may be served at his

                                                    place of employment, Furie Operating Alaska, LLC, 100 Enterprise Avenue, League

                                                    City, Texas or wherever he may be found.

                                                             8.    Defendant, Tom Hord is an individual who may be served at his place of

                                                    employment, Furie Operating Alaska, LLC, 100 Enterprise Avenue, League City, Texas

                                                    or wherever he may be found.

                                                             9.    Defendant, Furie Operating Alaska, LLC, is a Texas LLC doing business

                                                    at 100 Enterprise Avenue, League City, Texas and may be served by serving its
Certified Document Number: 71304398 - Page 2 of 6




                                                    registered agent for service, CT Corporation System, 1999 Bryan Street, Suite 900,

                                                    Dallas, Texas 75201-3136.

                                                             10.   Defendant, Cornucopia Oil & Gas Company, LLC, is a Texas LLC doing

                                                    business at 100 Enterprise Avenue, League City, Texas and may be served by serving its

                                                    registered agent for service, CT Corporation System, 1999 Bryan Street, Suite 900,

                                                    Dallas, Texas 75201-3136.



                                                                                               2
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                                                                                                IV.
                                                                                               FACTS

                                                           11.     Defendants were responsible for operating certain oil and gas interests of

                                                    Plaintiff. Defendants, in operating said interests, failed to act as a reasonably prudent

                                                    operator.

                                                           12.     Defendants at all times material were responsible for the administration of

                                                    certain oil and gas interests of Plaintiff. In carrying out the administration of these

                                                    interests, Defendants failed to properly administer said interest and failed to keep

                                                    Plaintiff properly advised of his interests and failed to properly account for his interests.

                                                                                             V.
                                                                                      CAUSES OF ACTION

                                                                                           NEGLIGENCE

                                                           13.     Plaintiff incorporates all previous paragraphs as if fully restated herein.

                                                           14.     Defendants owed a duty to Plaintiff to conduct operations in a reasonably

                                                    prudent manner. Defendant breached this duty. Defendant knew or should have known

                                                    that they were not acting as a reasonably prudent operator.

                                                                                           GROSS NEGLIGENCE

                                                           15.     Plaintiff incorporates all previous paragraphs as if fully restated herein.

                                                           16.     In addition or in the alternative, Defendants are liable to Plaintiff for gross
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                                                    negligence.

                                                           17.     Defendants consciously and/or deliberately engaged in recklessness,

                                                    oppression, fraud, willfulness, wantonness and will malice through their operations and

                                                    administration of Plaintiff’s interests.




                                                                                                  3
                                                     Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 12 of 236




                                                                            IMPROPER ADMINISTRATION AND ACCOUNTING

                                                             18.   Plaintiff incorporates all previous paragraphs as if fully restated herein.

                                                             19.   Defendants, have breached their duties to Plaintiff through improper

                                                    administration.    Defendants have a duty to properly account, bill, and pay the

                                                    appropriate amounts based on Plaintiff’s interest. Defendants have failed in this duty

                                                    causing Plaintiff damages greatly exceeding the minimum jurisdictional limits of this

                                                    Court.

                                                             20.   Plaintiff sues for an equitable accounting related to all joint interest

                                                    billings, and monies owed to plaintiff.

                                                                                                    VI.

                                                                                             DAMAGES


                                                             21.   Plaintiff seeks to recover all damages that it has sustained. In addition,

                                                    Plaintiff has sustained actual damages including direct and consequential damages, as

                                                    well as special damages, as a result of Defendant’s breaches.

                                                             22.   Plaintiff’s damages resulting from the conduct and omissions of the

                                                    Defendants are continuing and are in excess of the jurisdictional minimums of this

                                                    Court.
Certified Document Number: 71304398 - Page 4 of 6




                                                             23.   Finally, Plaintiff sues to recover prejudgment interest on all elements of

                                                    damages incurred in the past as provided by law; post-judgment interest on the judgment

                                                    rendered in this case at the legal rate, until paid in full; and costs of court.




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                                                      Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 13 of 236




                                                                                            VII.
                                                                                   CONDITIONS PRECEDENT


                                                           24.    All conditions precedent to bringing the above causes of action have been

                                                    met or occurred.

                                                                                        VIII.
                                                                               NO ELECTION OF REMEDIES

                                                           25.    The foregoing facts and theories are pled cumulatively and alternatively,

                                                    with no election or waiver of rights or remedies.

                                                                                            IX.
                                                                                       TRIAL BY JURY


                                                           26.    Plaintiff requests trial by jury and submits appropriate jury fee.

                                                                                             X.
                                                                                           PRAYER

                                                           WHEREFORE, PREMISES CONSIDERED, Allen Lawrence Berry, Individual

                                                    Trustee of the Allen Lawrence Berry 2007 Trust prays that it take judgment against

                                                    Defendant and recover:

                                                           a.     All the actual damages and special damages caused by the wrongful

                                                                  conduct complained of herein;
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                                                           b.     Just and reasonable attorney’s fees;

                                                           c.     Pre- and post-judgment interest;

                                                           d.     Costs of suit;

                                                           e.     Other such relief at law and equity for which it may be justly entitled.




                                                                                                5
                                                    Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 14 of 236




                                                                                     Respectfully submitted,

                                                                                     BUTCH BOYD LAW FIRM




                                                                                     By:
                                                                                     Ernest W. Boyd
                                                                                     State Bar No. 00783694
                                                                                     2905 Sackett Street
                                                                                     Houston, Texas 77098
                                                                                     butchboyd@butchboydlawfirm.com
                                                                                     Phone: (713) 589-8477
                                                                                     Fax: (713) 589-8563
Certified Document Number: 71304398 - Page 6 of 6




                                                                                    6
                Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 15 of 236




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 5, 2019


     Certified Document Number:        71304398 Total Pages: 6




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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          EXHIBIT B -3
                                                             Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 17 of 236                          8/29/2016 8:55:41 AM
                                                                                                                                     Chris Daniel - District Clerk Harris County
                                                                                                                                                       Envelope No. 12407193
                                                                                                                                                              By: bradley darnell
                                                                                            Cause No: 2016-49928                                  Filed: 8/29/2016 8:55:41 AM


                                                        ALLEN LAWRENCE BERRY 2007                       §     IN THE DISTRICT COURT OF
                                                        TRUST                                           §
                                                                                                        §
                                                                              Plaintiff,                §
                                                        v.                                              §     HARRIS COUNTY, TEXAS
                                                                                                        §
                                                        DAMON KADE, et al.,                             §
                                                                                                        §
                                                                              Defendant.                §     125th JUDICIAL DISTRICT

                                                                   DEFENDANTS’ ORIGINAL ANSWER AND SPECIAL EXCEPTIONS

                                                              FURIE OPERATING ALASKA, LLC (“Furie”) and CORNUCOPIA OIL & GAS

                                                    COMPANY, LLC (“Cornucopia”) (hereinafter the “LLC Defendants”), file this Original Answer

                                                    and Special Exceptions and would respectfully show the Court as follows:


                                                                                              I. General Denial


                                                              Reserving their right to plead further, the LLC Defendants generally deny each and every,

                                                    all and singular, the allegations made against them and demand proof thereof by a preponderance

                                                    of the evidence.


                                                                                           II. Special Exceptions


                                                              1.      Plaintiff has failed to include a statement regarding claimed damages as expressly

                                                    required by Tex. R. Civ. P. 47.
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                                                              2.      Defendants owed no tort-based duties to Plaintiff. The named Plaintiff, the “Allen

                                                    Lawrence Berry 2007 Trust,” owns no interest in any properties owned or operated by the LLC

                                                    Defendants. 1 But, even if it owned such an interest, it has no right or ability, under Texas law or

                                                    otherwise, to assert the claims that it purports to make in its “First Amended Original Petition”


                                                    1
                                                      A trust bearing the name “2007 Allen Lawrence Berry Trust” owns an overriding royalty interest
                                                    in a mineral property of which defendant Furie Operating Alaska, L.L.C., is the operator pursuant
                                                    to a written operating agreement. A copy of the applicable division order is attached as Exhibit A.
                                                          Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 18 of 236


                                                    (the “FAP”).     Those claims include “Negligence,” “Gross Negligence,” and “Improper

                                                    Administration and Accounting.” FAP at 3-4. As the Supreme Court explained in Graff v. Beard,

                                                    858 S.W.2d 918, 919 (Tex.1993), “[i]t is fundamental that the existence of a legally cognizable

                                                    duty is a prerequisite to all tort liability.” The FAP includes no allegations—none—that show the

                                                    existence of a “legally cognizable duty” running from one or more of the defendants to the

                                                    Plaintiff. Plaintiff has alleged, in attempting to plead a claim for “negligence,” that “Defendants

                                                    owed a duty to Plaintiff to conduct operations in a reasonably prudent manner.” FAP at ¶14. The

                                                    claim for “gross negligence” is equally infirm, stating that “Defendants are liable to Plaintiff for

                                                    gross negligence.” FAP at ¶16. The existence, vel non, of a legally cognizable duty is an issue

                                                    that the Court decides as a matter of law and it can be raised via special exceptions. Greater

                                                    Houston Transp. Co. v. Phillips, 801 S.W.2d 523, 525 (Tex. 1990) (“In a negligence cause of

                                                    action, the existence of “duty” is a question of law for the court to decide from the facts

                                                    surrounding the occurrence in question.”). The conclusory allegations of the FAP are insufficient,

                                                    as a matter of law, to demonstrate the existence of any legally cognizable duty running from one

                                                    or more of the Defendants to the Plaintiff.


                                                           3.      The “economic-loss” rule bars the claims. As is made clear from the FAP, the

                                                    Plaintiff’s interests and rights, if any, are established and governed by the terms of written

                                                    agreements. The economic-loss rule provides that there exists no duty in tort when the only injury
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                                                    claimed is one for economic damages recoverable under a breach of contract claim. Sterling

                                                    Chems., Inc. v. Texaco, Inc., 259 S.W.3d 793, 796 (Tex.App.Houston [1st Dist.] 2007, pet. denied).

                                                    That is, the economic loss rule precludes recovery in negligence if the loss is the subject matter of

                                                    an existing contract. Coastal Conduit & Ditching, Inc. v. Noram Energy Corp., 29 S.W.3d 282,

                                                    285 (Tex.App.-Houston [14th Dist.] 2000, no pet.). Courts have repeatedly applied the economic-

                                                    loss rule to bar claims made by working interest owners against operators, reasoning that the losses

                                                                                                     2
                                                          Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 19 of 236


                                                    being claimed arose from the underlying operating agreement. See Cone v. Fagadau Energy

                                                    Corp., 68 S.W.3d 147, 161 (Tex. App.—Eastland 2001, pet. denied); Castle Tex. Prod. L.P. v.

                                                    Long Trusts, 134 S.W.3d 267, 274-75 (Tex. App.—Tyler 2003, pet. denied). Plaintiff’s claims, if

                                                    any, are based in contract; the economic loss rule bars its non-contract claims.


                                                                                              PRAYER


                                                           For the foregoing reasons, the LLC Defendants pray that the Court sustain their special

                                                    exceptions and render judgment that Plaintiff take nothing by reason of its allegations; that this

                                                    action be dismissed on its merits; and that Defendants recover their fees and costs herein expended.

                                                    The LLC Defendants seek such and other further relief, both specific and general, at law or in

                                                    equity, to which the LLC Defendants may be justly entitled.


                                                                                                  Respectfully submitted,


                                                                                                  REYNOLDS FRIZZELL LLP

                                                                                                  By:    _/s/ Chris Reynolds
                                                                                                         Chris Reynolds
                                                                                                         State Bar No: 16801900
                                                                                                         Christopher M. Hogan
                                                                                                         State Bar No: 24065434
                                                                                                  1100 Louisiana Street, Suite 3500
                                                                                                  Houston, TX 77002
                                                                                                  Phone: (713) 485-7200
                                                                                                  Fax: (713) 485-7250
Certified Document Number: 71664929 - Page 3 of 4




                                                                                                  creynolds@reynoldsfrizzell.com
                                                                                                  chogan@reynoldsfrizzell.com

                                                                                                  ATTORNEYS FOR DEFENDANTS
                                                                                                  FURIE OPERATING ALASKA, LLC and
                                                                                                  CORNUCOPIA OIL & GAS COMPANY, LLC




                                                                                                     3
                                                          Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 20 of 236


                                                                                    CERTIFICATE OF SERVICE


                                                           I certify that on this the 29th day of August 2016, a true and correct copy of the foregoing
                                                    instrument has been served upon counsel of record in accordance with the requirements of the
                                                    Texas Rules of Civil Procedure, addressed as follows:

                                                           Ernest W. Boyd
                                                           BUTCH BOYD LAW FIRM
                                                           2905 Sackett Street
                                                           Houston, TX 77098
                                                           Email: butchboyd@butchboydlawfirm.com
                                                           Fax: (713) 589-8563


                                                                                                         _/s/ Chris Reynolds
                                                                                                         Chris Reynolds
Certified Document Number: 71664929 - Page 4 of 4




                                                                                                    4
                Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 21 of 236




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 5, 2019


     Certified Document Number:        71664929 Total Pages: 4




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                  Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 22 of 236




                                                               EXHIBIT A
Certified Document Number: 716493 - Page 1 of 3
Certified Document Number: 716493 - Page 2 of 3   Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 23 of 236
Certified Document Number: 716493 - Page 3 of 3   Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 24 of 236
                Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 25 of 236




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
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     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 5, 2019


     Certified Document Number:        71664931 Total Pages: 3




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 26 of 236




          EXHIBIT B -4
                                                          Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 27 of 236                               9/6/2016 2:44:01 PM
                                                                                                                                      Chris Daniel - District Clerk Harris County
                                                                                                                                                        Envelope No. 12544523
                                                                                                                                                         By: MELISSA TORRES
                                                                                                                                                     Filed: 9/6/2016 2:44:01 PM

                                                                                         CAUSE NO. 2016-49928

                                                    ALLEN LAWRENCE BERRY                              §       IN THE DISTRICT COURT OF
                                                    2007 TRUST                                        §
                                                                                                      §         HARRIS COUNTY, TEXAS
                                                    v.                                                §
                                                                                                      §
                                                    DAMON KADE, ET AL.                                §        125TH JUDICIAL DISTRICT

                                                                         DEFENDANT DAMON KADE’S
                                                     ORIGINAL ANSWER, SPECIAL EXCEPTIONS, AND REQUEST FOR DISCLOSURE

                                                           Defendant Damon Kade (“Kade”) files his original answer and special exceptions to the

                                                    first amended original petition filed by Plaintiff Allen Lawrence Berry, Trustee of the Allen

                                                    Lawrence Berry 2007 Trust and his request for disclosure. In support of his answer, special

                                                    exceptions, and request for disclosure, Kade would respectfully show the Court the following:

                                                                                              General Denial

                                                           1.      Kade generally denies the allegations in Plaintiff’s First Amended Original Petition

                                                    and demands strict proof thereof.

                                                                                            Special Exceptions

                                                           2.      Kade specially excepts to paragraphs 11-12 of Plaintiff’s First Amended Original

                                                    Petition, which set forth the only factual allegations in the petition. The two paragraphs comprise

                                                    four short sentences of very general, broad allegations. They are insufficient to give Kade fair

                                                    notice of the factual basis for any of Plaintiff’s claims against him and enable him to prepare a
Certified Document Number: 71775186 - Page 1 of 3




                                                    defense. See Horizon/CMS Healthcare Corp. v. Auld, 34 S.W.3d 887, 896-97 (Tex. 2000); see also

                                                    TEX. R. CIV. P. 47(a).

                                                           3.      Kade specially excepts to paragraphs 16-17 of Plaintiff’s First Amended Original

                                                    Petition, which allege gross negligence, because Plaintiff fails to allege sufficient facts to apprise

                                                    Kade of the kind of proof that Plaintiff will offer to show gross negligence. See Williams v.



                                                                                                      1
                                                          Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 28 of 236




                                                    Neutercorp, No. 01-94-00823-CV, 1995 WL 231140, at *6 (Tex. App.—Houston [1st Dist.] Apr.

                                                    20, 1995, no writ).

                                                           4.      Kade specially excepts to paragraphs 21-23 of Plaintiff’s First Amended Original

                                                    Petition, which pertain to damages, because Plaintiff fails to specify the maximum amount of

                                                    damages he claims. See TEX. R. CIV. P. 47(c).

                                                           5.      Kade specially excepts to the Prayer contained in Plaintiff’s First Amended

                                                    Original Petition because it asks for attorney’s fees but does not specify any legal basis for an

                                                    award of attorney’s fees in this case.

                                                           6.      Kade asks the Court, after a hearing, to sustain his special exceptions and order

                                                    Plaintiff to replead and cure the pleading defects.

                                                                                             Request for Disclosure

                                                           7.      Kade requests, pursuant to Texas Rule of Civil Procedure 194, that Plaintiff

                                                    disclose, within 30 days of the service of this request, the information or material described in

                                                    Texas Rule of Civil Procedure 194.2.

                                                                                                    Prayer

                                                           8.      For these reasons, Kade respectfully requests that the Court sustain his special

                                                    exceptions and dismiss this suit with prejudice or render judgment that Plaintiff take nothing. Kade

                                                    further requests all other relief to which he may be entitled.
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                                                                                                       2
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                                                                                                   Respectfully submitted,

                                                                                                   DALY & BLACK, P.C.

                                                                                                   By: /s/ John Scott Black
                                                                                                      John Scott Black
                                                                                                      State Bar No. 24012292
                                                                                                      Richard D. Daly
                                                                                                      State Bar No. 00796429
                                                                                                      Melissa Waden Wray
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                                                                                                      mwray@dalyblack.com
                                                                                                      713.655.1405—Telephone
                                                                                                      713.655.1587—Facsimile

                                                                                                   ATTORNEYS FOR DEFENDANT
                                                                                                   DAMON KADE

                                                                                   CERTIFICATE OF SERVICE

                                                           I certify that on September 6, 2016, the foregoing document was served on the following
                                                    counsel of record by notice of electronic filing in accordance with the Texas Rules of Civil
                                                    Procedure:

                                                    Ernest W. Boyd
                                                    Butch Boyd Law Firm
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                                                    Houston, Texas 77098
                                                    (713) 589-8477 – Phone
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                                                    butchboyd@butchboydlawfirm.com
Certified Document Number: 71775186 - Page 3 of 3




                                                                                                   /s/ John Scott Black
                                                                                                   John Scott Black




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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 5, 2019


     Certified Document Number:        71775186 Total Pages: 3




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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please e-mail support@hcdistrictclerk.com
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                                                          Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 32 of 236                            11/1/2016 6:21:20 PM
                                                                                                                                    Chris Daniel - District Clerk Harris County
                                                                                                                                                      Envelope No. 13567052
                                                                                                                                                       By: Barbara Thompson
                                                                                                                                                 Filed: 11/1/2016 6:21:20 PM



                                                                                      CAUSE NO. 2016-49928

                                                     ALLEN LAWRENCE BERRY                           §       IN THE DISTRICT COURT OF
                                                     2007 TRUST                                     §
                                                                                                    §
                                                     v.                                             §       HARRIS COUNTY, T E X A S
                                                                                                    §
                                                     DAMON KADE, et al.                             §       125th JUDICIAL DISTRICT


                                                                         PLAINTIFF’S SECOND AMENDED PETITION

                                                             Allen Lawrence Berry, Individual Trustee of the Allen Lawrence Berry 2007

                                                     Trust (“Plaintiff”) files this Second Amended Petition complaining of Damon Kade, Kay

                                                     Reick, Lars Degenhardt, Tom Hord, Furie Operating Alaska, LLC, and Cornucopia Oil &

                                                     Gas Company, LLC (“Defendants”), Defendants herein, and respectfully states as

                                                     follows:

                                                                                           I.
                                                                              DISCOVERY AND RELIEF SOUGHT

                                                             1.     Discovery in this case is intended to be conducted under Level 2. See Tex.

                                                     R. Civ. P. 190.3.

                                                             2.     Plaintiff seeks monetary relief over $1,000,000. See Tex. R. Civ. P. 47(c).

                                                                                             II.
                                                                                  JURSIDICTION AND VENUE
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                                                             3.     This Court has subject matter jurisdiction because the amount in

                                                     controversy exceeds the jurisdictional requirement of this Court and because none of the

                                                     causes of action pled fall within the exclusive jurisdiction of any court of this state.

                                                             4.     Venue is proper in Harris County, Texas because the acts and occurrences

                                                     giving rise to the various causes of action occurred in part in Harris County, Texas.

                                                     Furthermore, one or more of the defendants reside in Harris County, Texas.
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                                                                                        III.
                                                                          PARTIES AND SERVICE OF CITATION

                                                           4.      Plaintiff is Allen Lawrence Berry, Trustee of the Allen Lawrence Berry

                                                     2007 Trust and whose address is 5005 Riverway, Suite 440, Houston, Texas 77056.

                                                           5.      Defendant, Damon Kade has made an appearance in this case. Damon

                                                     Kade is represented John Scott Black, Richard D. Daly, and Melissa Waden Wray of

                                                     Daly & Black, P.C., 2211 Norfolk Street, Ste. 800, Houston, TX 77098

                                                           6.      Defendant, Kay Reick is an individual who may be served at his place of

                                                     employment, Furie Operating Alaska, LLC, 100 Enterprise Avenue, League City, Texas

                                                     or wherever he may be found.

                                                           7.      Defendant, Lars Degenhardt is an individual who was served by

                                                     substituted service on October 24, 2016.

                                                           8.      Defendant, Tom Hord is an individual who was served by substituted

                                                     service on October 24, 2016.

                                                           9.      Defendant, Furie Operating Alaska, LLC, is a Texas LLC has made an

                                                     appearance in this case. Defendant Furie Operating Alaska, LLC is represented by Chris

                                                     Reynolds and Christopher M. Hogan of Reynolds Frizzell, LLP, 1100 Louisiana Street,

                                                     Ste. 3500, Houston, TX 77002.
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                                                           10.     Defendant, Cornucopia Oil & Gas Company, LLC, is a Texas LLC has

                                                     made an appearance in this case. Cornucopia Oil & Gas Company is represented by

                                                     Chris Reynolds and Christopher Hogan of Reynolds Frizzell, LLP, 1100 Louisiana

                                                     Street, Ste. 3500, Houston Texas 77002.




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                                                                                              IV.
                                                                                             FACTS

                                                           11.     Escopeta Oil, LLC (“Escopeta Oil”) and Escopeta of Alaska, LLC,

                                                     (“Escopeta Alaska”) were originally owned by Allen Lawrence Berry (“Berry”) and

                                                     Danny Davis (“Davis”).

                                                           12.     On October 22, 2010, Escopeta Oil and Taylor Minerals, LLC (“Taylor”),

                                                     as Assignors, entered into a Lease Assignment and Participation Agreement (“Lease

                                                     Assignment”) with Escopeta Alaska, as Assignee, regarding leases in the Cook Inlet

                                                     Basin (“Leases”) in Alaska. The following are the pertinent provisions of the Lease

                                                     Assignment:

                                                           9.3     The parties acknowledge that under the current laws of the State of
                                                                   Alaska, certain expenses incurred in connection with the
                                                                   development of the KLU Leases may qualify to be refunded or
                                                                   reimbursed by the State of Alaska, HB 280 and the overall ACES
                                                                   Program or for credits against income taxes otherwise payable to
                                                                   the State of Alaska. To the extent the parties are able to qualify for
                                                                   such tax credits, [Escopeta Oil] and Taylor hereby agree that all tax
                                                                   credits shall be monetized for the benefit of [Escopeta Alaska] as
                                                                   full and complete payment for the working interest costs of
                                                                   [Escopeta Oil] and Taylor for the drilling of the #1 KLU and
                                                                   subsequent wells in which [Escopeta Oil] and Taylor are working
                                                                   interest owners.

                                                           9.4     The parties acknowledge that under the current laws of the State of
                                                                   Alask, the wells drilled on all the Leases may qualify for a
                                                                   production royalty or a reduction in the royalty percentage paid to
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                                                                   the State of Alaska. To the extent the parties are successful in
                                                                   obtaining this royalty relief credit, the value or interest received
                                                                   pursuant to any such program on all leases will belong 79% to
                                                                   [Escopeta Alaska] and 21% to [Escopeta Oil] (for itself and, as
                                                                   applicable, for the benefit of Taylor).

                                                           9.5     [Escopeta Oil] and Taylor will contribute 100% of their share and
                                                                   all right, title and interested in and to all funds due from SB 309,
                                                                   HB 280, and the Alaska ACES Program for the development of the
                                                                   KLU. For this contribution, along with prior work in developing
                                                                   the KLU geology and exploration program, [Escopeta Oil] and



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                                                                    Taylor will own a 21% working interest based on a 75% NRI in
                                                                    the KLU drilling and development program. This working interest
                                                                    shall be free and clear of any and all additional costs and
                                                                    assessments and will include all drilling, completion, platform,
                                                                    pipeline and facility costs to bring oil and gas into production. The
                                                                    21% working interest will come into effect at the time [Escopeta
                                                                    Alaska] has recovered 100% of its total costs of drilling,
                                                                    completing, building pipelines, platforms, necessary facilities and
                                                                    placing the Kitchen Lights Unit on production. [Escopeta Oil] and
                                                                    Taylor will pay their share of all operating expenses, workover and
                                                                    recompletion costs, in accordance with their respective working
                                                                    interest ownership, once [Escopeta Alaska] has recovered 100% of
                                                                    its total cost.

                                                              13.   After the Lease Assignment was entered, Davis and Berry assigned 100%

                                                     interest of Escopeta Oil and Escopeta Alaska to Furie Operating Alaska, LLC.

                                                     However, Davis retained his interest in the Leases individually, and Berry transferred his

                                                     interest in the Leases to the Allen Lawrence Berry 2007 Trust (“Berry Trust”).

                                                              14.   Escopeta Alaska changed its name to Defendant Cornucopia Oil & Gas

                                                     Company, LLC (“Cornucopia”) after entering into the Lease Assignment.                  Upon

                                                     information and belief, Furie Operating is owned 100% by Defendant Furie Petroleum

                                                     Company, LLC (“Furie Petroleum”), Furie Petroleum is owned 100% by Defendant

                                                     Advanced Capital Funding (“ACF”), and Furie Petroleum is owned 88% by Cornucopia.

                                                              15.   Additionally, upon information and belief, Cornucopia is also owned

                                                     wholly or partially by Deutsche Oel & Gas, AG (“Deutsche”), Deutsche is owned 100%
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                                                     by Alecto, Ltd. (“Alecto”), and Alecto is owned 100% indirectly by Defendant Kay

                                                     Reick.

                                                              16.   Upon information and belief, Defendant Lars Degenhardt is the President

                                                     of Furie Operating and has a connection to Deutsche, Defendant Damon Kade is the




                                                                                                 4
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                                                     former President of Furie Petroleum, and DefendantTom Hord is the Chief Operating

                                                     Officer of Furie Petroleum.

                                                            17.     Pursuant to the Lease Assignment and a subsequent transfer of an

                                                     additional 1% to Cornucopia from Escopeta Oil, the current working interest in the

                                                     Leases is divided as follows:

                                                                    80%                     Cornucopia

                                                                    6.875%                  Davis

                                                                    7.875%                  Berry Trust

                                                                    5.25%                   Taylor

                                                            18.     Pursuant to a Joint Operating Agreement between Escopeta Oil (later

                                                     Furie Operating) and Escopeta Alaska (later Cornucopia) entered into on October 21,

                                                     2010, Furie Operating, through itself and the relationships with the other Defendants,

                                                     was responsible for the administration and operation of the Leases. Defendants, in

                                                     operating said interests, failed to properly administer said interest, failed to keep Plaintiff

                                                     properly advised of his interests, and failed to properly account for his interests.

                                                            19.     Specifically, Defendants (1) failed to properly account for tax credits

                                                     received by the state of Alaska under Section 9.3 of the Lease Assignment; (2) failed to

                                                     properly account for discovery royalties under Section 9.4 of the Lease Assignment; and
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                                                     (3) charged improper and excessive operating costs for the Leases at issue. Further,

                                                     Defendants improperly engaged in self-dealing, as shown from the intertwined business

                                                     relationship between the majority interest owner of the lease assignment, Cornucopia,

                                                     and the operator, Furie Operating, and the further ownership structure of the entities

                                                     described herein.




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                                                                                              V.
                                                                                       CAUSES OF ACTION

                                                                                            NEGLIGENCE

                                                            20.     Plaintiff incorporates all previous paragraphs as if fully restated herein.

                                                            21.     Defendants owed a duty to Plaintiff to conduct operations in a reasonably

                                                     prudent manner. Defendants breached this duty. Defendants knew or should have

                                                     known that they were not acting as a reasonably prudent operator.

                                                                                        GROSS NEGLIGENCE

                                                            22.     Plaintiff incorporates all previous paragraphs as if fully restated herein.

                                                            23.     In addition, or in the alternative, Defendants are liable to Plaintiff for gross

                                                     negligence.

                                                            24.     Defendants consciously and/or deliberately engaged in recklessness,

                                                     oppression, fraud, willfulness, wantonness and will malice through their operations and

                                                     administration of Plaintiff’s interests.

                                                                                       BREACH OF CONTRACT

                                                            25.     Plaintiff incorporates all previous paragraphs as if fully restated herein.

                                                            26.     Defendants failed to abide by the terms and conditions of the Lease

                                                     Assignment and Joint Operating Agreement.
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                                                            27.     Plaintiff has peformed his contractual obligations, and all conditions

                                                     preceduent have been met.

                                                            28.     Defendants have breach the Lease Assignment and Joint Operating

                                                     Agreement by failing to abide by one or more of the terms and conditions. This breach

                                                     has cause injury to Plaintiff.




                                                                                                   6
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                                                                       BREACH OF FIDUCIARY DUTY/AIDING AND ABETTING

                                                              29.   Plaintiff incorporates all previous paragraphs as if fully restated herein.

                                                              30.   Defendants acted as a fiduciary to Plaintiff, owing Plaintiff the duty of

                                                     good faith and fair dealing and the duty to make full disclosure to Plaintiff concerning

                                                     matters affecting the Leases.

                                                              31.   Defendants have breached and/or aided and abetted the breach of fiduciary

                                                     duties owed to Plaintiff by knowingly and intentionally failing to fully disclose and

                                                     account for material facts concerning the Leases. The breaches resulted in damages to

                                                     Plaintiff greatly exceeding the minimum jurisdictional limits of this Court.

                                                                             IMPROPER ADMINISTRATION AND ACCOUNTING

                                                              32.   Plaintiff incorporates all previous paragraphs as if fully restated herein.

                                                              33.   Defendants, have breached their duties to Plaintiff through improper

                                                     administration.    Defendants have a duty to properly account, bill, and pay the

                                                     appropriate amounts based on Plaintiff’s interest. Defendants have failed in this duty

                                                     causing Plaintiff damages greatly exceeding the minimum jurisdictional limits of this

                                                     Court.

                                                              34.   Plaintiff sues for an equitable accounting related to all joint interest

                                                     billings, and monies owed to plaintiff.
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                                                                                               VI.
                                                                                            DAMAGES

                                                              35.   Plaintiff seeks to recover all damages that it has sustained. In addition,

                                                     Plaintiff has sustained actual damages including direct and consequential damages, as

                                                     well as special damages, as a result of Defendants’ breaches and action.



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                                                              36.   Plaintiff’s damages resulting from the conduct and omissions of the

                                                     Defendants are continuing and are in excess of the jurisdictional minimums of this

                                                     Court.

                                                              37.   Finally, Plaintiff sues to recover prejudgment interest on all elements of

                                                     damages incurred in the past as provided by law, post-judgment interest on the judgment

                                                     rendered in this case at the legal rate, until paid in full, and costs of court.

                                                                                            VII.
                                                                                   CONDITIONS PRECEDENT


                                                              38.   All conditions precedent to bringing the above causes of action have been

                                                     met or occurred.

                                                                                           VIII.
                                                                                  NO ELECTION OF REMEDIES

                                                              39.   The foregoing facts and theories are pled cumulatively and alternatively,

                                                     with no election or waiver of rights or remedies.

                                                                                               IX.
                                                                                          TRIAL BY JURY

                                                              40.   Plaintiff requests trial by jury and submits appropriate jury fee.

                                                                                           X.
                                                                              REQUEST FOR DISCLOSURE
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                                                              41.   Plaintiff requests, pursuant to Texas Rule of Civil Procedure 194, the

                                                     Defendants named in this case to disclose, the information or material described in

                                                     Texas Rule of Civil Procedure 194.2.




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                                                                                              XI.
                                                                                            PRAYER

                                                            WHEREFORE, PREMISES CONSIDERED, Allen Lawrence Berry, Individual

                                                     Trustee of the Allen Lawrence Berry 2007 Trust prays that it take judgment against

                                                     Defendants and recover:

                                                            a.     All the actual damages and special damages caused by the wrongful

                                                                   conduct complained of herein;

                                                            b.     Just and reasonable attorney’s fees;

                                                            c.     Pre- and post-judgment interest;

                                                            d.     Costs of suit; and

                                                            e.     Other such relief at law and equity for which it may be justly entitled.


                                                                                                 Respectfully submitted,

                                                                                                 BUTCH BOYD LAW FIRM




                                                                                                 ________________________________
                                                                                                 ERNEST W. BOYD
                                                                                                 State Bar No. 00783694
                                                                                                 butchboyd@butchboydlawfirm.com
                                                                                                 CHERYL L. TURNER
                                                                                                 State Bar No. 24076279
Certified Document Number: 72577579 - Page 9 of 10




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                                                                                                 Phone: (713) 589-8477
                                                                                                 Fax: (713) 589-8563

                                                                                                 ATTORNEYS FOR PLAINTIFF




                                                                                                 9
                                                        Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 41 of 236




                                                                               CERTIFICATE OF SERVICE

                                                           I hereby certify that the foregoing instrument was served on all Counsel in
                                                      accordance with T.R.C.P. on the 1st day of November, 2016:

                                                      Via Facsimile (713) 485-7250
                                                      & Via Email
                                                      Mr. Chris Reynolds
                                                      creynolds@reynoldsfrizzell.com
                                                      Mr. Christopher M. Hogan
                                                      chogan@reynoldsfrizzell.com
                                                      Reynolds Frizzell, LLP
                                                      1100 Louisiana Street, Ste. 3500
                                                      Houston, TX 77002
                                                      Attorneys for Defendants, Furie Operating Alaska, LLC and Cornucopia Oil & Gas
                                                      Company, LLC

                                                      Via Facsimile: 713-655-1587
                                                      & Via Email
                                                      Mr. John Scott Black
                                                      jblack@dalyblack.com
                                                      Mr. Richard D. Daly
                                                      rdaly@dalyblack.com
                                                      Ms. Melissa Waden Wray
                                                      mwray@dalyblack.com
                                                      Daly & Black, P.C.
                                                      211 Norfolk Street, Ste. 800
                                                      Houston, TX 77098
                                                      Attorneys for Defendant, Damon Kade
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                                                                                             ________________________________
                                                                                             ERNEST W. BOYD




                                                                                            10
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
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     Witness my official hand and seal of office
     this November 5, 2019


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     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                             Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 44 of 236 11/13/2016 8:36:49 PM
                                                                                                                                     Chris Daniel - District Clerk Harris County
                                                                                                                                                       Envelope No. 13760468
                                                                                                                                                       By: MELISSA TORRES
                                                                                            Cause No: 2016-49928                               Filed: 11/14/2016 12:00:00 AM


                                                    ALLEN LAWRENCE BERRY 2007                          §         IN THE DISTRICT COURT OF
                                                    TRUST,                                             §
                                                                                                       §
                                                         Plaintiff,                                    §
                                                                                                       §
                                                    v.                                                 §         HARRIS COUNTY, TEXAS
                                                                                                       §
                                                    DAMON KADE, et al.,                                §
                                                                                                       §
                                                         Defendants.                                   §         125TH JUDICIAL DISTRICT

                                                                           DEFENDANT TOM HORD’S ORIGINAL ANSWER

                                                             Defendant Tom Hold makes this his appearance and general denial and would show this

                                                    Court as follows:

                                                                                            GENERAL DENIAL

                                                             1.       Defendant Tom Hold generally denies each and every, all and singular the

                                                    allegations in Plaintiff’s petitions filed with this Court, which includes Plaintiff’s live pleading,

                                                    Plaintiff’s Second Amended Petition that was filed with this Court on November 1, 2016.

                                                                                                   PRAYER

                                                             For these reasons, Defendant Tom Hord asks this Court to: (1) enter a take nothing judgment

                                                    against Plaintiff Allen Lawrence Berry 2007 Trust; (2) assess costs against Plaintiff; and (3) award

                                                    all other relief to which Defendant is entitled.

                                                                                                           Respectfully submitted,
CertifiedDocumentNumber:72708461-Page1of2




                                                                                                           /s/ J. Marcus “Marc” Hill
                                                                                                           J. Marcus “Marc” Hill
                                                                                                           State Bar Number 09638150
                                                                                                           Hill & Hill, P.C. Law Firm
                                                                                                           1770 St. James Place, Suite 115
                                                                                                           Houston, Texas 77056
                                                                                                           713-688-6318 (Telephone)
                                                                                                           713-688-2817 (Facsimile)
                                                                                                           marc@hillpclaw.com

                                                                                                           ATTORNEY FOR DEFENDANT
                                                                                                           TOM HORD
                                                           Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 45 of 236


                                                                                    CERTIFICATE OF SERVICE

                                                           I certify that on this 13th day of November 2016, a true and correct copy of the foregoing
                                                    instrument has been served upon counsel of record in accordance with the requirements of the
                                                    Texas Rules of Civil Procedure, by electronic e-filing service provider and electronic mail, as
                                                    follows:

                                                           Ernest W. Boyd
                                                           Cheryl L. Turner
                                                           Butch Boyd Law Firm
                                                           butchboyd@butchboydlawfirm.com
                                                           cherylturner@butchboydlawfirm.com

                                                           ATTORNEYS FOR PLAINTIFF


                                                           John Scott Black
                                                           Richard D. Daly
                                                           Melissa Waden Wray
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                                                           mwray@dalyblack.com

                                                           ATTORNEYS FOR DEFENDANT
                                                           DAMON KADE


                                                           Chris Reynolds
                                                           Chris Hogan
                                                           Cory Liu
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                                                           chogan@reynoldsfrizzell.com
                                                           cliu@reynoldsfrizzell.com

                                                           ATTORNEYS FOR DEFENDANTS
CertifiedDocumentNumber:72708461-Page2of2




                                                           FURIE OPERATING ALASKA LLC
                                                           and CORNUCOPOA OIL & GAS COMPANY LLC




                                                                                                       /s/ J. Marcus “Marc” Hill
                                                                                                        J. Marcus “Marc” Hill




                                                                                                   2
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 5, 2019


     Certified Document Number:        72708461 Total Pages: 2




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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          EXHIBIT B -7
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                                                                                                                                      Chris Daniel - District Clerk Harris County
                                                                                                                                                        Envelope No. 14330541
                                                                                                                                                        By: MELISSA TORRES
                                                                                           Cause No: 2016-49928                                  Filed: 12/16/2016 1:28:07 PM


                                                        ALLEN LAWRENCE BERRY 2007                       §     IN THE DISTRICT COURT OF
                                                        TRUST                                           §
                                                                                                        §
                                                                             Plaintiff,                 §
                                                        v.                                              §     HARRIS COUNTY, TEXAS
                                                                                                        §
                                                        DAMON KADE, et al.,                             §
                                                                                                        §
                                                                             Defendant.                 §     125th JUDICIAL DISTRICT

                                                             DEFENDANTS’ FIRST AMENDED ANSWER AND SPECIAL EXCEPTIONS

                                                              FURIE OPERATING ALASKA, LLC (“Furie”) and CORNUCOPIA OIL & GAS

                                                    COMPANY, LLC (“Cornucopia”) (collectively, the “LLC Defendants”), file this First Amended

                                                    Answer and Special Exceptions and would respectfully show the Court as follows:


                                                                                             I. General Denial


                                                              Reserving their right to plead further, the LLC Defendants generally deny each and every,

                                                    all and singular, the allegations made against them and demand proof thereof by a preponderance

                                                    of the evidence.


                                                                                           II. Special Exceptions


                                                              1.     The Plaintiff alleges that it owns a “working interest” in Alaskan oil and gas leases

                                                    being operated by Furie Operating. 1 Second Amended Petition (the “SAP”) at ¶17. This case, as
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                                                    most recently re-pleaded, concerns Plaintiff’s claims that Furie Operating has breached contractual

                                                    obligations allegedly owed to Plaintiff, in its capacity as the owner of a working interest, under

                                                    two agreements, including a “Lease Assignment and Participation Agreement” and a “Joint

                                                    Operating Agreement” (the “JOA”). SAP at ¶¶ 17-18. Copies of the two agreements referenced



                                                    1
                                                      The LLC Defendants deny that the Plaintiff owns a working interest in the project. Their
                                                    records indicate that the Plaintiff owns an overriding royalty interest, but that the working
                                                    interest is owned by Mr. Berry, in his individual capacity.
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                                                    in the SAP are attached as Exhibits A and B. Only Furie Operating has any duties under either of

                                                    the two agreements. It now stands in the shoes of the original operator under the JOA. SAP at

                                                    ¶18. None of the other defendants are parties to the JOA. Those other defendants include, instead,

                                                    (i) Cornucopia, the owner of the lion’s share of the working interest; (ii) various individuals

                                                    currently or formerly employed by affiliates of Furie Operating; and Kay Reick, an individual who

                                                    has not yet been served. Plaintiff’s only allegation specific to Reick is that he is the ultimate, and

                                                    quite indirect, owner of Cornucopia, itself a mere working interest owner. SAP at ¶15.


                                                              2.   None of the Defendants owed any tort-based duties to Plaintiff. Having pleaded

                                                    the existence of governing agreements, Plaintiff has no right or ability, under Texas law or

                                                    otherwise, to assert the tort claims that it purports to make in the SAP. Those claims include

                                                    “Negligence,” “Gross Negligence,” “Breach of Fiduciary Duty,” and “Aiding and Abetting” SAP

                                                    at 6-7.


                                                              3.   As the Supreme Court explained in Graff v. Beard, 858 S.W.2d 918, 919

                                                    (Tex.1993), “[i]t is fundamental that the existence of a legally cognizable duty is a prerequisite to

                                                    all tort liability.” The SAP includes no allegations—none—that show the existence of a “legally

                                                    cognizable duty” (save and except for the contractual duties of Furie Operating under the two,

                                                    written agreements) running from one or more of the Defendants to the Plaintiff. Accordingly, the

                                                    LLC Defendants specially except to all of Plaintiff’s tort claims.
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                                                              4.   In addition, the “economic-loss” rule bars the claims. As the SAP makes clear, the

                                                    Plaintiff’s interests and rights, if any, are established and governed by the terms of two, written

                                                    agreements. The economic-loss rule provides that there exists no duty in tort when the only injury

                                                    claimed is one for economic losses arising from the breach of a contractual duty. Sterling Chems.,

                                                    Inc. v. Texaco, Inc., 259 S.W.3d 793, 796 (Tex.App.Houston [1st Dist.] 2007, pet. denied). That

                                                                                                      2
                                                          Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 50 of 236


                                                    is, the economic loss rule precludes recovery in tort if the loss is the subject matter of an existing

                                                    contract. Coastal Conduit & Ditching, Inc. v. Noram Energy Corp., 29 S.W.3d 282, 285

                                                    (Tex.App.-Houston [14th Dist.] 2000, no pet.). Courts have repeatedly applied the economic-loss

                                                    rule to bar claims made by working interest owners against operators, reasoning that the losses

                                                    being claimed arose from alleged breaches of the underlying operating agreement. See Cone v.

                                                    Fagadau Energy Corp., 68 S.W.3d 147, 161 (Tex. App.—Eastland 2001, pet. denied); Castle Tex.

                                                    Prod. L.P. v. Long Trusts, 134 S.W.3d 267, 274-75 (Tex. App.—Tyler 2003, pet. denied).

                                                    Plaintiff’s claims, if any, are based in contract; the economic loss rule bars its non-contract claims.


                                                                                                PRAYER


                                                           For the foregoing reasons, the LLC Defendants pray that the Court sustain their special

                                                    exceptions and render judgment that Plaintiff take nothing by reason of its allegations; that this

                                                    action be dismissed on its merits; and that Defendants recover their fees and costs herein expended.

                                                    The LLC Defendants seek such and other further relief, both specific and general, at law or in

                                                    equity, to which the LLC Defendants may be justly entitled.
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                                                                                  Respectfully submitted,
                                                                                  REYNOLDS FRIZZELL LLP
                                                                                  By:    /s/ Chris Reynolds
                                                                                         Chris Reynolds
                                                                                         State Bar No: 16801900
                                                                                         Christopher M. Hogan
                                                                                         State Bar No: 24065434
                                                                                         Cory R. Liu
                                                                                         State Bar No: 24098003
                                                                                  1100 Louisiana Street, Suite 3500
                                                                                  Houston, TX 77002
                                                                                  Phone: (713) 485-7200
                                                                                  Fax: (713) 485-7250
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                                                                                  chogan@reynoldsfrizzell.com
                                                                                  cliu@reynoldsfrizzell.com

                                                                                  ATTORNEYS FOR DEFENDANTS
                                                                                  FURIE OPERATING ALASKA, LLC and
                                                                                  CORNUCOPIA OIL & GAS COMPANY, LLC
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                                                                                   CERTIFICATE OF SERVICE

                                                           I certify that on this 16th day of December 2016, a true and correct copy of the foregoing
                                                    instrument has been served upon counsel of record in accordance with the requirements of the
                                                    Texas Rules of Civil Procedure, addressed as follows:

                                                           Ernest W. Boyd
                                                           Cheryl L. Turner
                                                           BUTCH BOYD LAW FIRM
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                                                           cherylturner@butchboydlawfirm.com
                                                           Fax: (713) 589-8563
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                                                           Richard D. Daly
                                                           Melissa Waden Wray
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                                                           Houston, TX 77098
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                                                           mwray@dalyblack.com
                                                           Fax: (713) 655-1587
                                                           Attorneys for Defendant Damon Kade

                                                           J. Marcus “Marc” Hill
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                                                           Houston, TX 77056
                                                           marc@hillpclaw.com
                                                           Fax: (713) 688-2817
                                                           Attorney for Defendant Tom Hord
Certified Document Number: 73125609 - Page 5 of 5




                                                                                                        /s/ Chris Reynolds
                                                                                                        Chris Reynolds




                                                                                                   5
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
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     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 5, 2019


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     HARRIS COUNTY, TEXAS




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     I, Marilyn Burgess, District Clerk of Harris
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     this November 5, 2019


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          EXHIBIT B -8
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                                                                                                                                     Chris Daniel - District Clerk Harris County
                                                                                                                                                       Envelope No. 14336648
                                                                                                                                                       By: MELISSA TORRES
                                                                                        CAUSE NO. 2016-49928                                    Filed: 12/16/2016 3:43:13 PM


                                                    ALLEN LAWRENCE BERRY                             §      IN THE DISTRICT COURT OF
                                                    2007 TRUST                                       §
                                                                                                     §        HARRIS COUNTY, TEXAS
                                                    v.                                               §
                                                                                                     §
                                                    DAMON KADE, ET AL.                               §        125TH JUDICIAL DISTRICT

                                                                             DEFENDANT DAMON KADE’S
                                                                   FIRST AMENDED ANSWER AND SPECIAL EXCEPTIONS

                                                           Defendant Damon Kade (“Kade”) files his First Amended Answer and Special Exceptions

                                                    and would respectfully show the Court the following:

                                                                                           I. General Denial

                                                           Reserving his right to plead further, Kade generally denies each and every, all and singular,

                                                    the allegations made against him and demands proof thereof by a preponderance of the evidence.

                                                                                         II. Special Exceptions

                                                           1.      This case, as most recently re-pleaded, alleges negligence, gross negligence, breach

                                                    of contract, breach of fiduciary duty/aiding and abetting, and improper administration and

                                                    accounting against Defendants, who include: 1) Furie Operating Alaska, LLC (“Furie Operating”);

                                                    2) Cornucopia Oil & Gas Company, LLC (“Cornucopia”); and 3) several individuals. Kade is one

                                                    of those individual defendants. He is the former president of Furie Operating.

                                                           2.      Plaintiff’s claims purport to arise out of two agreements, including a “Lease

                                                    Assignment and Participation Agreement” and a “Joint Operating Agreement” (the “JOA”).
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                                                    Second Amended Petition (the “SAP”) at ¶¶ 17-18. Copies of the two agreements are attached as

                                                    Exhibits A and B. Plaintiff alleges (and Defendants deny) that it owns a “working interest” in the

                                                    properties being operated by Furie Operating. SAP at ¶ 17.

                                                           3.      Only Furie Operating has any duties under either of the two agreements. It now

                                                    stands in the shoes of the original operator under the JOA. SAP at ¶18. Neither Kade nor any of
                                                          Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 74 of 236


                                                    the other Defendants is a party to the JOA. Plaintiff’s only allegation specific to Kade is that he is

                                                    the former president of Furie Operating. SAP at ¶ 16.

                                                            4.      In addition, none of the Defendants, including Kade, owed any tort-based duties to

                                                    Plaintiff. Having pleaded the existence of governing agreements, Plaintiff has no right or ability,

                                                    under Texas law or otherwise, to assert the tort claims that it purports to make in the SAP. As the

                                                    Supreme Court explained in Graff v. Beard, 858 S.W.2d 918, 919 (Tex. 1993), “[i]t is fundamental

                                                    that the existence of a legally cognizable duty is a prerequisite to all tort liability.” The SAP

                                                    includes no allegations—none—that show the existence of a “legally cognizable duty” (save and

                                                    except for the contractual duties of Furie Operating under the two written agreements) running

                                                    from one or more of the Defendants to Plaintiff. Accordingly, Kade specially excepts to all of

                                                    Plaintiff’s tort claims.

                                                            5.      Further, the “economic loss” rule bars the claims. As is made clear from the SAP,

                                                    Plaintiff’s interests and rights, if any, are established and governed by the terms of two written

                                                    agreements. The economic loss rule provides that there exists no duty in tort when the only injury

                                                    claimed is one for economic losses arising from the breach of a contractual duty. See Sterling

                                                    Chems., Inc. v. Texaco, Inc., 259 S.W.3d 793, 796 (Tex. App.—Houston [1st Dist.] 2007, pet.

                                                    denied). That is, the economic loss rule precludes recovery in tort if the loss is the subject matter

                                                    of an existing contract. Coastal Conduit & Ditching, Inc. v. Noram Energy Corp., 29 S.W.3d 282,

                                                    285 (Tex. App.—Houston [14th Dist.] 2000, no pet.). Courts have repeatedly applied the economic
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                                                    loss rule to bar claims made by working interest owners against operators, reasoning that the losses

                                                    being claimed arose from alleged breaches of the underlying operating agreement. See, e.g., Cone

                                                    v. Fagadau Energy Corp., 68 S.W.3d 147, 161 (Tex. App.—Eastland 2001, pet. denied); Castle

                                                    Tex. Prod. L.P. v. Long Trusts, 134 S.W.3d 267, 274-75 (Tex. App.—Tyler 2003, pet. denied).

                                                    Plaintiff’s claims, if any, are based in contract (albeit no such claims exist against Kade because

                                                    he is not a party to either contract); the economic loss rule bars its non-contract claims.
                                                                                                      2
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                                                                                              PRAYER

                                                            For the foregoing reasons, Defendant Damon Kade prays that the Court sustain his special

                                                    exceptions and render judgment that Plaintiff take nothing by reason of its allegations; that this

                                                    action be dismissed on its merits; and that Kade recover his fees and costs herein expended. Kade

                                                    seeks such and other further relief, both specific and general, at law or in equity, to which he may

                                                    be justly entitled.

                                                                                                      Respectfully submitted,

                                                                                                      DALY & BLACK, P.C.

                                                                                                      By: /s/ John Scott Black
                                                                                                         John Scott Black
                                                                                                         State Bar No. 24012292
                                                                                                         Richard D. Daly
                                                                                                         State Bar No. 00796429
                                                                                                         Melissa Waden Wray
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                                                                                                         713.655.1405—Telephone
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                                                                                                      ATTORNEYS FOR DEFENDANT
                                                                                                      DAMON KADE
Certified Document Number: 73129713 - Page 3 of 4




                                                                                                     3
                                                         Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 76 of 236


                                                                                   CERTIFICATE OF SERVICE

                                                           I certify that on December 14, 2016, the foregoing document was served on the following
                                                    counsel of record by notice of electronic filing in accordance with the Texas Rules of Civil
                                                    Procedure:

                                                    Ernest W. Boyd
                                                    Butch Boyd Law Firm
                                                    2905 Sackett St.
                                                    Houston, Texas 77098
                                                    (713) 589-8477 – Phone
                                                    (713) 589-8563 – Fax
                                                    butchboyd@butchboydlawfirm.com

                                                                                                   /s/ John Scott Black
                                                                                                   John Scott Black
Certified Document Number: 73129713 - Page 4 of 4




                                                                                                  4
                Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 77 of 236




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
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     Witness my official hand and seal of office
     this November 5, 2019


     Certified Document Number:        73129713 Total Pages: 4




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                                                                                     Chris Daniel - District Clerk Harris County
                                                                                                                                       Envelope No. 15653814
                                                                                                                                              By: Monica Ovalle
                                                                                                                                  Filed: 3/3/2017 12:47:03 PM



                                                                         CAUSE NO. 2016-49928

                                     ALLEN LAWRENCE BERRY                            §         IN THE DISTRICT COURT OF
                                     2007 TRUST                                      §
                                                                                     §
                                     V.                                              §         HARRIS COUNTY, TEXAS
                                                                                     §
                                     DAMON KADE, ET AL                               §         125TH JUDICIAL DISTRICT


                                                                       PLEA IN INTERVENTION

                                            COMES NOW, TAYLOR MINERALS, LLC and GIZA HOLDINGS, LLC,

                                     hereinafter referred to as Intervenors, and file this Plea in Intervention and respectfully show the

                                     following:

                                                                                      I.

                                            1.      Intervenor TAYLOR MINERALS, LLC, hereinafter, “Taylor”, is a Texas limited

                                     liability company whose address is 4119 Montrose Blvd., Suite 550, Houston, Texas 77006.

                                            2.      Intervenor GIZA HOLDINGS, LLC, hereinafter, “Giza”, is a Texas limited liability

                                     company whose address is 4119 Montrose Blvd., Suite 550, Houston, Texas 77006.

                                            3.      Plaintiff is the Allen Lawrence Berry 2007 Trust, hereinafter, “Berry”, acting

                                     through Allen Lawrence Berry, Trustee, and whose address is 5005 Riverway, Suite 440, Houston,

                                     Texas 77056. Plaintiff’s Counsel is Ernest W. Boyd, Butch Boyd Law Firm, 2905 Sackett Street,
Page 1 of 1




                                     Houston, Texas 77098.

                                            4.      Defendant, Damon Kade, hereinafter, “Kade”, has made an appearance in this case.
Certified Document Number: 7 099 6




                                     Damon Kade is represented John Scott Black, Richard D. Daly, and Melissa Waden Wray of Daly

                                     & Black, P.C., 2211 Norfolk Street, Ste. 800, Houston, TX 77098.



                                                                                Page 1 of 18
                                           Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 80 of 236




                                            5.     Defendant, Kay Reick, hereinafter, “Reick”, is an individual who may be served at

                                     his place of employment, Furie Operating Alaska, LLC, 100 Enterprise Avenue, League City,

                                     Texas or wherever he may be found.

                                            6.     Defendant, Lars Degenhardt, hereinafter, “Degenhardt”, is an individual who was

                                     served by substituted service on October 24, 2016.

                                            7.     Defendant, Tom Hord, hereinafter, “Hord”, is an individual who was served by

                                     substituted service on October 24, 2016.

                                            8.      Defendant, Furie Operating Alaska, LLC, hereinafter, “Furie”, is a Texas LLC has

                                     made an appearance in this case. Defendant Furie Operating Alaska, LLC is represented by Chris

                                     Reynolds and Christopher M. Hogan of Reynolds Frizzell, LLP, 1100 Louisiana Street, Ste. 3500,

                                     Houston, TX 77002.

                                            9.      Defendant, Cornucopia Oil & Gas Company, LLC, hereinafter, “Cornucopia”, is a

                                     Texas LLC has made an appearance in this case. Cornucopia Oil & Gas Company is represented

                                     by Chris Reynolds and Christopher Hogan of Reynolds Frizzell, LLP, 1100 Louisiana Street, Ste.

                                     3500, Houston Texas 77002.

                                                                                   II.

                                            10.     Defendant FURIE PETROLEUM COMPANY, LLC has not appeared in this
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                                     action and is a Texas domestic corporation which may be served with process by serving C. T.

                                     Corporation System, 1999 Bryan St., Ste. 900, Dallas, Texas 75201.
Certified Document Number: 7 099 6




                                                                                    2
                                           Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 81 of 236




                                                                                  III.
                                                                            DISCOVERY PLAN

                                            11.     In accordance with Rule 190 of the Texas Rules of Civil Procedure, Intervenor

                                     requests discovery be conducted under Level 3 and that an appropriate Docket Control Order be

                                     entered after Defendants have responded.

                                                                                      IV.

                                            12.     On July 28, 2016, Plaintiff sued Defendants. Plaintiff filed his Second Amended

                                     Original Petition on November 1, 2016. Plaintiff’s lawsuit alleges negligence, gross negligence,

                                     breach of contract, breach of fiduciary duty and aiding and abetting breach of fiduciary duty,

                                     improper administration and improper accounting by Defendants relating to contracts and

                                     representations involving the Lease Assignment and Participation Agreement, hereinafter, “Lease

                                     Agreement”, entered on or about October 22, 2010 and the Joint Operating Agreement, hereinafter

                                     “JOA”, entered on or about the same date. The Lease Agreement and JOA relate to certain Oil

                                     and Gas Leases issued by the State of Alaska. Plaintiff owns a portion of a working interest in the

                                     oil and gas agreements which were made basis of the litigation.

                                            13.     Intervenors satisfy the intervention standard provided in Texas Rule of Civil

                                     Procedure 60. A party may intervene in litigation in which it has a justiciable interest in a pending
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                                     suit. In re Union Carbide Corp. 273 S.W.3d 152, 155 (Tex. 2008). A party holds a justiciable

                                     interest in a lawsuit when its interests will be affected by the litigation. Id at 155 A party may
Certified Document Number: 7 099 6




                                     intervene in a suit if it could have brought all or part of the same suit in its own name. Id at 155




                                                                                       3
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                                             13.     Intervenor Taylor is similarly situated to Plaintiff. Taylor is a party to both the

                                     Lease Agreement and the JOA made basis of this litigation and Taylor and also owns working

                                     interest rights under these agreements and leases of the same nature as Plaintiff. Taylor’s interests

                                     clearly may be affected by this litigation and Taylor’s claims include the same causes of action as

                                     Plaintiff.

                                             14.     Intervenor Giza is also similarly situated to Plaintiff. Giza owns royalty interests

                                     arising from the Leases, Lease Agreement and the JOA agreement which are made subject of this

                                     litigation and its rights may be affected by this litigation.

                                             15.     Intervenors have a justiciable interest in the matters in controversy in this litigation.

                                                                                        V.

                                             16.     Intervenor Taylor and Intervenor Giza are Texas limited liability companies.

                                     Escopeta Oil Co., LLC, hereinafter “Escopeta Oil”, and Escopeta of Alaska, LLC, hereinafter,

                                     “Escopeta Alaska”, were originally owned by Plaintiff and Danny Davis, hereinafter, “Davis”.

                                             17.     On January 26, 2004, Escopeta Oil Co., LLC and Taylor Minerals, LLC entered

                                     into a Participation Agreement in which Taylor Minerals acquired an undivided 25% working

                                     interest in approximately 99,000 acres covered by Oil and Gas Leases in the Alexander, Kitchen

                                     and East Kitchen Prospect, Cook Inlet Alaska. Taylor Minerals paid substantial cash consideration
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                                     to Escopeta Oil to acquire the interest. In addition, Escopeta agreed to assign to Taylor or its

                                     designee an overriding royalty interest in the Leases. Pursuant to the Participation Agreement,
Certified Document Number: 7 099 6




                                     Escopeta undertook the obligation to manage the interests and the parties agreed to execute an

                                     operating agreement.



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                                           Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 83 of 236




                                            18.     At the request at Escopeta Oil, Taylor and Escopeta Oil executed a Nominee

                                     Agreement and Notice of Nominee Agreement dated January 6, 2004, which authorized Escopeta

                                     Oil at its request to hold record title to the interests in the name of Escopeta for the benefit of

                                     Escopeta and Taylor “for ease of administration and management of the Interests.” Escopeta Oil

                                     agreed to act as nominee, agent and attorney-in-fact on behalf of Taylor Minerals in accordance

                                     with the Nominee Agreement. The Nominee Agreement imposed specific restrictions on the

                                     agent’s authority with respect to the Taylor Minerals’ interest.

                                            19.     On October 22, 2010, Escopeta Oil and Taylor entered the Lease Assignment with

                                     Escopeta Alaska regarding leases owned by Escopeta Oil and Taylor in the Cook Inlet Basin in

                                     Alaska, hereinafter, “Leases”. The Lease Assignment included the following agreements:


                                            9.3 The parties acknowledge that under the current laws of the State of Alaska,
                                            certain expenses incurred in connection with the development of the KLU Leases
                                            may qualify to be refunded or reimbursed by the State of Alaska, HB 280 and the
                                            overall ACES Program or for credits against income taxes otherwise payable to the
                                            State of Alaska. To the extent the parties are able to qualify for such tax credits,
                                            [Escopeta Oil] and Taylor hereby agree that all tax credits shall be monetized for
                                            the benefit of [Escopeta Alaska] as full and complete payment for the working
                                            interest costs of [Escopeta Oil] and Taylor for the drilling of the #1 KLU and
                                            subsequent wells in which [Escopeta Oil] and Taylor are working interest owners.

                                            9.4 The parties acknowledge that under the current laws of the State of Alaska, the
                                            wells drilled on all the Leases may qualify for a production royalty or a reduction
                                            in the royalty percentage paid to the State of Alaska. To the extent the parties are
Page 5 of 1




                                            successful in obtaining this royalty relief credit, the value or interest received
                                            pursuant to any such program on all leases will belong 79% to [Escopeta Alaska]
                                            and 21% to [Escopeta Oil] (for itself and, as applicable, for the benefit of Taylor).
Certified Document Number: 7 099 6




                                            9.5 [Escopeta Oil] and Taylor will contribute 100% of their share and all right, title
                                            and interested in and to all funds due from SB 309, HB 280, and the Alaska ACES
                                            Program for the development of the KLU. For this contribution, along with prior
                                            work in developing the KLU geology and exploration program, [Escopeta Oil] and
                                            Taylor will own a 21% working interest based on a 75% NRI in the KLU drilling

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                                            and development program. This working interest shall be free and clear of any and
                                            all additional costs and assessments and will include all drilling, completion,
                                            platform, pipeline and facility costs to bring oil and gas into production. The 21%
                                            working interest will come into effect at the time [Escopeta Alaska] has recovered
                                            100% of its total costs of drilling, completing, building pipelines, platforms,
                                            necessary facilities and placing the Kitchen Lights Unit on production. [Escopeta
                                            Oil] and Taylor will pay their share of all operating expenses, workover and
                                            recompletion costs, in accordance with their respective working interest ownership,
                                            once [Escopeta Alaska] has recovered 100% of its total cost.

                                            20.     Pursuant to the Lease Assignment, Taylor received a 5.25% working interest and

                                     certain overriding royalty interests in the Leases. Subsequently, with knowledge of all parties to

                                     the Lease Agreement and JOA, certain overriding royalty interests were assigned by Taylor to

                                     Giza Holdings, parent of Taylor, out of Taylor’s working interest in the Leases.. Prior to entering

                                     the Lease Agreement and JOA, Taylor entered into the Participation Agreement with Escopeta Oil

                                     and had acquired an undivided 25% working interest and a 25% of 75% Net Revenue Interest for

                                     a cash payment to Escopeta Oil. Under the Participation Agreement, Escopeta Oil was responsible

                                     for the administration and operation of the Leases. The Lease Assignment, JOA and Participation

                                     Agreement expressly state that each Agreement is binding upon and inures to the benefit of the

                                     successors and assigns of each party.

                                            21.     Pursuant to the JOA entered into on October 21, 2010 between Escopeta Oil and

                                     Escopeta Alaska, including Intervenor Taylor, Escopeta Oil was the operator and Escopeta Alaska
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                                     and Taylor were non-operating working interest owners. Pursuant to the terms of the Lease

                                     Assignment agreement, Escopeta Alaska and Taylor assigned certain rights to Escopeta Oil and
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                                     retained certain royalty interests and 21% of the working interest. Escopeta Alaska, among other

                                     duties, agreed to fund 100% of the costs of drilling and development of the leases and in return,

                                     received assignment of 79% of the working interest.

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                                             22.    Subsequently to entering the Lease Agreements and the Joint Operating

                                     Agreement, ownership of Escopeta Oil and Escopeta Alaska was transferred to Defendant Furie

                                     with Plaintiff and Davis retaining interests in the Leases. On August 19, 2011, Escopeta Alaska

                                     changed its name to become Defendant Cornucopia.           On September 21, 2011, Escopeta Oil

                                     changed its name became Defendant Furie.

                                             23.    Defendants, in operating said interests, failed to properly administer the working

                                     interest owners’ interests in the Oil and Gas Lease and the Kitchen Lights Unit interest, failed to

                                     keep Intervenors properly advised as to financial and operational matters relating to the parties’

                                     interests and failed to properly account for all interests. Escopeta Alaska maintained a majority

                                     working interest in the Leases.

                                             24.    After the dates of the agreements, Defendants applied for and received tax credits

                                     from the State of Alaska through programs, such as ACES Program and State of Alaska HB 280,

                                     and, further, Defendants received an increase in the net revenue interest as a result of a reduction

                                     in the royalty percentage payable to the State of Alaska, as lessor. Defendants have failed and

                                     refused to properly account to Intervenors for any tax credits received from the State of Alaska

                                     under Section 9.3 of the Lease Assignment. Further, Defendants failed to properly account to

                                     Intervenors for discovery or production royalty or reduction of same under Section 9.4 of the Lease
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                                     Assignment; and Defendants have charged improper and excessive operating costs for the Leases

                                     at issue.
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                                             25.    Further, Defendants received a discovery royalty, production royalty or reduction

                                     in royalty pursuant to incentive plans adopted by the State of Alaska to encourage drilling and

                                     development of oil and gas properties on State owned lands. Defendants have failed to pay or

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                                     account for this amount to Intervenors, including Intervenor Giza, which holds a royalty interest

                                     in the Lease. Intervenors have been harmed by the failure to pay and account for this royalty which

                                     Defendants have failed to pay. Defendants have a contractual and equitable duty to do so and have

                                     breached that duty.

                                            26.     Defendants improperly engaged in self-dealing, as shown from the intertwined

                                     business relationships between Cornucopia, the majority interest owner of the working interest in

                                     the Leases, and the operator, Furie Operating, and the further ownership structure of the entities

                                     described in paragraphs 27 through 31.

                                            27.     .Defendant Kay Reick owns and controls, through control of several parent

                                     corporations, all of Defendant Cornucopia. Defendant Lars Degenhardt is President of Furie

                                     Operating and, further, has represented himself to be a director for Deutsch Oel & Gas, also known

                                     as German Oil & Gas (hereinafter “Deutsche”), a parent of Defendant Cornucopia.

                                            28.     Upon information and belief, Furie Operating is owned 100% by Defendant Furie

                                     Petroleum Company, LLC (hereinafter “Furie Petroleum”) and Furie Petroleum is owned 88% by

                                     Defendant Cornucopia.      Additionally, upon information and belief, Defendant Cornucopia is

                                     owned, wholly or partially by Deutsche. Deutsche is owned 100% by Alecto, Ltd., hereinafter

                                     “Alecto”, which is, in turn, owned 100% by Defendant Reick.
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                                            29.     Upon information and belief, Defendant Degenhardt is the President of Furie and

                                     is an officer or member of the board of directors of Deutsche. Deutsche is also member of Furie

                                     Petroleum Company’s Management and owns 12% of Cornucopia.
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                                            30.       Defendant Kade is the former President and Director of Defendant Furie and the

                                     former President of Defendant Furie Petroleum and was involved with many other companies

                                     which were subsidiaries of Defendant Furie, Furie Petroleum and Cornucopia.

                                            31.    Defendant Tom Hord is the Chief Operating Officer of Furie Petroleum and a

                                     Director of Defendant Furie.



                                                                               VI.
                                                                       BREACH OF CONTRACT

                                            32.    Intervenors incorporate all previous paragraphs as if fully restated herein.

                                            33.    Intervenors entered into or have rights derived from the Participation Agreement,

                                     Lease Agreement and JOA.

                                            34.    Defendants have failed to abide by the terms and conditions of the Participation

                                     Agreement, Lease Assignment and JOA.

                                            35.    Intervenors performed their contractual obligations, and all conditions precedent

                                     have been met.

                                            36.    Defendants have breached the Participation Agreement, Lease Assignment and

                                     JOA by failing to abide by one or more of the terms and conditions.

                                            37.    This breach has caused injury to Intervenors.
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                                                                               VII.
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                                                                    BREACH OF FIDUCIARY DUTY

                                            38.    Intervenors incorporate all previous paragraphs as if fully restated herein.



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                                            39.       Defendants have a fiduciary relationship with Intervenors and owe Intervenors the

                                     duty of good faith and fair dealing and the duty to make full disclosure to Intervenors concerning

                                     matters affecting the Leases pursuant to the terms of the Participation Agreement, the Nominee

                                     Agreement, as well as the Lease Assignments and JOA.

                                            40.       Defendants have breached and aided and abetted each other in the breach of

                                     fiduciary duties owed to Intervenors by knowingly and intentionally failing to fully disclose and

                                     account for material facts concerning the Leases. The breaches resulted in damages to Intervenors.

                                            41.       Defendant Cornucopia further has received funds beneficially owned by and

                                     payable to Intervenors and breached its legal, equitable and fiduciary duty to Intervenor Taylor as

                                     it received, but failed to account for and pay to Taylor, production royalty or reduction of the

                                     production royalty percentage paid to the State of Alaska. Further, Defendants, acting in concert,

                                     sought and received “royalty relief credits” and have failed and refused to account for or pay Taylor

                                     these amounts.

                                                                          VIII.
                                                         IMPROPER ADMINISTRATION AND ACCOUNTING

                                            42.       Intervenors incorporate all previous paragraphs as if fully restated herein.

                                            43.       Defendants have a duty to properly account, bill, and pay the appropriate amounts

                                     based on Plaintiff’s and Intervenor’s interests in accordance with the JOA and the Accounting
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                                     Procedure attached to the JOA. Defendants’ actions caused damages to Intervenors.

                                            44.       Intervenors sue for an accounting under the JOA and Accounting Procedure related
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                                     to all costs, expenses and joint interest billings properly attributable to Intervenors’ interests and




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                                     for all monies owed to Intervenors and an equitable accounting as to all moneys, credits and other

                                     benefits received by Defendants that are properly attributable to or payable to Intervenors.

                                                                             IX.
                                                               AIDING AND ABETTING/CONSPIRACY

                                               45.   Intervenors incorporate all previous paragraphs as if fully restated herein.

                                               46.   Defendants, with knowledge of Intervenors’ rights, conspired with concerted action

                                     and/or aided and abetted each other in the breaches of contract and fiduciary duties owed to

                                     Intervenors. Intervenors by knowingly and intentionally failing to fully disclose and account for

                                     material facts concerning the Leases. The breaches caused and resulted in damages to Intervenors.

                                               47.   Defendants, wrongfully breached, intentionally, negligently and grossly

                                     negligently acted in concert to prevent Intervenors from receiving the benefits of their bargain and

                                     their rights set forth under the Participation Agreement, Lease Agreement and JOA. Each of these

                                     actions intentionally, negligently and grossly negligently succeeded in breach of the Participation

                                     Agreement, Lease Agreement and JOA and cause the property interests and rights owned by

                                     Intervenor to be impaired and damaged. Defendants caused injury to Intervenors as set forth

                                     herein.

                                               48.   Further, Defendants operated in concert throughout this matter and have advanced

                                     a common scheme to engage in self-dealing through a myriad of interlocking domestic and foreign
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                                     entities and to deceive Intervenors as to the disposition of property, to conceal amounts received

                                     by Defendants, to prevent Intervenors from becoming aware of the amounts Defendants received,
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                                     to conceal and convert amounts expended through self-dealing and other actions set forth herein.




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                                                                                   X.
                                                                               CONVERSION

                                               49.   Intervenors incorporate all previous paragraphs as if fully restated herein.

                                               50.   Pursuant to the Lease Assignment and JOA, Intervenors are entitled to a percentage

                                     of royalties and working interest based upon oil and gas removed from the property subject to the

                                     leases.

                                               51.   Defendants have established commercial production and sold substantial quantities

                                     of oil and gas from the Leases but have failed to pay to Intervenors their share of such proceeds.

                                     Accordingly, Defendants have improperly converted these rights and monies and have refused to

                                     return same to Intervenor. Further, due to Defendants’ knowledge of Intervenors’ rights and their

                                     intentional disregard, malice and gross negligence for Intervenors’ rights, Intervenors’ property

                                     and the injury which would result from Defendants’ actions, Intervenors seek exemplary damages

                                     from Defendants.


                                                                                   XI.
                                                                               NEGLIGENCE

                                               52.   Intervenors incorporate all previous paragraphs as if fully restated herein.

                                               53.   Defendants owed a duty to Intervenors to conduct operations in a reasonably

                                     prudent manner. Defendants further had a duty to use proper accounting procedures and methods.
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                                     Defendants breached their duties.

                                               54.   Defendants knew or should have known and had actual and/or constructive notice
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                                     that their improper actions reasonably caused Intervenors to suffer injury. Defendants knew or

                                     should have known that they were not acting as a reasonably prudent operator. Defendants


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                                     continued to act, individually and in concert, which proximately caused the damage to and

                                     destruction of Intervenors’ lawful contractual and equitable rights.          Further, Defendants’

                                     interference and negligent actions resulted in Intervenors being denied possession of, use of and

                                     access to its interests in the assigned rights and property interests. Defendants’ actions constitute

                                     negligence and/or gross negligence which proximately caused the injuries described by Intervenors

                                     herein.

                                               55.   Defendants’ negligent acts include, but are not limited to:

                                               a)    Negligently and grossly negligently failed to provide accurate information
                                                     regarding Intervenors’ rights under the Participation Agreement, Lease
                                                     Agreement and JOA

                                               b)    Negligently and grossly negligently failed to make payment of amounts due
                                                     to Intervenors and using same for Defendants’ purposes;

                                               c)    Negligently and grossly negligently failing to make and keep proper
                                                     accounting of all amounts received and expended subject to the
                                                     Participation Agreement, Lease Agreement and JOA;

                                               d)    Negligently and grossly negligently failing to pay to Intervenors all amounts
                                                     properly due to them subject to the Participation Agreement, Lease
                                                     Agreement and JOA;

                                               e)    Negligently and grossly negligently failing to maintain records of all
                                                     amounts which would offset any payment toward Intervenors’ interests,
                                                     such as, their “Back-in right” subject to the Participation Agreement, Lease
                                                     Agreement and JOA;
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                                               f)    Failing to properly investigate each other Defendant’s improper actions
                                                     which harmed Intervenors and failure to advise Intervenors of said actions;

                                               g)    Negligently and grossly negligently receiving and retaining monies
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                                                     properly belonging to Intervenors;

                                               h)    Negligently and grossly negligently failing to cease and desist in all
                                                     improper activity in violation of Intervenors’ rights;


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                                            56.     Further, the negligent, tortious and improper actions and conversion by Defendants

                                     by continuing to violate Intervenors’ contracted and assigned rights are reckless, willful and

                                     wanton disregard for Intervenors’ known rights.        Such actions constitute negligence, gross

                                     negligence interference and conversion which proximately caused Intervenors’ damages in the

                                     past and ongoing described herein.

                                                                                 XII.
                                                                          GROSS NEGLIGENCE

                                            57.     Intervenors incorporates all previous paragraphs as if fully restated herein.

                                            58.     In addition, or in the alternative, Defendants are liable to Intervenors for gross

                                     negligence.

                                            59.     Defendants consciously and/or deliberately engaged in recklessness, oppression,

                                     fraud, willfulness, wantonness and will malice through their operations and administration of

                                     Intervenors’ interests.

                                                                                  XIII.
                                                                          UNJUST ENRICHMENT

                                            60.     Defendants, through their improper actions, have retained property and property

                                     interests which rightfully belong to Intervenors. Retention of such property is unconscionable.

                                                                              XIV.
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                                                                      CONDITIONS PRECEDENT

                                            61.     All conditions precedent to bringing the above causes of action have been met or
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                                     occurred.




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                                                                               XV.
                                                                     NO ELECTION OF REMEDIES

                                               62.   The foregoing facts and theories are pled cumulatively and alternatively, with no

                                     election or waiver of rights or remedies.

                                                                                   XVI.
                                                                                 DAMAGES

                                               63.   As a direct and proximate result of the incidents made the basis of this lawsuit and

                                     improper actions and failures to act by Defendants, Intervenors suffered serious damage. Each

                                     action complained of herein is a direct and proximate cause of Intervenor’s damages set forth

                                     herein.

                                               64.   Intervenor incurred the following damages, which are of a continuing nature, due

                                     to Defendants’ actions:

                                                     A.     Any and all amounts not paid to Intervenors pursuant to their rights
                                                            under the Participation Agreement, Lease Assignment and JOA.

                                                     B.     All property rights sold and assigned by Defendants, monies paid to
                                                            Defendants, and the losses incurred by Intervenor as a result of
                                                            same.

                                                     C.     Interest, prejudgment and post judgment and

                                                     D.     Any and all other damages available via statute, common law and
                                                            equity.
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                                               65.   Because of these injuries and damages, Intervenor is entitled to recover

                                     compensatory damages of an amount which is within the jurisdictional requirements of this
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                                     Honorable Court. Intervenor also seeks punitive and/or exemplary damages to the extent allowed

                                     by law.



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                                              Attorney’s fees

                                              66.    Because of the conduct of Defendants, including breach of the agreements between

                                     the parties, Intervenor has been compelled to engage the services of an attorney to prosecute this

                                     action. Intervenor is entitled to recover a reasonable sum for the necessary services to the

                                     maximum extent allowed by law, including all expenses and court costs, of the attorney in the

                                     preparation and trial of this action and for appeals to the Court of Appeals or the Texas Supreme

                                     Court.

                                                                                   XVII.
                                                                               JURY DEMAND

                                              67.    A jury trial is demanded.

                                                                               XVIII.
                                                                      REQUEST FOR DISCLOSURE

                                              68.    Under the Texas Rules of Civil Procedure 194, Intervenors hereby request that each

                                     Defendants disclose the information or material described in 194.2.

                                              WHEREFORE, PREMISES CONSIDERED, Intervenors requests and prays that the

                                     parties take notice of the filing of this Plea in Intervention, that additional Defendants be cited to

                                     appear, and that Intervenors have judgment against all Defendants for all relief requested,

                                     attorney’s fees, costs, pre and post judgment interest, punitive and exemplary damages, and for
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                                     such other and further relief, general and special, at law or in equity, to which Intervenor is entitled,

                                     whether pled or unpled.
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                                                                                 BY:_/s/ Robert G. Taylor, III__________
                                                                                     Robert G. Taylor, III
                                                                                    ATTORNEY FOR INTERVENORS

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                                                                  CERTIFICATE OF SERVICE

                                              I hereby certify that a true and correct copy of this document was forwarded via
                                      electronic service, facsimile and/or U. S. Mail on this the 3rd day of March, 2017 to:


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                                                                           /s/ Robert G. Taylor, III__________________
                                                                           Robert G. Taylor, III
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 5, 2019


     Certified Document Number:        74099868 Total Pages: 18




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
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        EXHIBIT B -10
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                                                                                                                                    Chris Daniel - District Clerk Harris County
                                                                                                                                                      Envelope No. 15666504
                                                                                                                                                       By: MELISSA TORRES
                                                                                                                                                   Filed: 3/3/2017 5:05:17 PM



                                                                                      CAUSE NO. 2016-49928

                                                     ALLEN LAWRENCE BERRY                           §       IN THE DISTRICT COURT OF
                                                     2007 TRUST and DANNY DAVIS                     §
                                                                                                    §
                                                     v.                                             §       HARRIS COUNTY, T E X A S
                                                                                                    §
                                                     DAMON KADE, et al.                             §       125th JUDICIAL DISTRICT


                                                                         PLAINTIFFS’ THIRD AMENDED PETITION

                                                             Allen Lawrence Berry, Individual Trustee of the Allen Lawrence Berry 2007

                                                     Trust and Danny Davis (“Plaintiffs”) files this Third Amended Petition complaining of

                                                     Damon Kade, Kay Reick, Lars Degenhardt, Tom Hord, Furie Operating Alaska, LLC,

                                                     and Cornucopia Oil & Gas Company, LLC (“Defendants”) and respectfully states as

                                                     follows:

                                                                                           I.
                                                                              DISCOVERY AND RELIEF SOUGHT

                                                             1.     In accordance with Rule 190 of the Texas Rules of Civil Procedure,

                                                     discovery in this case is intended to be conducted under Level 3.

                                                             2.     Plaintiffs seek monetary relief over $1,000,000. See Tex. R. Civ. P. 47(c).

                                                                                             II.
                                                                                  JURSIDICTION AND VENUE
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                                                             3.     This Court has subject matter jurisdiction because the amount in

                                                     controversy exceeds the jurisdictional requirement of this Court and because none of the

                                                     causes of action pled fall within the exclusive jurisdiction of any court of this state.

                                                             4.     Venue is proper in Harris County, Texas because the acts and occurrences

                                                     giving rise to the various causes of action occurred in part in Harris County, Texas.

                                                     Furthermore, one or more of the defendants reside in Harris County, Texas.
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                                                                                         III.
                                                                           PARTIES AND SERVICE OF CITATION

                                                            5.      Plaintiff is Allen Lawrence Berry, Trustee of the Allen Lawrence Berry

                                                     2007 Trust, whose address is 5005 Riverway, Suite 440, Houston, Texas 77056.

                                                            6.      Plaintiff is Danny Davis, whose address is 5005 Riverway, Suite 440,

                                                     Houston, Texas 77056.

                                                            7.      Defendant, Damon Kade is an individual residing in Harris County, Texas

                                                     who has made an appearance in this case.

                                                            8.      Defendant, Kay Reick is an individual who may be served at his place of

                                                     employment, Furie Operating Alaska, LLC, 100 Enterprise Avenue, League City, Texas

                                                     or wherever he may be found.

                                                            9.      Defendant, Lars Degenhardt is an individual who was served by

                                                     substituted service on October 24, 2016 and has made a special appearance in this case.

                                                            10.     Defendant, Tom Hord is an individual who was served by substituted

                                                     service on October 24, 2016 and has made an appearance in this case.

                                                            11.     Defendant, Furie Operating Alaska, LLC, is a Texas LLC that has made

                                                     an appearance in this case.

                                                            12.     Defendant, Cornucopia Oil & Gas Company, LLC, is a Texas LLC that
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                                                     has made an appearance in this case.

                                                                                              IV.
                                                                                             FACTS

                                                            13.     Escopeta Oil, LLC (“Escopeta Oil”) and Escopeta of Alaska, LLC,

                                                     (“Escopeta Alaska”) were originally owned by Allen Lawrence Berry (“Berry”) and

                                                     Danny Davis (“Davis”).




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                                                           14.     On October 22, 2010, Escopeta Oil and Taylor Minerals, LLC (“Taylor”),

                                                     as Assignors, entered into a Lease Assignment and Participation Agreement (“Lease

                                                     Assignment”) with Escopeta Alaska, as Assignee, regarding leases in the Cook Inlet

                                                     Basin (“Leases”) in Alaska. The following are the pertinent provisions of the Lease

                                                     Assignment:

                                                           9.3     The parties acknowledge that under the current laws of the State of
                                                                   Alaska, certain expenses incurred in connection with the
                                                                   development of the KLU Leases may qualify to be refunded or
                                                                   reimbursed by the State of Alaska, HB 280 and the overall ACES
                                                                   Program or for credits against income taxes otherwise payable to
                                                                   the State of Alaska. To the extent the parties are able to qualify for
                                                                   such tax credits, [Escopeta Oil] and Taylor hereby agree that all tax
                                                                   credits shall be monetized for the benefit of [Escopeta Alaska] as
                                                                   full and complete payment for the working interest costs of
                                                                   [Escopeta Oil] and Taylor for the drilling of the #1 KLU and
                                                                   subsequent wells in which [Escopeta Oil] and Taylor are working
                                                                   interest owners.

                                                           9.4     The parties acknowledge that under the current laws of the State of
                                                                   Alask, the wells drilled on all the Leases may qualify for a
                                                                   production royalty or a reduction in the royalty percentage paid to
                                                                   the State of Alaska. To the extent the parties are successful in
                                                                   obtaining this royalty relief credit, the value or interest received
                                                                   pursuant to any such program on all leases will belong 79% to
                                                                   [Escopeta Alaska] and 21% to [Escopeta Oil] (for itself and, as
                                                                   applicable, for the benefit of Taylor).

                                                           9.5     [Escopeta Oil] and Taylor will contribute 100% of their share and
                                                                   all right, title and interested in and to all funds due from SB 309,
                                                                   HB 280, and the Alaska ACES Program for the development of the
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                                                                   KLU. For this contribution, along with prior work in developing
                                                                   the KLU geology and exploration program, [Escopeta Oil] and
                                                                   Taylor will own a 21% working interest based on a 75% NRI in
                                                                   the KLU drilling and development program. This working interest
                                                                   shall be free and clear of any and all additional costs and
                                                                   assessments and will include all drilling, completion, platform,
                                                                   pipeline and facility costs to bring oil and gas into production. The
                                                                   21% working interest will come into effect at the time [Escopeta
                                                                   Alaska] has recovered 100% of its total costs of drilling,
                                                                   completing, building pipelines, platforms, necessary facilities and
                                                                   placing the Kitchen Lights Unit on production. [Escopeta Oil] and



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                                                                    Taylor will pay their share of all operating expenses, workover and
                                                                    recompletion costs, in accordance with their respective working
                                                                    interest ownership, once [Escopeta Alaska] has recovered 100% of
                                                                    its total cost.

                                                     Under the Lease Agreement, Escopeta Oil was responsible for the administration and

                                                     operation of the Leases.

                                                              15.   Pursuant to the Joint Operating Agreement entered into on October 21,

                                                     2010 between Escopeta Oil and Escopeta Alaska, Escopeta Oil was the operator and

                                                     Escopeta Alaska and Taylor were non-operating working interest owners. Pursuant to the

                                                     terms of the Lease Agreement, Escopeta Alaska and Taylor assigned certain rights to

                                                     Escopeta Oil and retained certain royalty interests and 21% of the working interest.

                                                     Escopeta Alaska, among other duties, agreed to fund 100% of the costs of drilling and

                                                     development of the leases and in return, received assignment of 79% of the working

                                                     interest. The Lease Assignment and Joint Operating Agreement expressly state that each

                                                     Agreement is binding upon and inures to the benefit of the successors and assigns of each

                                                     party.

                                                              16.   After the Lease Assignment was entered, Davis and Berry assigned 100%

                                                     interest of Escopeta Oil and Escopeta Alaska to Furie Operating Alaska, LLC. However,

                                                     Davis retained his interest in the Leases individually, and Berry transferred his interest in
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                                                     the Leases to the Allen Lawrence Berry 2007 Trust. On August 19, 2011, Escopeta

                                                     Alaska changed its name to become Defendant Cornucopia.           On September 21, 2011,

                                                     Escopeta Oil changed its name became Defendant Furie.

                                                              17.   Pursuant to the Lease Assignment and a subsequent transfer of an

                                                     additional 1% to Cornucopia from Escopeta Oil, the current working interest in the

                                                     Leases is divided as follows:



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                                                                     80%                     Cornucopia

                                                                     6.875%                  Davis

                                                                     7.875%                  Berry Trust

                                                                     5.25%                   Taylor

                                                              18.    Defendant Lars Degenhardt is President of Furie Operating and, further,

                                                     has represented himself to be a director for Deutsch Oel & Gas, also known as German

                                                     Oil & Gas (hereinafter “Deutsche”), a parent of Defendant Cornucopia.              Defendant

                                                     Damon Kade is the former President of Furie Petroleum, and Defendant Tom Hord is the

                                                     Chief Operating Officer of Furie Petroleum.

                                                              19.    Upon information and belief, Furie Operating is owned 100% by

                                                     Defendant Furie Petroleum Company, LLC (“Furie Petroleum”), Furie Petroleum is

                                                     owned 100% by Defendant Advanced Capital Funding (“ACF”), and Furie Petroleum is

                                                     owned 88% by Cornucopia.

                                                              20.    Additionally, upon information and belief, Cornucopia is also owned

                                                     wholly or partially by Deutsche Oel & Gas, AG (“Deutsche”), Deutsche is owned 100%

                                                     by Alecto, Ltd. (“Alecto”), and Alecto is owned 100% indirectly by Defendant Kay

                                                     Reick.

                                                              21.    Pursuant to a Joint Operating Agreement between Escopeta Oil (later
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                                                     Furie Operating) and Escopeta Alaska (later Cornucopia) entered into on October 21,

                                                     2010, Furie Operating, through itself and the relationships with the other Defendants, was

                                                     responsible for the administration and operation of the Leases. Defendants, in operating

                                                     said interests, failed to properly administer said interest, failed to keep Plaintiffs properly

                                                     advised of their interests, and failed to properly account for their interests.




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                                                               22.   Specifically, Defendants (1) failed to properly account for tax credits

                                                     received by the state of Alaska under Section 9.3 of the Lease Assignment; (2) failed to

                                                     properly account for discovery royalties under Section 9.4 of the Lease Assignment; and

                                                     (3) charged improper and excessive operating costs for the Leases at issue. Further,

                                                     Defendants improperly engaged in self-dealing, as shown from the intertwined business

                                                     relationship between the majority interest owner of the lease assignment, Cornucopia,

                                                     and the operator, Furie Operating, and the further ownership structure of the entities

                                                     described herein.

                                                               23.   After the dates of the agreements, Defendants applied for and received tax

                                                     credits from the State of Alaska through programs, such as ACES Program and State of

                                                     Alaska HB 280, and, further, Defendants received an increase in the net revenue interest

                                                     as a result of a reduction in the royalty percentage payable to the State of Alaska, as

                                                     lessor.    Defendants have failed and refused to properly account for any tax credits

                                                     received from the State of Alaska under Section 9.3 of the Lease Assignment. Further,

                                                     Defendants failed to properly account for discovery or production royalty or reduction of

                                                     same under Section 9.4 of the Lease Assignment; and Defendants have charged improper

                                                     and excessive operating costs for the Leases at issue.

                                                               24.   Further, Defendants received a discovery royalty, production royalty or
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                                                     reduction in royalty pursuant to incentive plans adopted by the State of Alaska to

                                                     encourage drilling and development of oil and gas properties on State owned lands.

                                                     Defendants have failed to pay or account for this amount.

                                                               25.   Defendants, in operating said interests, failed to properly administer the

                                                     working interest owners’ interests in the Oil and Gas Lease and the Kitchen Lights Unit




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                                                     interest, failed to keep the parties properly advised as to financial and operational matters

                                                     relating to the parties’ interests and failed to properly account for all interests.

                                                             26.     Further, Defendants made misrepresentations to Plaintiffs regarding

                                                     Plaintiffs’ forthcoming receipt of the discovery royalties and full amount due from the tax

                                                     benefits.

                                                                                               V.
                                                                                        CAUSES OF ACTION

                                                                                 NEGLIGENCE / GROSS NEGLIGENCE

                                                             27.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             28.     Defendants owed a duty to Plaintiffs to conduct operations in a reasonably

                                                     prudent manner. Defendants further had a duty to use proper accounting procedures and

                                                     methods. Defendants breached their duties.

                                                             29.     Defendants knew or should have known and had actual and/or

                                                     constructive notice that their improper actions reasonably caused Plaintiffs to suffer

                                                     injury. Defendants knew or should have known that they were not acting as a reasonably

                                                     prudent operator.     Defendants continued to act, individually and in concert, which

                                                     proximately caused the damage to and destruction of Plaintiffs’ lawful contractual and

                                                     equitable rights.   Further, Defendants’ interference and negligent actions resulted in
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                                                     Plaintiffs being denied possession of, use of and access to its interests in the assigned

                                                     rights and property interests. Defendants’ actions constitute negligence and/or gross

                                                     negligence which proximately caused the injuries described by Plaintiffs herein.

                                                             30.     Defendants’ negligent acts include, but are not limited to:

                                                             a)      Negligently and grossly negligently failed to provide accurate
                                                                     information regarding Plaintiffs’ rights under the Lease Agreement
                                                                     and Joint Operating Agreement;



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                                                            b)      Negligently and grossly negligently failed to make payment of
                                                                    amounts due to Plaintiffs and using same for Defendants’
                                                                    purposes;

                                                            c)      Negligently and grossly negligently failing to make and keep
                                                                    proper accounting of all amounts received and expended subject to
                                                                    the Lease Agreement and Joint Operating Agreement;

                                                            d)      Negligently and grossly negligently failing to pay to Plaintiffs all
                                                                    amounts properly due to them subject to the Lease Agreement and
                                                                    Joint Operating Agreement;

                                                            e)      Negligently and grossly negligently failing to maintain records of
                                                                    all amounts which would offset any payment toward Plaintiffs’
                                                                    interests, such as, their “Back-in right” subject to the Lease
                                                                    Agreement and Joint Operating Agreement;

                                                            f)      Failing to properly investigate each other Defendant’s improper
                                                                    actions which harmed Plaintiffs and failure to advise Plaintiffs of
                                                                    said actions;

                                                            g)      Negligently and grossly negligently receiving and retaining monies
                                                                    properly belonging to Plaintiffs; and

                                                            h)      Negligently and grossly negligently failing to cease and desist in
                                                                    all improper activity in violation of Plaintiffs’ rights.

                                                            31.     Further, the negligent, tortious and improper actions by Defendants by

                                                     continuing to violate Plaintiffs’ contracted and assigned rights are reckless, willful, and

                                                     wanton disregard for Plaintiffs’ known rights.

                                                            32.     Defendants consciously and/or deliberately engaged in recklessness,
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                                                     oppression, fraud, willfulness, wantonness and will malice through their operations and

                                                     administration of Plaintiffs’ interests, which proximately caused Plaintiffs’ damages in

                                                     the past and ongoing described herein.

                                                                                       BREACH OF CONTRACT

                                                            33.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.




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                                                            34.     Plaintiffs entered into or have rights derived from the Lease Agreement

                                                     and Joint Operating Agreement.

                                                            35.     Defendants failed to abide by the terms and conditions of the Lease

                                                     Assignment and Joint Operating Agreement.

                                                            36.     Plaintiffs have peformed their contractual obligations, and all conditions

                                                     precedent have been met.

                                                            37.     Defendants have breach the Lease Assignment and Joint Operating

                                                     Agreement by failing to abide by one or more of the terms and conditions.

                                                            38.     This breach has cause injury to Plaintiffs.

                                                                       BREACH OF FIDUCIARY DUTY/AIDING AND ABETTING

                                                            39.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                            40.     Defendants acted as a fiduciary to Plaintiffs, owing Plaintiffs the duty of

                                                     good faith and fair dealing and the duty to make full disclosure to Plaintiffs concerning

                                                     matters affecting the Leases.

                                                            41.     Defendants have breached and/or aided and abetted the breach of fiduciary

                                                     duties owed to Plaintiffs by knowingly and intentionally failing to fully disclose and

                                                     account for material facts concerning the Leases.

                                                            42.     The breaches resulted in damages to Plaintiffs greatly exceeding the
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                                                     minimum jurisdictional limits of this Court.

                                                            43.     Defendant Cornucopia further has received funds beneficially owned by

                                                     and payable to Plaintiffs and breached its legal, equitable and fiduciary duty to Plaintiffs

                                                     as it received, but failed to account for and pay to Plaintiffs, production royalty or

                                                     reduction of the production royalty percentage paid to the State of Alaska.




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                                                             44.     Further, Defendants, acting in concert, sought and received “royalty relief

                                                      credits” and have failed and refused to account for or pay Plaintiffs these amounts.

                                                                              IMPROPER ADMINISTRATION AND ACCOUNTING

                                                             45.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             46.     Defendants have breached their duties to Plaintiffs through improper

                                                      administration. Defendants have a duty to properly account, bill, and pay the appropriate

                                                      amounts based on Plaintiffs’ interest.

                                                             47.     Defendants have failed in this duty causing Plaintiffs damages greatly

                                                      exceeding the minimum jurisdictional limits of this Court.

                                                             48.     Plaintiffs sue for an equitable accounting related to all joint interest

                                                      billings, and monies owed to plaintiff.

                                                                                                CONVERSION

                                                             49.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             50.     Pursuant to the Lease Agreement and and Joint Operating Agreement,

                                                      Plaitiffs are entitled to a percentage of royalties and working interest based upon oil and

                                                      gas removed from the property subject to the Leases at issue.

                                                             51.     Defendants have established commercial production and sold substantial
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                                                      quantities of oil and gas from the Leases but have failed to pay to Plaintiffs their share of

                                                      such proceeds. Accordingly, Defendants have improperly converted those rights and

                                                      monies and have refused to return same to Plaintiffs.         Further, due to Defendants’

                                                      knowledge of Plaintiffs’ rights and their intentional disregard, malice, and gross

                                                      negligence for Plaintiffs’ rights, Plaintiffs’ property and the injury which would result,

                                                      Plaintiffs seek exemplary damages from Defendants.




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                                                                                              CONSPIRACY

                                                             52.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             53.     Defendants, with knowledge of Plaintiffs’ rights, conspired with concerted

                                                      action and/or aided and abetted each other in the breaches of contract and fiduciary duties

                                                      owed to Plaintiffs. Plaintiffs by knowingly and intentionally failing to fully disclose and

                                                      account for material facts concerning the Leases. The breaches caused and resulted in

                                                      damages to Plaintiffs.

                                                             54.     Defendants, wrongfully breached, intentionally, negligently and grossly

                                                      negligently acted in concert to prevent Plaintiffs from receiving the benefits of their

                                                      bargain and their rights set forth under the Lease Agreement and Joint Operating

                                                      Agreement.    Each of these actions intentionally, negligently and grossly negligently

                                                      succeeded in breach of the Lease Agreement and and Joint Operating Agreement and

                                                      cause the property interests and rights owned by Plaintiffs to be impaired and damaged.

                                                             55.     Defendants caused injury to Plaintiffs as set forth herein.

                                                             56.     Further, Defendants operated in concert throughout this matter and have

                                                      advanced a common scheme to engage in self-dealing through a myriad of interlocking

                                                      domestic and foreign entities and to deceive Plaintiffs as to the disposition of property, to
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                                                      conceal amounts received by Defendants, to prevent Plaintiffs from becoming aware of

                                                      the amounts Defendants received, to conceal and convert amounts expended through self-

                                                      dealing and other actions set forth herein.




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                                                                                          UNJUST ENRICHMENT

                                                             57.     Defendants, through their improper actions, have retained property and

                                                      property interests which rightfully belong to Plaintiffs. Retention of such property is

                                                      unconscionable.

                                                                                                  FRAUD

                                                             58.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             59.     Defendants fraudulently represented to Plaintiffs that receipt of the

                                                      discovery royalties and full amount due from the tax benefits was forthcoming. These

                                                      representations were material.

                                                             60.     Defendants representations were false, and Defendants knew the

                                                      representations were false when they were made.

                                                             61.     Defendants     had    no    intention      of   following   through   on   these

                                                      misrepresentations.

                                                             62.     Defendants fraudulent conduct was willful, wanton, and malicious.

                                                             63.     Defendants intended Plaintiffs to rely on their representations and conduct,

                                                      and Plaintiffs did in fact rely on the representations.

                                                             64.     Plaintiffs have been injured by Defendants’ fraudulent conduct and are
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                                                      entitled to recover damages for that injury.

                                                                                                   VI.
                                                                                                DAMAGES

                                                             65.     As a direct and proximate result of the incidents made the basis of this

                                                      lawsuit and improper actions and failures to act by Defendants, Plaintiffs suffered serious

                                                      damage. Each action complained of herein is a direct and proximate cause of Plaintiffs’

                                                      damages set forth herein.



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                                                             66.      Plaintiffs incurred the following damages, which are of a continuing

                                                      nature, due to Defendants’ actions:

                                                                   a) Any and all amounts not paid to Plaintiffs pursuant to their rights
                                                                      under the Lease Assignment and Joint Operating Agreement.

                                                                   b) All property rights sold and assigned by Defendants, monies paid
                                                                      to Defendants, and the losses incurred by Plaintiffs as a result of
                                                                      same.

                                                                   c) Interest, prejudgment and post judgment; and

                                                                   d) Any and all other damages available via statute, common law and
                                                                      equity.

                                                             67.      Because of these injuries and damages, Plaintiffs are entitled to recover

                                                      compensatory damages of an amount which is within the jurisdictional requirements of

                                                      this Honorable Court.     Plaintiffs also seek punitive and/or exemplary damages to the

                                                      extent allowed by law.

                                                             68.      Because of the conduct of Defendants, including breach of the agreements

                                                      between the parties, Plaintiffs have been compelled to engage the services of an attorney

                                                      to prosecute this action. Plaintiffs are entitled to recover a reasonable sum for the

                                                      necessary services to the maximum extent allowed by law, including all expenses and

                                                      court costs, of the attorney in the preparation and trial of this action and for appeals to the
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                                                      Court of Appeals or the Texas Supreme Court.

                                                                                             VII.
                                                                                    CONDITIONS PRECEDENT

                                                             69.      All conditions precedent to bringing the above causes of action have been

                                                      met or occurred.




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                                                                                           VIII.
                                                                                  NO ELECTION OF REMEDIES

                                                             70.     The foregoing facts and theories are pled cumulatively and alternatively,

                                                      with no election or waiver of rights or remedies.

                                                                                               IX.
                                                                                          TRIAL BY JURY

                                                             71.     Plaintiffs request trial by jury and submits appropriate jury fee.

                                                                                                X.
                                                                                              PRAYER

                                                             WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that they take

                                                      judgment against Defendants and recover:

                                                             a.      All the actual damages and special damages caused by the wrongful

                                                                     conduct complained of herein;

                                                             b.      Just and reasonable attorney’s fees;

                                                             c.      Pre- and post-judgment interest;

                                                             d.      Costs of suit; and

                                                             e.      Other such relief at law and equity for which it may be justly entitled.
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                                                                                         Respectfully submitted,

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                                                                                         ATTORNEYS FOR PLAINTIFFS


                                                      (ADD COS PLEASE)
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 5, 2019


     Certified Document Number:        74111984 Total Pages: 15




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                                                                                                       Chris Daniel - District Clerk Harris County
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                                                                                                                                                          By: MELISSA TORRES
                                                                                           Cause No: 2016-49928                                       Filed: 3/7/2017 2:31:42 PM


                                                     ALLEN LAWRENCE BERRY 2007                         §      IN THE DISTRICT COURT OF
                                                     TRUST                                             §
                                                                                                       §
                                                                            Plaintiff,                 §
                                                     v.                                                §      HARRIS COUNTY, TEXAS
                                                                                                       §
                                                     DAMON KADE, et al.,                               §
                                                                                                       §
                                                                            Defendant.                 §      125th JUDICIAL DISTRICT

                                                          DEFENDANTS’ SPECIAL EXCEPTIONS TO THIRD AMENDED PETITION
                                                                                    AND PLEA IN INTERVENTION
                                                           FURIE OPERATING ALASKA, LLC (“FOA”), CORNUCOPIA OIL & GAS

                                                    COMPANY, LLC (“Cornucopia”), FURIE PETROLEUM COMPANY, LLC (“FPC”), DAMON

                                                    KADE, TOM HORD, and, subject to his pending Special Appearance to Contest Jurisdiction,

                                                    LARS DEGENHARDT (collectively, the “Defendants”), specially except to Plaintiffs’ Third

                                                    Amended Petition, together with the recently filed Plea in Intervention, as follows:


                                                                                            Special Exceptions


                                                           1.      The Plaintiffs and the Intervenors allege that they own either “working interests”

                                                    or “royalty interests” in Alaskan oil and gas leases being operated by FOA. Third Amended

                                                    Petition (the “TAP”) at ¶17; Plea in Intervention (the “PII”) at ¶¶13-14. This case, as most recently

                                                    re-pleaded, concerns claims that FOA has breached contractual obligations allegedly owed to
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                                                    Plaintiffs and the Intervenors, in their capacities as the owner of working or royalty interests, under

                                                    two agreements, including a “Lease Assignment and Participation Agreement” and a “Joint

                                                    Operating Agreement” (the “JOA”). TAP at ¶¶ 17-18; PII at ¶¶19-22. Copies of the two

                                                    agreements referenced in the TAP are attached as Exhibits A and B. Only Furie Operating has any

                                                    duties under either of the two agreements. It now stands in the shoes of the original operator under

                                                    the JOA. TAP at ¶18. None of the other Defendants owe any duties to Plaintiffs or Intervenors

                                                    under the JOA. Those other defendants include, instead, (i) Cornucopia, the owner of the lion’s
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                                                    share of the working interest; (ii) FPC, an entity with no connection to this dispute; (iii) various

                                                    individuals currently or formerly employed by affiliates of FOA; and (iv) Kay Reick, an individual

                                                    who has not yet been served. The only allegation specific to Reick is that he is the ultimate, and

                                                    quite indirect, owner of Cornucopia, itself a mere working interest owner. TAP at ¶20; PII at ¶27.


                                                           2.         None of the Defendants owe any tort-based duties to Plaintiffs or the Intervenors.

                                                    Having pleaded the existence of governing agreements, neither Plaintiffs nor Intervenors has the

                                                    right or ability, under Texas law or otherwise, to assert the tort claims that they purport to assert

                                                    in the TAP and the PII. Those claims include “Negligence,” “Gross Negligence,” “Breach of

                                                    Fiduciary Duty,” and “Aiding and Abetting,” “Conversion,” “Fraud,” “Unjust Enrichment” and

                                                    “Conspiracy.” TAP at 7-12; PII at 9-14. Nor has any of the claiming parties pleaded facts from

                                                    which a fiduciary duty would arise, bearing in mind that the duty must trace itself not to the

                                                    transaction in issue, but it “must exist prior to, and apart from, the agreement made the basis of the

                                                    suit.” Meyer v. Cathey, 167 S.W. 3d 327, 331 (Texas 2005). Plus, it would be odd indeed if the

                                                    individual defendants, each of whom is or was (allegedly) an officer of FOA, was found

                                                    simultaneously to owe a fiduciary duty both to his employer and to his employer’s contractual

                                                    counterparties.


                                                           3.         As the Supreme Court explained in Graff v. Beard, 858 S.W.2d 918, 919 (Tex.

                                                    1993), “[i]t is fundamental that the existence of a legally cognizable duty is a prerequisite to all
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                                                    tort liability.” Neither the TAP nor the PII includes any allegations that show the existence of a

                                                    “legally cognizable duty” (save and except for the contractual duties of FOA under the two, written

                                                    agreements) running from one or more of the Defendants to the Plaintiff. Accordingly, the

                                                    Defendants specially except to all of Plaintiff’s tort claims.




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                                                           4.      In addition, the “economic-loss” rule bars the claims. As the TAP and the PII make

                                                    clear, the interests and rights, if any, of the Plaintiffs and the Intervenors are established and

                                                    governed by the terms of two, written agreements. The economic-loss rule provides that there

                                                    exists no duty in tort when the only injury claimed is one for economic losses arising from the

                                                    breach of a contractual duty. Sterling Chems., Inc. v. Texaco, Inc., 259 S.W.3d 793, 796 (Tex.

                                                    App.—Houston [1st Dist.] 2007, pet. denied). That is, the economic loss rule precludes recovery

                                                    in tort if the loss is the subject matter of an existing contract. Coastal Conduit & Ditching, Inc. v.

                                                    Noram Energy Corp., 29 S.W.3d 282, 285 (Tex. App.—Houston [14th Dist.] 2000, no pet.).

                                                    Courts have repeatedly applied the economic-loss rule to bar claims made by working interest

                                                    owners against operators, reasoning that the losses being claimed arose from alleged breaches of

                                                    the underlying operating agreement. See Cone v. Fagadau Energy Corp., 68 S.W.3d 147, 161

                                                    (Tex. App.—Eastland 2001, pet. denied); Castle Tex. Prod. L.P. v. Long Trusts, 134 S.W.3d 267,

                                                    274-75 (Tex. App.—Tyler 2003, pet. denied). The claims of Plaintiffs and Intervenors, if any, are

                                                    based in contract and lie only against FOA; the economic loss rule bars its non-contract claims.


                                                                                               PRAYER


                                                           For the foregoing reasons, Defendants pray that the Court sustain their special exceptions

                                                    and render judgment that Plaintiff take nothing by reason of its allegations; that this action be

                                                    dismissed on its merits; and that Defendants recover their fees and costs herein expended. The
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                                                    Defendants seek such and other further relief, both specific and general, at law or in equity, to

                                                    which the Defendants may be justly entitled.




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                                                                                   Respectfully submitted,


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                                                                                                LARS DEGENHARDT



                                                                                   CERTIFICATE OF SERVICE


                                                           I certify that on this the 7th day of March 2017, a true and correct copy of the foregoing
                                                    instrument has been served upon counsel of record in accordance with the requirements of the
                                                    Texas Rules of Civil Procedure, addressed as follows:

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                                                           Fax: (713) 654-7814


                                                                                                        _/s/ Chris Reynolds
                                                                                                        Chris Reynolds




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                                                                                                                                                                By: Alma Martinez
                                                                                           Cause No: 2016-49928                                       Filed: 3/7/2017 4:31:04 PM


                                                     ALLEN LAWRENCE BERRY 2007                         §      IN THE DISTRICT COURT OF
                                                     TRUST                                             §
                                                                                                       §
                                                                            Plaintiff,                 §
                                                     v.                                                §      HARRIS COUNTY, TEXAS
                                                                                                       §
                                                     DAMON KADE, et al.,                               §
                                                                                                       §
                                                                            Defendant.                 §      125th JUDICIAL DISTRICT

                                                          DEFENDANTS’ SPECIAL EXCEPTIONS TO THIRD AMENDED PETITION
                                                                                    AND PLEA IN INTERVENTION
                                                           FURIE OPERATING ALASKA, LLC (“FOA”), CORNUCOPIA OIL & GAS

                                                    COMPANY, LLC (“Cornucopia”), FURIE PETROLEUM COMPANY, LLC (“FPC”), DAMON

                                                    KADE, TOM HORD, and, subject to his pending Special Appearance to Contest Jurisdiction,

                                                    LARS DEGENHARDT (collectively, the “Defendants”), specially except to Plaintiffs’ Third

                                                    Amended Petition, together with the recently filed Plea in Intervention, as follows:


                                                                                            Special Exceptions


                                                           1.      The Plaintiffs and the Intervenors allege that they own either “working interests”

                                                    or “royalty interests” in Alaskan oil and gas leases being operated by FOA. Third Amended

                                                    Petition (the “TAP”) at ¶17; Plea in Intervention (the “PII”) at ¶¶13-14. This case, as most recently

                                                    re-pleaded, concerns claims that FOA has breached contractual obligations allegedly owed to
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                                                    Plaintiffs and the Intervenors, in their capacities as the owner of working or royalty interests, under

                                                    two agreements, including a “Lease Assignment and Participation Agreement” and a “Joint

                                                    Operating Agreement” (the “JOA”). TAP at ¶¶ 17-18; PII at ¶¶19-22. Copies of the two

                                                    agreements referenced in the TAP are attached as Exhibits A and B. Only Furie Operating has any

                                                    duties under either of the two agreements. It now stands in the shoes of the original operator under

                                                    the JOA. TAP at ¶18. None of the other Defendants owe any duties to Plaintiffs or Intervenors

                                                    under the JOA. Those other defendants include, instead, (i) Cornucopia, the owner of the lion’s
                                                         Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 124 of 236


                                                    share of the working interest; (ii) FPC, an entity with no connection to this dispute; (iii) various

                                                    individuals currently or formerly employed by affiliates of FOA; and (iv) Kay Reick, an individual

                                                    who has not yet been served. The only allegation specific to Reick is that he is the ultimate, and

                                                    quite indirect, owner of Cornucopia, itself a mere working interest owner. TAP at ¶20; PII at ¶27.


                                                           2.         None of the Defendants owe any tort-based duties to Plaintiffs or the Intervenors.

                                                    Having pleaded the existence of governing agreements, neither Plaintiffs nor Intervenors has the

                                                    right or ability, under Texas law or otherwise, to assert the tort claims that they purport to assert

                                                    in the TAP and the PII. Those claims include “Negligence,” “Gross Negligence,” “Breach of

                                                    Fiduciary Duty,” and “Aiding and Abetting,” “Conversion,” “Fraud,” “Unjust Enrichment” and

                                                    “Conspiracy.” TAP at 7-12; PII at 9-14. Nor has any of the claiming parties pleaded facts from

                                                    which a fiduciary duty would arise, bearing in mind that the duty must trace itself not to the

                                                    transaction in issue, but it “must exist prior to, and apart from, the agreement made the basis of the

                                                    suit.” Meyer v. Cathey, 167 S.W. 3d 327, 331 (Texas 2005). Plus, it would be odd indeed if the

                                                    individual defendants, each of whom is or was (allegedly) an officer of FOA, was found

                                                    simultaneously to owe a fiduciary duty both to his employer and to his employer’s contractual

                                                    counterparties.


                                                           3.         As the Supreme Court explained in Graff v. Beard, 858 S.W.2d 918, 919 (Tex.

                                                    1993), “[i]t is fundamental that the existence of a legally cognizable duty is a prerequisite to all
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                                                    tort liability.” Neither the TAP nor the PII includes any allegations that show the existence of a

                                                    “legally cognizable duty” (save and except for the contractual duties of FOA under the two, written

                                                    agreements) running from one or more of the Defendants to the Plaintiff. Accordingly, the

                                                    Defendants specially except to all of Plaintiff’s tort claims.




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                                                           4.      In addition, the “economic-loss” rule bars the claims. As the TAP and the PII make

                                                    clear, the interests and rights, if any, of the Plaintiffs and the Intervenors are established and

                                                    governed by the terms of two, written agreements. The economic-loss rule provides that there

                                                    exists no duty in tort when the only injury claimed is one for economic losses arising from the

                                                    breach of a contractual duty. Sterling Chems., Inc. v. Texaco, Inc., 259 S.W.3d 793, 796 (Tex.

                                                    App.—Houston [1st Dist.] 2007, pet. denied). That is, the economic loss rule precludes recovery

                                                    in tort if the loss is the subject matter of an existing contract. Coastal Conduit & Ditching, Inc. v.

                                                    Noram Energy Corp., 29 S.W.3d 282, 285 (Tex. App.—Houston [14th Dist.] 2000, no pet.).

                                                    Courts have repeatedly applied the economic-loss rule to bar claims made by working interest

                                                    owners against operators, reasoning that the losses being claimed arose from alleged breaches of

                                                    the underlying operating agreement. See Cone v. Fagadau Energy Corp., 68 S.W.3d 147, 161

                                                    (Tex. App.—Eastland 2001, pet. denied); Castle Tex. Prod. L.P. v. Long Trusts, 134 S.W.3d 267,

                                                    274-75 (Tex. App.—Tyler 2003, pet. denied). The claims of Plaintiffs and Intervenors, if any, are

                                                    based in contract and lie only against FOA; the economic loss rule bars its non-contract claims.


                                                                                               PRAYER


                                                           For the foregoing reasons, Defendants pray that the Court sustain their special exceptions

                                                    and render judgment that Plaintiff take nothing by reason of its allegations; that this action be

                                                    dismissed on its merits; and that Defendants recover their fees and costs herein expended. The
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                                                    Defendants seek such and other further relief, both specific and general, at law or in equity, to

                                                    which the Defendants may be justly entitled.




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                                                                                   Respectfully submitted,


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                                                                                      4
                                                         Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 127 of 236



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                                                                                                LARS DEGENHARDT



                                                                                   CERTIFICATE OF SERVICE


                                                           I certify that on this the 7th day of March 2017, a true and correct copy of the foregoing
                                                    instrument has been served upon counsel of record in accordance with the requirements of the
                                                    Texas Rules of Civil Procedure, addressed as follows:

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                                                                                                        Chris Reynolds




                                                                                                   5
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                                                                EXHIBIT B
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                                                                                                                                  Chris Daniel - District Clerk Harris County
                                                                                                                                                    Envelope No. 16598045
                                                                                                                                                        By: Brianna Denmon
                                                                                           Cause No: 2016-49928                                Filed: 4/21/2017 2:40:34 PM


                                                     ALLEN LAWRENCE BERRY 2007                           §   IN THE DISTRICT COURT OF
                                                     TRUST                                               §
                                                                                                         §
                                                                            Plaintiff,                   §
                                                     v.                                                  §   HARRIS COUNTY, TEXAS
                                                                                                         §
                                                     DAMON KADE, et al.,                                 §
                                                                                                         §
                                                                            Defendants.                  §   125th JUDICIAL DISTRICT

                                                                                 ANSWER AND COUNTERCLAIMS
                                                           FURIE OPERATING ALASKA, LLC, (“FOA”), Furie Petroleum Company, LLC,

                                                    (FPC”), CORNUCOPIA OIL & GAS COMPANY, LLC, (“Cornucopia”) (collectively, the “Furie

                                                    Parties”) file this Answer and Counterclaims and show as follows:


                                                                                                ANSWER


                                                           1.      The Furie Parties generally deny each and every, all and singular, the allegations

                                                    made in Plaintiffs’ Third Amended Original Petition and the Intervenors’ Petition in Intervention

                                                    and demand proof thereof in accordance with the laws and constitution of the State of Texas.


                                                                                         AFFIRMATIVE DEFENSES


                                                           2.      Waiver, ratification, estoppel, unclean hands and prior material breach bar the

                                                    claims asserted by Plaintiffs and the Intervenors.
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                                                           3.      The exculpatory clause of the Joint Operating Agreement to which the parties are

                                                    bound, and under which FOA is the designated “Operator,” likewise bars the claims.
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                                                                                           COUNTERCLAIMS


                                                           4.      Now acting as Counterclaimants, the Furie Parties complain of Plaintiff, Danny

                                                    Davis, and Intervenor Taylor Minerals, LLC, (collectively, the “Counterdefendants”) and for cause

                                                    of action show the following:


                                                                                                 PARTIES


                                                           5.      The Furie Parties are limited liability companies that have already appeared.

                                                    Cornucopia was formerly known as Escopeta Oil of Alaska, LLC. FOA was formerly known as

                                                    Escopeta Oil Company, LLC.


                                                           6.      Danny Davis (“Davis”) is an individual who resides in Harris County, Texas. He

                                                    has appeared and he will be served by service upon his attorney of record in accordance with Texas

                                                    Rule of Civil Procedure 21a.


                                                           7.      Taylor Minerals, LLC, (“Taylor”) is a Texas limited liability company that has

                                                    appeared as an intervenor. It will be served by service upon its attorney of record in accordance

                                                    with Texas Rule of Civil Procedure21a.


                                                                                      FACTUAL BACKGROUND


                                                           8.      These counterclaims arise out of the transactions and occurrences made the basis
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                                                    of Plaintiffs’ Third Amended Original Petition and the Petition in Intervention. None of these

                                                    claims are based on, or arise out of, actions taken by Davis or Taylor in their capacities as managers

                                                    or members of Cornucopia or FOA.


                                                           9.      Pursuant to a “Lease Acquisition and Participation Agreement” dated October 22,

                                                    2010, (the “LAPA”), Escopeta Oil Company, LLC (n/k/a FOA), and Taylor, purported to assign


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                                                    to Escopeta Oil of Alaska, LLC (n/k/a Cornucopia), a 79% interest in various oil and gas leases

                                                    (the “Leases”) in which they owned interests. Pursuant to that certain letter agreement dated June

                                                    29, 2011, By, between and among Escopeta Oil Company, LLC (n/k/a FOA), Escopeta Oil of

                                                    Alaska, LLC (n/k/a Cornucopia), Davis (in his individual capacity) and Lawrence Berry (in his

                                                    individual capacity), both Lawrence Berry and Danny Davis agreed that they and their successors

                                                    would be bound by the terms and conditions of the LAPA. As a consequence, both of the

                                                    Counterdefendants, Davis and Taylor, are bound by the terms and conditions of the LAPA.


                                                            10.    In the LAPA, Davis and Taylor claimed falsely that the $20,800,000 to be paid as

                                                    consideration for the transfer of the 79% interest in the Leases represented “reimbursement” for

                                                    “acquisition and ownership of the Leases.” A “reimbursement,” is, by definition, repayment for

                                                    expenses incurred. Subsequent to the time that the “reimbursement” required by the LAPA was

                                                    paid, the Furie Parties learned that neither Taylor nor Escopeta Oil Co., LLC, had incurred (either

                                                    individually or collectively) anything close to $20,800,000 in reimbursable expenses in connection

                                                    with the “acquisition and ownership of the Leases.” Moreover, the Furie Parties allege that Davis

                                                    caused the money received by Escopeta Oil Co., LLC, to be paid to him. Accordingly, both Davis

                                                    and Taylor have been unjustly and unfairly enriched by virtue of their misrepresentations in the

                                                    LAPA.


                                                            11.    In addition, the agreement of the Furie Parties to assume an obligation to “carry”
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                                                    the working interests of Taylor and Davis was made in reliance on, among other things, the claim

                                                    that Taylor and Escopeta Oil Co. LLC, had reimbursable expenses of more than $20 million in the

                                                    “acquisition and ownership of the Leases,” a claim (among others) that proved to be both false and

                                                    misleading. Both Taylor and Davis have been unjustly enriched by virtue of the fraudulently

                                                    procured agreement to carry their interests.


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                                                            12.    In connection with the LAPA and otherwise, Davis made false and misleading

                                                    statements, and failed to disclose facts that he was under a duty to disclose, with respect to

                                                    violations of the Jones Act in connection with transportation of a drilling rig to the Cook Inlet of

                                                    Alaska. The Furie Parties suffered damages, and Davis and Taylor (and others) were unjustly

                                                    enriched by virtue of Davis’s misrepresentations and omissions.


                                                            13.    Finally, in Section 5.1.1 of the LAPA, Davis and Taylor promised to furnish to

                                                    Cornucopia copies of various technical information, including seismic data. They have breached

                                                    their obligations to do so.


                                                            14.    The Furie Parties have presented their claims in accordance with Chapter 38 of the

                                                    Texas Civil Practices and Remedies Code. In addition, they have retained the undersigned

                                                    attorneys and have agreed to pay the reasonable and necessary attorneys’ fees. Thus, the Furie

                                                    Parties seek to recover their reasonable attorneys’ and experts’ fees pursuant to Section 12.6 of the

                                                    LAPA.


                                                                                         CAUSES OF ACTION


                                                            15.    Real Estate Fraud: Taylor and Davis have violated section 27.01 of the Texas

                                                    Business and Commerce Code by engaging in fraud in connection with a real estate transaction,

                                                    and each has benefited from the false representations and omissions in connection with the
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                                                    transaction. They are therefore liable in accordance with the statute for the damages suffered by

                                                    the Furie Parties.


                                                            16.    Unjust Enrichment/Disgorgement: Taylor and Davis have been unjustly enriched

                                                    by virtue of the sums paid in connection with the LAPA and the “carry” that each has been




                                                                                                     4
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                                                    provided. Thus, the Furie Parties seek disgorgement of all of their ill-gotten gains, including, but

                                                    not limited to, the money paid to reimburse them and the value, to date, of the “carry.”


                                                           17.       Breach of Contract: Davis and Taylor have breached their obligations under the

                                                    LAPA by, inter alia, failing to deliver the seismic data, resulting in substantial damages to the

                                                    Furie Parties.


                                                                                             Rule 47 Statement

                                                           18.       Under Texas Rule of Civil Procedure 47, the Furie Parties seek monetary relief in

                                                    excess of $1,000,000 on their counterclaims.


                                                                                           Conditions Precedent

                                                           19.       The Furie Parties have met all conditions precedent to filing this suit, or they have

                                                    otherwise been waived.


                                                           WHEREFORE, PREMISES CONSIDERED, the Furie Parties pray that Plaintiffs and

                                                    Intervenors take nothing by way of their claims and that they go hence from this Court, without

                                                    day. The Furie Parties further pray that upon final trial, they have judgment against Davis and

                                                    Taylor as follows:


                                                           1.        For their actual damages;

                                                           2.        For disgorgement;
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                                                           3.        For reasonable and necessary attorneys’ and expert witness fees;

                                                           4.        For costs;

                                                           5.        For pre- and post-judgment interest at the maximum lawful rate; and

                                                           6.        For such other and further relief to which they (or any one or more of them) show
                                                                     entitlement.




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                                                                                                 Respectfully submitted,


                                                                                                 REYNOLDS FRIZZELL LLP

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                                                                                                 CORNUCOPIA OIL & GAS COMPANY, LLC




                                                                                    CERTIFICATE OF SERVICE


                                                           I certify that on this the 21st day of April 2017, a true and correct copy of the foregoing
                                                    instrument has been served through the court’s electronic filing service system upon all known
                                                    counsel of record in accordance with the requirements of the Texas Rules of Civil Procedure.


                                                                                                        _/s/ Chris Reynolds
                                                                                                        Chris Reynolds
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                                                                                                    6
                Case 19-03666 Document 1-3 Filed in TXSB on 11/07/19 Page 154 of 236




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        EXHIBIT B -14
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                                                                                                                                    Chris Daniel - District Clerk Harris County
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                                                                                      CAUSE NO. 2016-49928

                                                     ALLEN LAWRENCE BERRY                           §       IN THE DISTRICT COURT OF
                                                     2007 TRUST and DANNY DAVIS                     §
                                                                                                    §
                                                     v.                                             §       HARRIS COUNTY, T E X A S
                                                                                                    §
                                                     DAMON KADE, et al.                             §       125th JUDICIAL DISTRICT


                                                                        PLAINTIFFS’ FOURTH AMENDED PETITION

                                                            Allen Lawrence Berry, Individual Trustee of the Allen Lawrence Berry 2007

                                                     Trust and Danny Davis (“Plaintiffs”) files this Fourth Amended Petition complaining of

                                                     Damon Kade, Kay Rieck, Lars Degenhardt, Tom Hord, Furie Operating Alaska, LLC,

                                                     Furie Petroleum Company, LLC, and Cornucopia Oil & Gas Company, LLC

                                                     (“Defendants”) and respectfully states as follows:

                                                                                           I.
                                                                              DISCOVERY AND RELIEF SOUGHT

                                                            1.      In accordance with Rule 190 of the Texas Rules of Civil Procedure,

                                                     discovery in this case is intended to be conducted under Level 3.

                                                            2.      Plaintiffs seek monetary relief over $1,000,000. See Tex. R. Civ. P. 47(c).

                                                                                             II.
                                                                                  JURSIDICTION AND VENUE
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                                                            3.      This Court has subject matter jurisdiction because the amount in

                                                     controversy exceeds the jurisdictional requirement of this Court and because none of the

                                                     causes of action pled fall within the exclusive jurisdiction of any court of this state.

                                                            4.      Venue is proper in Harris County, Texas because the acts and occurrences

                                                     giving rise to the various causes of action occurred in part in Harris County, Texas.

                                                     Furthermore, one or more of the defendants reside in Harris County, Texas.
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                                                                                         III.
                                                                           PARTIES AND SERVICE OF CITATION

                                                            5.      Plaintiff is Allen Lawrence Berry, Trustee of the Allen Lawrence Berry

                                                     2007 Trust, whose address is 5005 Riverway, Suite 440, Houston, Texas 77056.

                                                            6.      Plaintiff is Danny Davis, whose address is 5005 Riverway, Suite 440,

                                                     Houston, Texas 77056.

                                                            7.      Defendant, Damon Kade is an individual residing in Harris County, Texas

                                                     who has made an appearance in this case.

                                                            8.      Defendant, Kay Rieck is an individual who may be served at his place of

                                                     employment, Furie Operating Alaska, LLC, 100 Enterprise Avenue, League City, Texas

                                                     or wherever he may be found.

                                                            9.      Defendant, Lars Degenhardt is an individual who was served by

                                                     substituted service on October 24, 2016.

                                                            10.     Defendant, Tom Hord is an individual who was served by substituted

                                                     service on October 24, 2016.

                                                            11.     Defendant, Furie Operating Alaska, LLC, is a Texas LLC that has made

                                                     an appearance in this case.

                                                            12.     Defendant, Cornucopia Oil & Gas Company, LLC, is a Texas LLC that
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                                                     has made an appearance in this case.

                                                            13.     Defendant Furie Petroleum Company, LLC is a Texas LLC that may be

                                                     served with process by serving its registered agent CT Corporation System at 1999 Bryan

                                                     Street, Suite 900, Texas 75201.




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                                                                                              IV.
                                                                                             FACTS

                                                           14.     Escopeta Oil, LLC (“Escopeta Oil”) and Escopeta of Alaska, LLC,

                                                     (“Escopeta Alaska”) were originally owned by Allen Lawrence Berry (“Berry”) and

                                                     Danny Davis (“Davis”).

                                                           15.     On October 22, 2010, Escopeta Oil and Taylor Minerals, LLC (“Taylor”),

                                                     as Assignors, entered into a Lease Assignment and Participation Agreement (“Lease

                                                     Assignment”) with Escopeta Alaska, as Assignee, regarding leases in the Cook Inlet

                                                     Basin (“Leases”) in Alaska. The following are the pertinent provisions of the Lease

                                                     Assignment:

                                                           9.3     The parties acknowledge that under the current laws of the State of
                                                                   Alaska, certain expenses incurred in connection with the
                                                                   development of the KLU Leases may qualify to be refunded or
                                                                   reimbursed by the State of Alaska, HB 280 and the overall ACES
                                                                   Program or for credits against income taxes otherwise payable to
                                                                   the State of Alaska. To the extent the parties are able to qualify for
                                                                   such tax credits, [Escopeta Oil] and Taylor hereby agree that all tax
                                                                   credits shall be monetized for the benefit of [Escopeta Alaska] as
                                                                   full and complete payment for the working interest costs of
                                                                   [Escopeta Oil] and Taylor for the drilling of the #1 KLU and
                                                                   subsequent wells in which [Escopeta Oil] and Taylor are working
                                                                   interest owners.

                                                           9.4     The parties acknowledge that under the current laws of the State of
                                                                   Alask, the wells drilled on all the Leases may qualify for a
                                                                   production royalty or a reduction in the royalty percentage paid to
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                                                                   the State of Alaska. To the extent the parties are successful in
                                                                   obtaining this royalty relief credit, the value or interest received
                                                                   pursuant to any such program on all leases will belong 79% to
                                                                   [Escopeta Alaska] and 21% to [Escopeta Oil] (for itself and, as
                                                                   applicable, for the benefit of Taylor).

                                                           9.5     [Escopeta Oil] and Taylor will contribute 100% of their share and
                                                                   all right, title and interested in and to all funds due from SB 309,
                                                                   HB 280, and the Alaska ACES Program for the development of the
                                                                   KLU. For this contribution, along with prior work in developing
                                                                   the KLU geology and exploration program, [Escopeta Oil] and



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                                                                    Taylor will own a 21% working interest based on a 75% NRI in
                                                                    the KLU drilling and development program. This working interest
                                                                    shall be free and clear of any and all additional costs and
                                                                    assessments and will include all drilling, completion, platform,
                                                                    pipeline and facility costs to bring oil and gas into production. The
                                                                    21% working interest will come into effect at the time [Escopeta
                                                                    Alaska] has recovered 100% of its total costs of drilling,
                                                                    completing, building pipelines, platforms, necessary facilities and
                                                                    placing the Kitchen Lights Unit on production. [Escopeta Oil] and
                                                                    Taylor will pay their share of all operating expenses, workover and
                                                                    recompletion costs, in accordance with their respective working
                                                                    interest ownership, once [Escopeta Alaska] has recovered 100% of
                                                                    its total cost.

                                                     Under the Lease Agreement, Escopeta Oil was responsible for the administration and

                                                     operation of the Leases.

                                                              16.   Pursuant to the Joint Operating Agreement entered into on October 21,

                                                     2010 between Escopeta Oil and Escopeta Alaska, Escopeta Oil was the operator and

                                                     Escopeta Alaska and Taylor were non-operating working interest owners. Pursuant to the

                                                     terms of the Lease Agreement, Escopeta Alaska and Taylor assigned certain rights to

                                                     Escopeta Oil and retained certain royalty interests and 21% of the working interest.

                                                     Escopeta Alaska, among other duties, agreed to fund 100% of the costs of drilling and

                                                     development of the leases and in return, received assignment of 79% of the working

                                                     interest. The Lease Assignment and Joint Operating Agreement expressly state that each

                                                     Agreement is binding upon and inures to the benefit of the successors and assigns of each
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                                                     party.

                                                              17.   After the Lease Assignment was entered, Davis and Berry assigned 100%

                                                     interest of Escopeta Oil and Escopeta Alaska to Furie Operating Alaska, LLC. However,

                                                     Davis retained his interest in the Leases individually, and Berry transferred his interest in

                                                     the Leases to the Allen Lawrence Berry 2007 Trust. On August 19, 2011, Escopeta




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                                                     Alaska changed its name to become Defendant Cornucopia.     On September 21, 2011,

                                                     Escopeta Oil changed its name became Defendant Furie.

                                                            18.     Pursuant to the Lease Assignment and a subsequent transfer of an

                                                     additional 1% to Cornucopia from Escopeta Oil, the current working interest in the

                                                     Leases is divided as follows:

                                                                    80%                 Cornucopia

                                                                    6.875%              Davis

                                                                    7.875%              Berry Trust

                                                                    5.25%               Taylor

                                                            19.     Upon information and belief, Furie Operating is owned 100% by Furie

                                                     Petroleum Company, LLC (“Furie Petroleum”), and Furie Petroleum is owned 88% by

                                                     Cornucopia.    Additionally, upon information and belief, Cornucopia is also owned

                                                     wholly or partially by Deutsche Oel & Gas, AG (“Deutsche”), Deutsche is owned 100%

                                                     by Alecto, Ltd. (“Alecto”), and Alecto is owned 100% by Defendant Kay Rieck.

                                                     Deutsche is also a member of Furie Petroleum’s management and owns 12% of

                                                     Cornucopia.

                                                            20.     Defendant Lars Degenhardt is President of Furie Operating and is an

                                                     officer or member of the board of directors of Deutsche, also known as German Oil &
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                                                     Gas. Defendant Damon Kade is the former President and Director of Furie Operating,

                                                     the former President of Furie Petroleum, and was involved with other companies which

                                                     were subsidiaries of Furie Operating, Furie Petroleum, and Cornucopia. Defendant Tom

                                                     Hord is the Chief Operating Officer of Furie Petroleum and a Director of Furie

                                                     Operating.




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                                                               21.   Pursuant to a Joint Operating Agreement between Escopeta Oil (later

                                                     Furie Operating) and Escopeta Alaska (later Cornucopia) entered into on October 21,

                                                     2010, Furie Operating, through itself and the relationships with the other Defendants, was

                                                     responsible for the administration and operation of the Leases. Defendants, in operating

                                                     said interests, failed to properly administer said interest, failed to keep Plaintiffs properly

                                                     advised of his interests, and failed to properly account for his interests.

                                                               22.   Specifically, Defendants (1) failed to properly account for tax credits

                                                     received by the state of Alaska under Section 9.3 of the Lease Assignment; (2) failed to

                                                     properly account for discovery royalties under Section 9.4 of the Lease Assignment; and

                                                     (3) charged improper and excessive operating costs for the Leases at issue. Further,

                                                     Defendants improperly engaged in self-dealing, as shown from the intertwined business

                                                     relationship between the majority interest owner of the lease assignment, Cornucopia,

                                                     and the operator, Furie Operating, and the further ownership structure of the entities

                                                     described herein.

                                                               23.   After the dates of the agreements, Defendants applied for and received tax

                                                     credits from the State of Alaska through programs, such as ACES Program and State of

                                                     Alaska HB 280, and, further, Defendants received an increase in the net revenue interest

                                                     as a result of a reduction in the royalty percentage payable to the State of Alaska, as
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                                                     lessor.    Defendants have failed and refused to properly account for any tax credits

                                                     received from the State of Alaska under Section 9.3 of the Lease Assignment. Further,

                                                     Defendants failed to properly account for discovery or production royalty or reduction of

                                                     same under Section 9.4 of the Lease Assignment; and Defendants have charged improper

                                                     and excessive operating costs for the Leases at issue.




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                                                             24.     Further, Defendants received a discovery royalty, production royalty or

                                                     reduction in royalty pursuant to incentive plans adopted by the State of Alaska to

                                                     encourage drilling and development of oil and gas properties on State owned lands.

                                                     Defendants have failed to pay or account for this amount.

                                                             25.     Defendants, in operating said interests, failed to properly administer the

                                                     working interest owners’ interests in the Oil and Gas Lease and the Kitchen Lights Unit

                                                     interest, failed to keep the parties properly advised as to financial and operational matters

                                                     relating to the parties’ interests and failed to properly account for all interests.

                                                             26.     Further, Defendants made misrepresentations to Plaintiffs regarding

                                                     Plaintiffs’ forthcoming receipt of the discovery royalties and full amount due from the tax

                                                     benefits.

                                                                                               V.
                                                                                        CAUSES OF ACTION

                                                                                 NEGLIGENCE / GROSS NEGLIGENCE

                                                             27.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             28.     Defendants owed a duty to Plaintiffs to conduct operations in a reasonably

                                                     prudent manner. Defendants further had a duty to use proper accounting procedures and

                                                     methods. Defendants breached their duties.
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                                                             29.     Defendants knew or should have known and had actual and/or

                                                     constructive notice that their improper actions reasonably caused Plaintiffs to suffer

                                                     injury. Defendants knew or should have known that they were not acting as a reasonably

                                                     prudent operator.     Defendants continued to act, individually and in concert, which

                                                     proximately caused the damage to and destruction of Plaintiffs’ lawful contractual and

                                                     equitable rights.   Further, Defendants’ interference and negligent actions resulted in



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                                                     Plaintiffs being denied possession of, use of and access to its interests in the assigned

                                                     rights and property interests. Defendants’ actions constitute negligence and/or gross

                                                     negligence which proximately caused the injuries described by Plaintiffs herein.

                                                            30.     Defendants’ negligent acts include, but are not limited to:

                                                            a)      Negligently and grossly negligently failed to provide accurate
                                                                    information regarding Plaintiffs’ rights under the Lease Agreement
                                                                    and Joint Operating Agreement;

                                                            b)      Negligently and grossly negligently failed to make payment of
                                                                    amounts due to Plaintiffs and using same for Defendants’
                                                                    purposes;

                                                            c)      Negligently and grossly negligently failing to make and keep
                                                                    proper accounting of all amounts received and expended subject to
                                                                    the Lease Agreement and Joint Operating Agreement;

                                                            d)      Negligently and grossly negligently failing to pay to Plaintiffs all
                                                                    amounts properly due to them subject to the Lease Agreement and
                                                                    Joint Operating Agreement;

                                                            e)      Negligently and grossly negligently failing to maintain records of
                                                                    all amounts which would offset any payment toward Plaintiffs’
                                                                    interests, such as, their “Back-in right” subject to the Lease
                                                                    Agreement and Joint Operating Agreement;

                                                            f)      Failing to properly investigate each other Defendant’s improper
                                                                    actions which harmed Plaintiffs and failure to advise Plaintiffs of
                                                                    said actions;

                                                            g)      Negligently and grossly negligently receiving and retaining monies
                                                                    properly belonging to Plaintiffs; and
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                                                            h)      Negligently and grossly negligently failing to cease and desist in
                                                                    all improper activity in violation of Plaintiffs’ rights.

                                                            31.     Further, the negligent, tortious and improper actions by Defendants by

                                                     continuing to violate Plaintiffs’ contracted and assigned rights are reckless, willful, and

                                                     wanton disregard for Plaintiffs’ known rights.




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                                                            32.     Defendants consciously and/or deliberately engaged in recklessness,

                                                     oppression, fraud, willfulness, wantonness and will malice through their operations and

                                                     administration of Plaintiffs’ interests, which proximately caused Plaintiffs’ damages in

                                                     the past and ongoing described herein.

                                                                                       BREACH OF CONTRACT

                                                            33.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                            34.     Plaintiffs entered into or have rights derived from the Lease Agreement

                                                     and Joint Operating Agreement.

                                                            35.     Defendants failed to abide by the terms and conditions of the Lease

                                                     Assignment and Joint Operating Agreement.

                                                            36.     Plaintiffs have peformed their contractual obligations, and all conditions

                                                     precedent have been met.

                                                            37.     Defendants have breach the Lease Assignment and Joint Operating

                                                     Agreement by failing to abide by one or more of the terms and conditions.

                                                            38.     This breach has cause injury to Plaintiffs.

                                                                      BREACH OF FIDUCIARY DUTY/AIDING AND ABETTING

                                                            39.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                            40.     Defendants acted as a fiduciary to Plaintiffs, owing Plaintiffs the duty of
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                                                     good faith and fair dealing and the duty to make full disclosure to Plaintiffs concerning

                                                     matters affecting the Leases.

                                                            41.     Defendants have breached and/or aided and abetted the breach of fiduciary

                                                     duties owed to Plaintiffs by knowingly and intentionally failing to fully disclose and

                                                     account for material facts concerning the Leases.




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                                                             42.     The breaches resulted in damages to Plaintiffs greatly exceeding the

                                                      minimum jurisdictional limits of this Court.

                                                             43.     Defendant Cornucopia further has received funds beneficially owned by

                                                      and payable to Plaintiffs and breached its legal, equitable and fiduciary duty to Plaintiffs

                                                      as it received, but failed to account for and pay to Plaintiffs, production royalty or

                                                      reduction of the production royalty percentage paid to the State of Alaska.

                                                             44.     Further, Defendants, acting in concert, sought and received “royalty relief

                                                      credits” and have failed and refused to account for or pay Plaintiffs these amounts.

                                                                              IMPROPER ADMINISTRATION AND ACCOUNTING

                                                             45.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             46.     Defendants have breached their duties to Plaintiffs through improper

                                                      administration. Defendants have a duty to properly account, bill, and pay the appropriate

                                                      amounts based on Plaintiffs’ interest.

                                                             47.     Defendants have failed in this duty causing Plaintiffs damages greatly

                                                      exceeding the minimum jurisdictional limits of this Court.

                                                             48.     Plaintiffs sue for an equitable accounting related to all joint interest

                                                      billings, and monies owed to plaintiff.
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                                                                                                CONVERSION

                                                             49.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             50.     Pursuant to the Lease Agreement and and Joint Operating Agreement,

                                                      Plaitiffs are entitled to a percentage of royalties and working interest based upon oil and

                                                      gas removed from the property subject to the Leases at issue.




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                                                             51.     Defendants have established commercial production and sold substantial

                                                      quantities of oil and gas from the Leases but have failed to pay to Plaintiffs their share of

                                                      such proceeds. Accordingly, Defendants have improperly converted those rights and

                                                      monies and have refused to return same to Plaintiffs.         Further, due to Defendants’

                                                      knowledge of Plaintiffs’ rights and their intentional disregard, malice, and gross

                                                      negligence for Plaintiffs’ rights, Plaintiffs’ property and the injury which would result,

                                                      Plaintiffs seek exemplary damages from Defendants.

                                                                                             CONSPIRACY

                                                             52.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             53.     Defendants, with knowledge of Plaintiffs’ rights, conspired with concerted

                                                      action and/or aided and abetted each other in the breaches of contract and fiduciary duties

                                                      owed to Plaintiffs. Plaintiffs by knowingly and intentionally failing to fully disclose and

                                                      account for material facts concerning the Leases. The breaches caused and resulted in

                                                      damages to Plaintiffs.

                                                             54.     Defendants, wrongfully breached, intentionally, negligently and grossly

                                                      negligently acted in concert to prevent Plaintiffs from receiving the benefits of their

                                                      bargain and their rights set forth under the Lease Agreement and Joint Operating
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                                                      Agreement.    Each of these actions intentionally, negligently and grossly negligently

                                                      succeeded in breach of the Lease Agreement and and Joint Operating Agreement and

                                                      cause the property interests and rights owned by Plaintiffs to be impaired and damaged.

                                                             55.     Defendants caused injury to Plaintiffs as set forth herein.

                                                             56.     Further, Defendants operated in concert throughout this matter and have

                                                      advanced a common scheme to engage in self-dealing through a myriad of interlocking




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                                                      domestic and foreign entities and to deceive Plaintiffs as to the disposition of property, to

                                                      conceal amounts received by Defendants, to prevent Plaintiffs from becoming aware of

                                                      the amounts Defendants received, to conceal and convert amounts expended through self-

                                                      dealing and other actions set forth herein.

                                                                                          UNJUST ENRICHMENT

                                                             57.     Defendants, through their improper actions, have retained property and

                                                      property interests which rightfully belong to Plaintiffs. Retention of such property is

                                                      unconscionable.

                                                                                                    FRAUD

                                                             58.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             59.     Defendants fraudulently represented to Plaintiffs that receipt of the

                                                      discovery royalties and full amount due from the tax benefits was forthcoming. These

                                                      representations were material.

                                                             60.     Defendants representations were false, and Defendants knew the

                                                      representations were false when they were made.

                                                             61.     Defendants     had    no   intention       of   following   through   on   these

                                                      misrepresentations.
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                                                             62.     Defendants fraudulent conduct was willful, wanton, and malicious.

                                                             63.     Defendants intended Plaintiffs to rely on their representations and conduct,

                                                      and Plaintiffs did in fact rely on the representations.

                                                             64.     Plaintiffs have been injured by Defendants’ fraudulent conduct and are

                                                      entitled to recover damages for that injury.




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                                                                                                VI.
                                                                                              DAMAGES

                                                             65.      As a direct and proximate result of the incidents made the basis of this

                                                      lawsuit and improper actions and failures to act by Defendants, Plaintiffs suffered serious

                                                      damage. Each action complained of herein is a direct and proximate cause of Plaintiffs’

                                                      damages set forth herein.

                                                             66.      Plaintiffs incurred the following damages, which are of a continuing

                                                      nature, due to Defendants’ actions:

                                                                   a) Any and all amounts not paid to Plaintiffs pursuant to their rights
                                                                      under the Lease Assignment and Joint Operating Agreement.

                                                                   b) All property rights sold and assigned by Defendants, monies paid
                                                                      to Defendants, and the losses incurred by Plaintiffs as a result of
                                                                      same.

                                                                   c) Interest, prejudgment and post judgment; and

                                                                   d) Any and all other damages available via statute, common law and
                                                                      equity.

                                                             67.      Because of these injuries and damages, Plaintiffs are entitled to recover

                                                      compensatory damages of an amount which is within the jurisdictional requirements of

                                                      this Honorable Court.       Plaintiffs also seek punitive and/or exemplary damages to the

                                                      extent allowed by law.
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                                                             68.      Because of the conduct of Defendants, including breach of the agreements

                                                      between the parties, Plaintiffs have been compelled to engage the services of an attorney

                                                      to prosecute this action. Plaintiffs are entitled to recover a reasonable sum for the

                                                      necessary services to the maximum extent allowed by law, including all expenses and

                                                      court costs, of the attorney in the preparation and trial of this action and for appeals to the

                                                      Court of Appeals or the Texas Supreme Court.



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                                                                                            VII.
                                                                                   CONDITIONS PRECEDENT

                                                             69.     All conditions precedent to bringing the above causes of action have been

                                                      met or occurred.

                                                                                           VIII.
                                                                                  NO ELECTION OF REMEDIES

                                                             70.     The foregoing facts and theories are pled cumulatively and alternatively,

                                                      with no election or waiver of rights or remedies.

                                                                                               IX.
                                                                                          TRIAL BY JURY

                                                             71.     Plaintiffs request trial by jury and submits appropriate jury fee.

                                                                                                X.
                                                                                              PRAYER

                                                             WHEREFORE, PREMISES CONSIDERED, Allen Lawrence Berry, Individual

                                                      Trustee of the Allen Lawrence Berry 2007 Trust prays that it take judgment against

                                                      Defendant and recover:

                                                             a.      All the actual damages and special damages caused by the wrongful

                                                                     conduct complained of herein;

                                                             b.      Just and reasonable attorney’s fees;
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                                                             c.      Pre- and post-judgment interest;

                                                             d.      Costs of suit; and

                                                             e.      Other such relief at law and equity for which it may be justly entitled.




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                                                                                        Respectfully submitted,

                                                                                        BUTCH BOYD LAW FIRM




                                                                                        ________________________________
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                                                                                        ATTORNEYS FOR PLAINTIFFS
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                                                                                  CERTIFICATE OF SERVICE

                                                             This is to certify that a true and complete copy of this document was served on all

                                                      counsel of record by method indicated below on the 21st day of April, 2017:

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                                                      Hill & Hill, P.C. Law Firm
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                                                      Attorneys for Defendants, Furie Operating Alaska, LLC and
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                                                      Cornucopia Oil & Gas Company, LLC




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                                                      Attorney for Intervenors Taylor Minerals, LLC and GIZA HOLDINGS, LLC




                                                                                            ________________________________
                                                                                            ERNEST (“BUTCH”) BOYD
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                                                                                                                                   Chris Daniel - District Clerk Harris County
                                                                                                                                                     Envelope No. 17284690
                                                                                                                                                        By: Wanda Chambers
                                                                                                                                                Filed: 5/26/2017 2:56:41 PM



                                                                                       CAUSE NO. 2016-49928

                                                    ALLEN LAWRENCE BERRY                            §         IN THE DISTRICT COURT OF
                                                    2007 TRUST                                      §
                                                                                                    §
                                                    V.                                              §         HARRIS COUNTY, TEXAS
                                                                                                    §
                                                    DAMON KADE, ET AL                               §         125TH JUDICIAL DISTRICT


                                                                                         COUNTERANSWER

                                                           COME NOW, TAYLOR MINERALS, LLC and GIZA HOLDINGS LLC, hereinafter

                                                    referred to as CounterDefendants, and file this      CounterAnswer and respectfully show the

                                                    following:

                                                                                                    I.

                                                                                             General Denial

                                                           1.      Pursuant to Rule 92 of the Texas Rules of Civil Procedure, CounterDefendants

                                                    generally deny each and every claim, charge and allegation asserted by CounterPlaintiffs FURIE

                                                    OPERATING ALASKA, LLC, FURIE PETROLEUM COMPANY, LLC and CORNUCOPIA

                                                    OIL & GAS COMPANY, LLC. CounterDefendants demand that CounterPlaintiff prove its claims

                                                    by a preponderance of credible evidence as required by the laws and the Constitution of the United

                                                    States of America and the State of Texas.
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                                                                                                     II.

                                                                                             Affirmative Defenses

                                                           2.      CounterDefendants assert the following affirmative defenses which bar

                                                    CounterPlaintiff’s claims in whole or in part. The defenses are pled in addition to one another

                                                    and/or in the alternative to one another.

                                                           3.      Additionally and/or in the alternative, CounterDefendants assert that the allegations

                                                    and facts pled in CounterPlaintiff’s Answer and CounterClaims are inaccurate and incorrect in

                                                    whole or in part.

                                                           4.      Additionally, and/or in the alternative, CounterDefendants deny it breached any

                                                    contract or agreement with CounterPlaintiff. CounterDefendants deny they owes anything on any

                                                    contract or agreement with CounterPlaintiff.

                                                           5.      CounterPlaintiff’s claims are barred in whole or in part by the following affirmative

                                                    defenses:

                                                               Additionally and/or in the alternative CounterDefendants plead ambiguity;

                                                               Additionally and/or in the alternative CounterDefendants plead deceit by

                                                                CounterPlaintiff;

                                                               Additionally and/or in the alternative CounterDefendants plead estoppel;
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                                                               Additionally and/or in the alternative CounterDefendants plead excuse;

                                                               Additionally and/or in the alternative CounterDefendants plead failure of

                                                                consideration;

                                                                  Additionally and/or in the alternative CounterDefendants plead failure to meet the

                                                                   prerequisites for filing suit;
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                                                          Additionally and/or in the alternative CounterDefendants plead failure to mitigate

                                                           damages;

                                                          Additionally and/or in the alternative CounterDefendants pleads failure to prove

                                                           each element its causes of action;

                                                          Additionally and/or in the alternative CounterDefendants plead failure to state a

                                                           cause of action upon which relief may be granted;

                                                          Additionally and/or in the alternative CounterDefendants plead failure to satisfy

                                                           conditions precedent for filing suit;

                                                          Additionally and/or in the alternative CounterDefendants plead fraud;

                                                          Additionally and/or in the alternative CounterDefendants plead frustration of

                                                           purpose;

                                                          Additionally and/or in the alternative CounterDefendants plead impossibility;

                                                          Additionally and/or in the alternative CounterDefendants plead insufficient

                                                           consideration;

                                                          Additionally and/or in the alternative CounterDefendants plead justification;

                                                          Additionally and/or in the alternative CounterDefendants plead laches;

                                                          Additionally and/or in the alternative CounterDefendants plead lack of
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                                                           consideration;

                                                          Additionally and/or in the alternative CounterDefendants plead misrepresentation;

                                                          Additionally and/or in the alternative CounterDefendants plead mistake;




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                                                                  Additionally and/or in the alternative CounterDefendants plead no meeting of the

                                                                   minds;

                                                                  Additionally and/or in the alternative CounterDefendants plead prior material

                                                                   breach;

                                                               Additionally and/or in the alternative CounterDefendants plead rescission;

                                                                  Additionally and/or in the alternative CounterDefendants plead statute of

                                                                   limitations;

                                                                  Additionally and/or in the alternative CounterDefendants plead unclean hands;

                                                                  Additionally and/or in the alternative CounterDefendants plead unconscionability;

                                                                  Additionally and/or in the alternative CounterDefendants plead Statute of Frauds,

                                                                   including Tex. Bus. & Com. Code Ann, sec 26.01;

                                                                  Additionally and/or in the alternative CounterDefendants plead unjust enrichment

                                                                   and/or

                                                                  Additionally and/or in the alternative CounterDefendants plead waiver.

                                                           6.      Additionally and/or in the alternative CounterDefendants plead the attorney’s fees

                                                    and costs alleged and claimed by CounterPlaintiffs are not reasonable or necessary, and have been

                                                    waived and/or are subject to collateral estoppel and/or res judicata.
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                                                           7.      Additionally and/or in the alternative CounterDefendants plead: the occurrence in

                                                    question was solely caused by persons, entities, instrumentalities or factors other than

                                                    CounterDefendants.




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                                                           8.      Additionally and/or in the alternative CounterDefendants plead: CounterPlaintiffs

                                                    and CounterPlaintiffs’ agents’ conduct caused or contributed to the damages asserted by

                                                    CounterPlaintiffs and include CounterPlaintiff’s agents, attorneys and law firms.

                                                           9.      Additionally and/or in the alternative CounterDefendants plead: Any complaint

                                                    which CounterPlaintiff makes in its pleadings should be directed at parties other than

                                                    CounterDefendants. Accordingly, CounterDefendants invoke the legal doctrine allowing a credit

                                                    against any judgment ultimately rendered in this matter for that degree of fault attributed by the

                                                    jury to parties other than CounterDefendants.

                                                           10.     Additionally      and/or     in   the    alternative    CounterDefendants        plead:

                                                    CounterDefendants hereby asserts the right to indemnity and/or contribution. In the event any

                                                    money is paid in settlement, CounterDefendants hereby asserts the right to obtain an appropriate

                                                    credit under Chapter 33. CounterDefendants reserves the right to introduce such evidence which

                                                    may come to light establishing any responsibility, cause, fault or negligence against any and all

                                                    former, current and future claimants, CounterDefendants, settling parties, CounterPlaintiffs’

                                                    agents, or others to support the submission of those parties in the liability questions to the jury.



                                                                                                     III.
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                                                                                              JURY DEMAND

                                                            11.     A jury trial is demanded.




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                                                           WHEREFORE, PREMISES CONSIDERED, COUNTERDEFENDANTS request and

                                                    pray that the Honorable Court enter a judgment that CounterPlaintiffs takes nothing by this suit;

                                                    enter judgment in CounterDefendant’s favor against CounterPlaintiffs; award CounterDefendants

                                                    reasonable attorneys’ fees, costs and expense incurred in this case, costs of court, grant all relief

                                                    sought by CounterDefendants against CounterPlaintiffs; and grant all other relief in law and equity,

                                                    pled or unpled, to which CounterDefendants may show themselves justly entitled.




                                                                                                         BY:_/s/ Robert G. Taylor, III__________
                                                                                                             Robert G. Taylor, III
                                                                                                            ATTORNEY FOR INTERVENORS

                                                           Robert G. Taylor, III
                                                           Law Office of Robert G. Taylor, III
                                                           Texas Bar Number 19721100
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                                                           Houston, Texas 77006
                                                           (713) 654-7799
                                                           (713) 654-7814 facsimile
                                                           rt3atty@gmail.com
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                                                                                     CERTIFICATE OF SERVICE

                                                             I hereby certify that a true and correct copy of this document was forwarded via
                                                     electronic service, facsimile and/or U. S. Mail on this the 26th day of May, 2017 to:

                                                     Ernest W. Boyd
                                                     butchboyd@butchboydlawfirm.com
                                                     Cheryl L. Turner
                                                     cherylturner@butchboydlawfirm.com
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                                                     chogan@reynoldsfrizzell.com
                                                     Reynolds Frizzell, LP
                                                     1100 Loiusiana Street, Suite 3500
                                                     Houston, Texas 77002
                                                     Facsimile (713) 485-7250

                                                     John Scott Black
                                                     jblack@dalyblack.com
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                                                     Daly & Black, P.C.
                                                     211 Norfolk Street, Suite 800
                                                     Houston, Texas. 77098
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                                                     J. Marcus “Marc” Hill
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                                                     Hill & Hill, P.C. Law Firm
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                                                     1770 St. James Place, Suite 115
                                                     Houston, Texas 77056
                                                     Facsimile (713) 688-2817


                                                                                           /s/ Robert G. Taylor, III__________________
                                                                                           Robert G. Taylor, III



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     Witness my official hand and seal of office
     this November 5, 2019


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                                                                                                                                     Chris Daniel - District Clerk Harris County
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                                                                                                                                                              By: Alma Martinez
                                                                                                                                                      Filed: 7/13/2017 2:34 PM

                                                                                         CAUSE NO. 2016-49928

                                                    ALLEN LAWRENCE BERRY                             §       IN THE DISTRICT COURT OF
                                                    2007 TRUST and DANNY DAVIS                       §
                                                                                                     §
                                                    v.                                               §       HARRIS COUNTY, TEXAS
                                                                                                     §
                                                    DAMON KADE, et al.                               §       125th JUDICIAL DISTRICT


                                                                 DANNY DAVIS’S ORIGINAL ANSWER TO COUNTERCLAIMS

                                                            Danny Davis files this Original Answer to Counterclaims filed by Furie Operating

                                                    Alaska, LLC, Furie Petroleum Company, LLC, and Cornucopia Oil & Gas Company, LLC

                                                    (collectively, the “Furie Parties”).

                                                                                             GENERAL DENIAL

                                                            1.         Danny Davis generally denies the allegations of the Furie Parties.

                                                                                         AFFIRMATIVE DEFENSES

                                                            2.         The Furie Parties’ claims are barred by the Furie Parties’ fraud and deceit;

                                                            3.         The Furie Parties’ claims are barred because they materially breached the

                                                    contract.

                                                            4.         The Furie Parties’ claims are barred by estoppel, collateral estoppel and

                                                    judicial estoppel.

                                                            5.         Danny Davis pleads excuse.
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                                                            6.         The Furie Parties’ claims are barred due to a failure or lack of consideration.

                                                            7.         The Furie Parties’ claims are barred due to a failure to meet the prerequisites

                                                    for filing suit.

                                                            8.         The Furie Parties have failed to mitigate damages.

                                                            9.         The Furie Parties’ claims are barred due to a failure to satisfy conditions

                                                    precedent, including but not limited to providing notice or presenting the Furie Parties’ claims

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                                                    to Danny Davis.

                                                           10.     Danny Davis pleads frustration of purpose.

                                                           11.     Danny Davis pleads impossibility or inability to perform.

                                                           12.     Danny Davis pleads justification.

                                                           13.     Danny Davis pleads mistake.

                                                           14.     Danny Davis pleads no meeting of the minds.

                                                           15.     Danny Davis pleads recession.

                                                           16.     The Furie Parties’ claims are barred by the applicable statute of limitations.

                                                           17.     The Furie Parties’ claims are barred because they have unclean hands.

                                                           18.     Danny Davis pleads unconscionability.

                                                           19.     The Furie Parties’ claims are barred by the statute of frauds.

                                                           20.     The Furie Parties’ claims are barred by waiver.

                                                           21.     The Furie Parties’ claims are barred by ratification.

                                                           22.     The Furie Parties’ claims are barred by laches.

                                                           23.     Danny Davis pleads contributory negligence, proportionate responsibility and

                                                    contribution as affirmative defenses.

                                                           24.     Danny Davis is entitled to offset and/or credit.

                                                           25.     Any claim for exemplary damages are limited or capped pursuant to
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                                                    applicable law, including but not limited to the Texas Damages Act, Tex. Civ. Prac. & Rem.

                                                    Code ch. 41, the Due Process Clauses of the United States and Texas Constitutions.

                                                                                            JURY DEMAND

                                                           26.     A jury trial is hereby demanded.

                                                                                              PRAYER

                                                           Danny Davis respectfully requests that the Furie Parties take nothing on their claims,

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                                                    that judgment be rendered in favor of Danny Davis and that Danny Davis recover his

                                                    reasonable and necessary attorneys’ fees and costs. Danny Davis requests all other relief to

                                                    which he may be justly entitled.

                                                                                                Respectfully submitted,

                                                                                                BUTCH BOYD LAW FIRM




                                                                                                _________________________________
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                                                                                                Phone: (713) 589-8477
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                                                                                                ATTORNEYS FOR COUNTER-DEFENDANT
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                                                                                 CERTIFICATE OF SERVICE

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                                                    counsel of record by method indicated below on the 13th day of July, 2017:

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                                                    marc@hillpclaw.com
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                                                    Attorney for Defendant, Lars Degenhardt

                                                    Mr. John Scott Black
                                                    Mr. Richard D. Daly
                                                    Ms. Melissa Waden Wray
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                                                    Facsimile: (713) 655-1587
                                                    Attorneys for Defendant Damon Kade

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                                                    Mr. Christopher M. Hogan
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                                                    creynolds@reynoldsfrizzell.com
                                                    chogan@reynoldsfrizzell.com
                                                    Facsimile: (713) 785-7250
                                                    Attorneys for Defendants, Furie Operating Alaska, LLC, Furie Petroleum Company, LLC
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                                                    and Cornucopia Oil & Gas Company, LLC

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                                                    Houston, Texas 77006
                                                    (713) 654-7799
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                                                    rt3atty@gmail.com
                                                    Attorney for Intervenors, Taylor Minerals, LLC and
                                                    Giza Holdings, LLC


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                                                                                     _______________________________
                                                                                     ERNEST W. BOYD
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                                                                                                                                    Chris Daniel - District Clerk Harris County
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                                                                                                                                                          By: SASHA PRINCE
                                                                                                                                                      Filed: 9/1/2017 4:09 PM



                                                                                      CAUSE NO. 2016-49928

                                                     ALLEN LAWRENCE BERRY,                          §       IN THE DISTRICT COURT OF
                                                     INDIVIDUALLY AND AS TRUSTEE                    §
                                                     OF THE ALLEN LAWRENCE                          §       HARRIS COUNTY, T E X A S
                                                     BERRY TRUST, and DANNY DAVIS                   §
                                                                                                    §
                                                     v.                                             §
                                                                                                    §
                                                     DAMON KADE, et al.                             §       125th JUDICIAL DISTRICT

                                                                         PLAINTIFFS’ FIFTH AMENDED PETITION

                                                            Allen Lawrence Berry, Individually and as Trustee of the Allen Lawrence Berry

                                                     2007 Trust, and Danny Davis (“Plaintiffs”) file this Fifth Amended Petition complaining

                                                     of Damon Kade, Kay Rieck, Lars Degenhardt, Tom Hord, Furie Operating Alaska, LLC,

                                                     Furie Petroleum Company, LLC, and Cornucopia Oil & Gas Company, LLC

                                                     (“Defendants”) and respectfully states as follows:

                                                                                           I.
                                                                              DISCOVERY AND RELIEF SOUGHT

                                                            1.      In accordance with Rule 190 of the Texas Rules of Civil Procedure,

                                                     discovery in this case is intended to be conducted under Level 3.

                                                            2.      Plaintiffs seek monetary relief over $1,000,000. See Tex. R. Civ. P. 47(c).

                                                                                             II.
                                                                                  JURSIDICTION AND VENUE
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                                                            3.      This Court has subject matter jurisdiction because the amount in

                                                     controversy exceeds the jurisdictional requirement of this Court and because none of the

                                                     causes of action pled fall within the exclusive jurisdiction of any court of this state.
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                                                            4.      Venue is proper in Harris County, Texas because the acts and occurrences

                                                     giving rise to the various causes of action occurred in part in Harris County, Texas.

                                                     Furthermore, one or more of the defendants reside in Harris County, Texas.

                                                                                         III.
                                                                           PARTIES AND SERVICE OF CITATION

                                                            5.      Plaintiff Allen Lawrence Berry, Trustee of the Allen Lawrence Berry 2007

                                                     Trust’s address is 5005 Riverway, Suite 440, Houston, Texas 77056.

                                                            6.      Plaintiff Allen Lawrence Berry is an individual whose business address is

                                                     5005 Riverway, Suite 440, Houston, Texas 77056.

                                                            7.      Plaintiff Danny Davis’s business address is 5005 Riverway, Suite 440,

                                                     Houston, Texas 77056.

                                                            8.      Defendant, Damon Kade is an individual residing in Harris County, Texas

                                                     who has made an appearance in this case.

                                                            9.      Defendant, Kay Rieck is an individual who may be served at his place of

                                                     employment, Furie Operating Alaska, LLC, 100 Enterprise Avenue, League City, Texas

                                                     or wherever he may be found.

                                                            10.     Defendant, Lars Degenhardt is an individual who was served by

                                                     substituted service on October 24, 2016.
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                                                            11.     Defendant, Tom Hord is an individual who was served by substituted

                                                     service on October 24, 2016, and who has made an appearance.

                                                            12.     Defendant, Furie Operating Alaska, LLC, is a Texas LLC that has made

                                                     an appearance in this case.

                                                            13.     Defendant, Cornucopia Oil & Gas Company, LLC, is a Texas LLC that

                                                     has made an appearance in this case.



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                                                             14.     Defendant Furie Petroleum Company, LLC is a Texas LLC that may be

                                                     served with process by serving its registered agent CT Corporation System at 1999 Bryan

                                                     Street, Suite 900, Texas 75201. Furie Petroleum Company, LLC has made an appearance

                                                     in this case.

                                                                                                IV.
                                                                                               FACTS

                                                             15.     Escopeta Oil, LLC (“Escopeta Oil”) and Escopeta of Alaska, LLC,

                                                     (“Escopeta Alaska”) were originally owned by Allen Lawrence Berry (“Berry”) and

                                                     Danny Davis (“Davis”).

                                                             16.     On October 22, 2010, Escopeta Oil and Taylor Minerals, LLC (“Taylor”),

                                                     as Assignors, entered into a Lease Assignment and Participation Agreement (“Lease

                                                     Assignment”) with Escopeta Alaska, as Assignee, regarding leases in the Cook Inlet

                                                     Basin (“Leases”) in Alaska. The following are the pertinent provisions of the Lease

                                                     Assignment:

                                                             9.3     The parties acknowledge that under the current laws of the State of
                                                                     Alaska, certain expenses incurred in connection with the
                                                                     development of the KLU Leases may qualify to be refunded or
                                                                     reimbursed by the State of Alaska, HB 280 and the overall ACES
                                                                     Program or for credits against income taxes otherwise payable to
                                                                     the State of Alaska. To the extent the parties are able to qualify for
                                                                     such tax credits, [Escopeta Oil] and Taylor hereby agree that all tax
                                                                     credits shall be monetized for the benefit of [Escopeta Alaska] as
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                                                                     full and complete payment for the working interest costs of
                                                                     [Escopeta Oil] and Taylor for the drilling of the #1 KLU and
                                                                     subsequent wells in which [Escopeta Oil] and Taylor are working
                                                                     interest owners.

                                                             9.4     The parties acknowledge that under the current laws of the State of
                                                                     Alask, the wells drilled on all the Leases may qualify for a
                                                                     production royalty or a reduction in the royalty percentage paid to
                                                                     the State of Alaska. To the extent the parties are successful in
                                                                     obtaining this royalty relief credit, the value or interest received
                                                                     pursuant to any such program on all leases will belong 79% to



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                                                                    [Escopeta Alaska] and 21% to [Escopeta Oil] (for itself and, as
                                                                    applicable, for the benefit of Taylor).

                                                            9.5     [Escopeta Oil] and Taylor will contribute 100% of their share and
                                                                    all right, title and interested in and to all funds due from SB 309,
                                                                    HB 280, and the Alaska ACES Program for the development of the
                                                                    KLU. For this contribution, along with prior work in developing
                                                                    the KLU geology and exploration program, [Escopeta Oil] and
                                                                    Taylor will own a 21% working interest based on a 75% NRI in
                                                                    the KLU drilling and development program. This working interest
                                                                    shall be free and clear of any and all additional costs and
                                                                    assessments and will include all drilling, completion, platform,
                                                                    pipeline and facility costs to bring oil and gas into production. The
                                                                    21% working interest will come into effect at the time [Escopeta
                                                                    Alaska] has recovered 100% of its total costs of drilling,
                                                                    completing, building pipelines, platforms, necessary facilities and
                                                                    placing the Kitchen Lights Unit on production. [Escopeta Oil] and
                                                                    Taylor will pay their share of all operating expenses, workover and
                                                                    recompletion costs, in accordance with their respective working
                                                                    interest ownership, once [Escopeta Alaska] has recovered 100% of
                                                                    its total cost.

                                                     Under the Lease Agreement, Escopeta Oil was responsible for the administration and

                                                     operation of the Leases.

                                                            17.     Pursuant to the Joint Operating Agreement entered into on October 21,

                                                     2010 between Escopeta Oil and Escopeta Alaska, Escopeta Oil was the operator and

                                                     Escopeta Alaska and Taylor were non-operating working interest owners. Pursuant to the

                                                     terms of the Lease Agreement, Escopeta Alaska and Taylor assigned certain rights to

                                                     Escopeta Oil and retained certain royalty interests and 25% of the working interest.
Certified Document Number: 76535337 - Page 4 of 17




                                                     Escopeta Alaska, among other duties, agreed to fund 100% of the costs of drilling and

                                                     development of the leases and in return, received assignment of 75% of the working

                                                     interest. The Lease Assignment and Joint Operating Agreement expressly states that

                                                     each Agreement is binding upon and inures to the benefit of the successors and assigns of

                                                     each party.




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                                                            18.     After the Lease Assignment was entered, Davis and Berry assigned 100%

                                                     interest of Escopeta Oil and Escopeta Alaska to Furie Operating Alaska, LLC. However,

                                                     Davis retained his interest in the Leases individually, and Berry attempted to transfer his

                                                     interest in the Leases to the Allen Lawrence Berry 2007 Trust. On August 19, 2011,

                                                     Escopeta Alaska changed its name to become Defendant Cornucopia. On September 21,

                                                     2011, Escopeta Oil changed its name became Defendant Furie.

                                                            19.     Pursuant to the Lease Assignment and a subsequent transfer of an

                                                     additional 1% to Cornucopia from Escopeta Oil, the current working interest in the

                                                     Leases is divided as follows:

                                                                    80%                   Cornucopia

                                                                    6.875%                Davis

                                                                    7.875%                Berry Trust

                                                                    5.25%                 Taylor

                                                            20.     Upon information and belief, Furie Operating is owned 100% by Furie

                                                     Petroleum Company, LLC (“Furie Petroleum”), and Furie Petroleum is owned 88% by

                                                     Cornucopia.    Additionally, upon information and belief, Cornucopia is also owned

                                                     wholly or partially by Deutsche Oel & Gas, AG (“Deutsche”), Deutsche is owned 100%

                                                     by Alecto, Ltd. (“Alecto”), and Alecto is owned 100% by Defendant Kay Rieck.
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                                                     Deutsche is also a member of Furie Petroleum’s management and owns 12% of

                                                     Cornucopia.

                                                            21.     Defendant Lars Degenhardt is President of Furie Operating and is an

                                                     officer or member of the board of directors of Deutsche, also known as German Oil &

                                                     Gas. Defendant Damon Kade is the former President and Director of Furie Operating,




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                                                     the former President of Furie Petroleum, and was involved with other companies which

                                                     were subsidiaries of Furie Operating, Furie Petroleum, and Cornucopia. Defendant Tom

                                                     Hord is the Chief Operating Officer of Furie Petroleum and a Director of Furie

                                                     Operating.

                                                               22.   Pursuant to a Joint Operating Agreement between Escopeta Oil (later

                                                     Furie Operating) and Escopeta Alaska (later Cornucopia) executed on October 21, 2010,

                                                     Furie Operating, through itself and the relationships with the other Defendants, was

                                                     responsible for the administration and operation of the Leases. Defendants, in operating

                                                     said interests, failed to properly administer said interests, failed to keep Plaintiffs

                                                     properly advised of their interests, and failed to properly account for their interests.

                                                               23.   Without limitation, Defendants (1) failed to properly account for tax

                                                     credits received by the state of Alaska under Section 9.3 of the Lease Assignment; (2)

                                                     failed to properly account for discovery royalties under Section 9.4 of the Lease

                                                     Assignment; and (3) charged improper and excessive operating costs for the Leases at

                                                     issue. Further, Defendants improperly engaged in self-dealing, as shown from the

                                                     intertwined business relationships between the majority interest owner of the lease

                                                     assignment, Cornucopia, and the operator, Furie Operating, and the further ownership

                                                     structure of the entities described herein.
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                                                               24.   After the dates of the agreements, Defendants applied for and received tax

                                                     credits from the State of Alaska through programs, such as ACES Program and State of

                                                     Alaska HB 280, and, further, Defendants received an increase in the net revenue interest

                                                     as a result of a reduction in the royalty percentage payable to the State of Alaska, as

                                                     lessor.    Defendants have failed and refused to properly account for any tax credits




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                                                     received from the State of Alaska under Section 9.3 of the Lease Assignment. Further,

                                                     Defendants failed to properly account for discovery or production royalty or reduction of

                                                     same under Section 9.4 of the Lease Assignment; and Defendants have charged improper

                                                     and excessive operating costs for the Leases at issue.

                                                             25.     Further, Defendants received a discovery royalty, production royalty or

                                                     reduction in royalty pursuant to incentive plans adopted by the State of Alaska to

                                                     encourage drilling and development of oil and gas properties on State owned lands.

                                                     Defendants have failed to pay or account for this amount.

                                                             26.     Defendants, in operating said interests, failed to properly administer the

                                                     working interest owners’ interests in the Oil and Gas Lease and the Kitchen Lights Unit

                                                     interest, failed to keep the parties properly advised as to financial and operational matters

                                                     relating to the parties’ interests and failed to properly account for all interests.

                                                             27.     Further, Defendants made misrepresentations to Plaintiffs regarding

                                                     Plaintiffs’ forthcoming receipt of the discovery royalties and full amount due from the tax

                                                     benefits.

                                                                                               V.
                                                                                        CAUSES OF ACTION

                                                                                 NEGLIGENCE / GROSS NEGLIGENCE
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                                                             28.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             29.     Defendants owed a duty to Plaintiffs to conduct operations in a reasonably

                                                     prudent manner. Defendants further had a duty to use proper accounting procedures and

                                                     methods. Defendants breached their duties.

                                                             30.     Defendants knew or should have known and had actual and/or

                                                     constructive notice that their improper actions reasonably caused Plaintiffs to suffer



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                                                     injury. Defendants knew or should have known that they were not acting as a reasonably

                                                     prudent operator.    Defendants continued to act, individually and in concert, which

                                                     proximately caused the damage to and destruction of Plaintiffs’ lawful contractual and

                                                     equitable rights.   Further, Defendants’ interference and negligent actions resulted in

                                                     Plaintiffs being denied possession of, use of and access to its interests in the assigned

                                                     rights and property interests. Defendants’ actions constitute negligence and/or gross

                                                     negligence which proximately caused the injuries described by Plaintiffs herein.

                                                            31.     Defendants’ negligent acts include, but are not limited to:

                                                            a)      Negligently and grossly negligently failed to provide accurate
                                                                    information regarding Plaintiffs’ rights under the Lease Agreement
                                                                    and Joint Operating Agreement;

                                                            b)      Negligently and grossly negligently failed to make payment of
                                                                    amounts due to Plaintiffs and using same for Defendants’
                                                                    purposes;

                                                            c)      Negligently and grossly negligently failing to make and keep
                                                                    proper accounting of all amounts received and expended subject to
                                                                    the Lease Agreement and Joint Operating Agreement;

                                                            d)      Negligently and grossly negligently failing to pay to Plaintiffs all
                                                                    amounts properly due to them subject to the Lease Agreement and
                                                                    Joint Operating Agreement;

                                                            e)      Negligently and grossly negligently failing to maintain records of
                                                                    all amounts which would offset any payment toward Plaintiffs’
                                                                    interests, such as, their “Back-in right” subject to the Lease
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                                                                    Agreement and Joint Operating Agreement;

                                                            f)      Failing to properly investigate each other Defendant’s improper
                                                                    actions which harmed Plaintiffs and failure to advise Plaintiffs of
                                                                    said actions;

                                                            g)      Negligently and grossly negligently receiving and retaining monies
                                                                    properly belonging to Plaintiffs; and

                                                            h)      Negligently and grossly negligently failing to cease and desist in
                                                                    all improper activity in violation of Plaintiffs’ rights.



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                                                            32.     Further, the negligent, tortious and improper actions by Defendants by

                                                     continuing to violate Plaintiffs’ contracted and assigned rights are reckless, willful, and

                                                     wanton disregard for Plaintiffs’ known rights.

                                                            33.     Defendants consciously and/or deliberately engaged in recklessness,

                                                     oppression, fraud, willfulness, wantonness and will malice through their operations and

                                                     administration of Plaintiffs’ interests, which proximately caused Plaintiffs’ damages in

                                                     the past and ongoing described herein.

                                                                                       BREACH OF CONTRACT

                                                            34.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                            35.     Plaintiffs entered into or have rights derived from the Lease Agreement

                                                     and Joint Operating Agreement.

                                                            36.     Defendants failed to abide by the terms and conditions of the Lease

                                                     Assignment and Joint Operating Agreement.

                                                            37.     Plaintiffs have performed their contractual obligations, and all conditions

                                                     precedent have been met.

                                                            38.     Defendants have breach the Lease Assignment and Joint Operating

                                                     Agreement by failing to abide by one or more of the terms and conditions.
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                                                            39.     This breach has cause injury to Plaintiffs.

                                                                      BREACH OF FIDUCIARY DUTY/AIDING AND ABETTING

                                                            40.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                            41.     Defendants acted as a fiduciary to Plaintiffs, owing Plaintiffs the duty of

                                                     good faith and fair dealing and the duty to make full disclosure to Plaintiffs concerning

                                                     matters affecting the Leases.



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                                                             42.     Defendants have breached and/or aided and abetted the breach of fiduciary

                                                      duties owed to Plaintiffs by knowingly and intentionally failing to fully disclose and

                                                      account for material facts concerning the Leases.

                                                             43.     The breaches resulted in damages to Plaintiffs greatly exceeding the

                                                      minimum jurisdictional limits of this Court.

                                                             44.     Defendant Cornucopia further has received funds beneficially owned by

                                                      and payable to Plaintiffs and breached its legal, equitable and fiduciary duty to Plaintiffs

                                                      as it received, but failed to account for and pay to Plaintiffs, production royalty or

                                                      reduction of the production royalty percentage paid to the State of Alaska.

                                                             45.     Further, Defendants, acting in concert, sought and received “royalty relief

                                                      credits” and have failed and refused to account for or pay Plaintiffs these amounts.

                                                                              IMPROPER ADMINISTRATION AND ACCOUNTING

                                                             46.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             47.     Defendants have breached their duties to Plaintiffs through improper

                                                      administration. Defendants have a duty to properly account, bill, and pay the appropriate

                                                      amounts based on Plaintiffs’ interest.

                                                             48.     Defendants have failed in this duty causing Plaintiffs’ damages greatly
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                                                      exceeding the minimum jurisdictional limits of this Court.

                                                             49.     Plaintiffs sue for an equitable accounting related to all joint interest

                                                      billings, and monies owed to plaintiff.

                                                                                                CONVERSION

                                                             50.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.




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                                                             51.     Pursuant to the Lease Agreement and Joint Operating Agreement,

                                                      Plaintiffs are entitled to a percentage of royalties and working interest based upon oil and

                                                      gas removed from the property subject to the Leases at issue.

                                                             52.     Defendants have established commercial production and sold substantial

                                                      quantities of oil and gas from the Leases but have failed to pay to Plaintiffs their share of

                                                      such proceeds. Accordingly, Defendants have improperly converted those rights and

                                                      monies and have refused to return same to Plaintiffs.         Further, due to Defendants’

                                                      knowledge of Plaintiffs’ rights and their intentional disregard, malice, and gross

                                                      negligence for Plaintiffs’ rights, Plaintiffs’ property and the injury which would result,

                                                      Plaintiffs seek exemplary damages from Defendants.

                                                                                             CONSPIRACY

                                                             53.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             54.     Defendants, with knowledge of Plaintiffs’ rights, conspired with concerted

                                                      action and/or aided and abetted each other in the breaches of contract and fiduciary duties

                                                      owed to Plaintiffs. Plaintiffs by knowingly and intentionally failing to fully disclose and

                                                      account for material facts concerning the Leases. The breaches caused and resulted in

                                                      damages to Plaintiffs.
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                                                             55.     Defendants, wrongfully breached, intentionally, negligently and grossly

                                                      negligently acted in concert to prevent Plaintiffs from receiving the benefits of their

                                                      bargain and their rights set forth under the Lease Agreement and Joint Operating

                                                      Agreement.    Each of these actions intentionally, negligently and grossly negligently

                                                      succeeded in breach of the Lease Agreement and Joint Operating Agreement and caused

                                                      the property interests and rights owned by Plaintiffs to be impaired and damaged.




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                                                             56.     Defendants caused injury to Plaintiffs as set forth herein.

                                                             57.     Further, Defendants operated in concert throughout this matter and have

                                                      advanced a common scheme to engage in self-dealing through a myriad of interlocking

                                                      domestic and foreign entities and to deceive Plaintiffs as to the disposition of property, to

                                                      conceal amounts received by Defendants, to prevent Plaintiffs from becoming aware of

                                                      the amounts Defendants received, to conceal and convert amounts expended through self-

                                                      dealing and other actions set forth herein.

                                                                                          UNJUST ENRICHMENT

                                                             58.     Defendants, through their improper actions, have retained property and

                                                      property interests which rightfully belong to Plaintiffs. Retention of such property is

                                                      unconscionable.

                                                                                                    FRAUD

                                                             59.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             60.     Defendants fraudulently represented to Plaintiffs that receipt of the

                                                      discovery royalties and full amount due from the tax benefits was forthcoming. These

                                                      representations were material.

                                                             61.     Defendants representations were false, and Defendants knew the
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                                                      representations were false when they were made.

                                                             62.     Defendants     had    no   intention       of   following   through   on   these

                                                      misrepresentations.

                                                             63.     Defendants fraudulent conduct was willful, wanton, and malicious.

                                                             64.     Defendants intended Plaintiffs to rely on their representations and conduct,

                                                      and Plaintiffs did in fact rely on the representations.




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                                                             65.      Plaintiffs have been injured by Defendants’ fraudulent conduct and are

                                                      entitled to recover damages for that injury.

                                                                                                VI.
                                                                                              DAMAGES

                                                             66.      As a direct and proximate result of the incidents made the basis of this

                                                      lawsuit and improper actions and failures to act by Defendants, Plaintiffs suffered serious

                                                      damage. Each action complained of herein is a direct and proximate cause of Plaintiffs’

                                                      damages set forth herein.

                                                             67.      Plaintiffs incurred the following damages, which are of a continuing

                                                      nature, due to Defendants’ actions:

                                                                   a) Any and all amounts not paid to Plaintiffs pursuant to their rights
                                                                      under the Lease Assignment and Joint Operating Agreement.

                                                                   b) All property rights sold and assigned by Defendants, monies paid
                                                                      to Defendants, and the losses incurred by Plaintiffs as a result of
                                                                      same.

                                                                   c) Interest, prejudgment and post judgment; and

                                                                   d) Any and all other damages available via statute, common law and
                                                                      equity.

                                                             68.      Because of these injuries and damages, Plaintiffs are entitled to recover

                                                      compensatory damages of an amount which is within the jurisdictional requirements of
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                                                      this Honorable Court.       Plaintiffs also seek punitive and/or exemplary damages to the

                                                      extent allowed by law.

                                                             69.      Because of the conduct of Defendants, including breach of the agreements

                                                      between the parties, Plaintiffs have been compelled to engage the services of an attorney

                                                      to prosecute this action. Plaintiffs are entitled to recover a reasonable sum for the

                                                      necessary services to the maximum extent allowed by law, including all expenses and



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                                                      court costs, of the attorney in the preparation and trial of this action and for appeals to the

                                                      Court of Appeals or the Texas Supreme Court.

                                                                                             VII.
                                                                                    CONDITIONS PRECEDENT

                                                             70.     All conditions precedent to bringing the above causes of action have been

                                                      met or occurred.

                                                                                            VIII.
                                                                                   NO ELECTION OF REMEDIES

                                                             71.     The foregoing facts and theories are pled cumulatively and alternatively,

                                                      with no election or waiver of rights or remedies.

                                                                                                IX.
                                                                                           TRIAL BY JURY

                                                             72.     Plaintiffs request trial by jury and have submitted the appropriate jury fee.

                                                                                                 X.
                                                                                               PRAYER

                                                             WHEREFORE, PREMISES CONSIDERED, Allen Lawrence Berry, Individually

                                                      and as Trustee of the Allen Lawrence Berry 2007 Trust, and Danny Davis pray that they

                                                      take judgment against Defendants and recover:

                                                             a.      All the actual damages and special damages caused by the wrongful
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                                                                     conduct complained of herein;

                                                             b.      Just and reasonable attorney’s fees;

                                                             c.      Pre- and post-judgment interest;

                                                             d.      Costs of suit; and

                                                             e.      Other such relief at law and equity for which it may be justly entitled.




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                                                                                        Respectfully submitted,

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                                                                                  CERTIFICATE OF SERVICE

                                                             This is to certify that a true and complete copy of this document was served on all

                                                      counsel of record by method indicated below on the 1st day of September, 2017:

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                                                      Cornucopia Oil & Gas Company, LLC




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                                                                                            ________________________________
                                                                                            ERNEST (“BUTCH”) BOYD
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 5, 2019


     Certified Document Number:        76535337 Total Pages: 17




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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please e-mail support@hcdistrictclerk.com
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        EXHIBIT B -18
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                                                                                                                                  Chris Daniel - District Clerk Harris County
                                                                                                                                                    Envelope No. 20062327
                                                                                                                                                   By: JIMMY RODRIGUEZ
                                                                                          Cause No: 2016-49928                                   Filed: 10/13/2017 3:19 PM


                                                     ALLEN LAWRENCE BERRY,                               §   IN THE DISTRICT COURT OF
                                                     INDIVIDUALLY AND AS TRUSTEE                         §
                                                     OF THE ALLEN LAWRENCE BERRY                         §
                                                     TRUST, AND DANNY DAVIS                              §
                                                                                                         §   HARRIS COUNTY, TEXAS
                                                                            Plaintiffs,                  §
                                                     v.                                                  §
                                                                                                         §
                                                     DAMON KADE, et al.,                                 §   125th JUDICIAL DISTRICT
                                                                                                         §
                                                                            Defendants.                  §

                                                                    SECOND AMENDED ANSWER AND COUNTERCLAIMS
                                                           Defendants/Counter-Plaintiffs FURIE OPERATING ALASKA, LLC, (“FOA”), FURIE

                                                    PETROLEUM COMPANY, LLC, (FPC”), CORNUCOPIA OIL & GAS COMPANY, LLC,

                                                    (“Cornucopia”) (collectively, the “Furie Parties”) file this Second Amended Answer and

                                                    Counterclaims and show as follows:


                                                                                                ANSWER


                                                           1.      The Furie Parties generally deny each and every, all and singular, the allegations

                                                    made in Plaintiffs’ Fifth Amended Original Petition and the Intervenors’ Petition in Intervention

                                                    and demand proof thereof in accordance with the laws and constitution of the State of Texas.


                                                                                      AFFIRMATIVE DEFENSES
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                                                           2.      Waiver, ratification, estoppel, unclean hands and prior material breach bar the

                                                    claims asserted by Plaintiffs and the Intervenors.


                                                           3.      The exculpatory clause of the Joint Operating Agreement to which the parties are

                                                    bound, and under which FOA is the designated “Operator,” likewise bars the claims.
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                                                                                         COUNTERCLAIMS


                                                           4.      Now acting as Counter-Plaintiffs, the Furie Parties complain of Plaintiffs Danny

                                                    Davis and Allen Lawrence Berry, and Intervenor Taylor Minerals, LLC, (collectively, the

                                                    “Counter-Defendants”) and for cause of action show the following:


                                                                                               PARTIES


                                                           5.      The Furie Parties are limited liability companies that have already appeared.

                                                    Cornucopia was formerly known as Escopeta Oil of Alaska, LLC. FOA was formerly known as

                                                    Escopeta Oil Company, LLC.


                                                           6.      Danny Davis (“Davis”) is an individual who resides in Harris County, Texas. He

                                                    has appeared and he will be served by service upon his attorney of record in accordance with Texas

                                                    Rule of Civil Procedure 21a.


                                                           7.      Allen Lawrence Berry (“Berry”) is an individual who resides in Harris County,

                                                    Texas. He has appeared and he will be served by service upon his attorney of record in accordance

                                                    with Texas Rule of Civil Procedure 21a.


                                                           8.      Taylor Minerals, LLC, (“Taylor”) is a Texas limited liability company that has

                                                    appeared as an intervenor. It will be served by service upon its attorney of record in accordance
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                                                    with Texas Rule of Civil Procedure21a.


                                                                                     FACTUAL BACKGROUND


                                                           9.      These counterclaims arise out of the transactions and occurrences made the basis

                                                    of Plaintiffs’ Fifth Amended Original Petition and the Petition in Intervention. None of these




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                                                    claims are based on, or arise out of, actions taken by Berry, Davis, or Taylor in their capacities as

                                                    managers or members of Cornucopia or FOA.


                                                           10.     Pursuant to a “Lease Acquisition and Participation Agreement” dated October 22,

                                                    2010, (the “LAPA”), Escopeta Oil Company, LLC (n/k/a FOA), and Taylor, purported to assign

                                                    to Escopeta Oil of Alaska, LLC (n/k/a Cornucopia), a 79% interest in various oil and gas leases

                                                    (the “Leases”) in which they owned interests. Pursuant to that certain letter agreement dated June

                                                    29, 2011, By, between and among Escopeta Oil Company, LLC (n/k/a FOA), Escopeta Oil of

                                                    Alaska, LLC (n/k/a Cornucopia), Davis (in his individual capacity) and Berry (in his individual

                                                    capacity), both Berry and Davis agreed that they and their successors would be bound by the terms

                                                    and conditions of the LAPA. As a consequence, all of the Counter-Defendants – Berry, Davis,

                                                    and Taylor – are bound by the terms and conditions of the LAPA.


                                                           11.     In the LAPA, Berry, Davis, and Taylor claimed falsely that the $20,800,000 to be

                                                    paid as consideration for the transfer of the 79% interest in the Leases represented

                                                    “reimbursement” for “acquisition and ownership of the Leases.” A “reimbursement,” is, by

                                                    definition, repayment for expenses incurred. Subsequent to the time that the “reimbursement”

                                                    required by the LAPA was paid, the Furie Parties learned that Berry, Davis, Taylor, and Escopeta

                                                    Oil Co., LLC, had not incurred (either individually or collectively) anything close to $20,800,000

                                                    in reimbursable expenses in connection with the “acquisition and ownership of the Leases.”
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                                                    Moreover, the Furie Parties allege that Berry, Taylor, and Davis caused the money received by

                                                    Escopeta Oil Co., LLC, to be paid to themselves. Accordingly, Davis, Berry, and Taylor have

                                                    been unjustly and unfairly enriched by virtue of their misrepresentations in the LAPA.


                                                           12.     In addition, the agreement of the Furie Parties to assume an obligation to “carry”

                                                    the working interests of Berry, Taylor, and Davis was made in reliance on, among other things,

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                                                    the claim that Taylor and Escopeta Oil Co. LLC, had reimbursable expenses of more than $20

                                                    million in the “acquisition and ownership of the Leases,” a claim (among others) that proved to be

                                                    both false and misleading. Berry, Taylor, and Davis have been unjustly enriched by virtue of the

                                                    fraudulently procured agreement to carry their interests.


                                                            13.    In connection with the LAPA and otherwise, Davis made false and misleading

                                                    statements, and failed to disclose facts that they were under a duty to disclose, with respect to

                                                    violations of the Jones Act in connection with transportation of a drilling rig to the Cook Inlet of

                                                    Alaska. The Furie Parties suffered damages, and Berry, Davis, and Taylor were unjustly enriched

                                                    by virtue of Davis’s misrepresentations and omissions.


                                                            14.    Finally, in Section 5.1.1 of the LAPA, Berry, Davis, and Taylor promised to furnish

                                                    to Cornucopia copies of various technical information, including seismic data.           They have

                                                    breached their obligations to do so.


                                                            15.    The Furie Parties have presented their claims in accordance with Chapter 38 of the

                                                    Texas Civil Practices and Remedies Code. In addition, they have retained the undersigned

                                                    attorneys and have agreed to pay the reasonable and necessary attorneys’ fees. Thus, the Furie

                                                    Parties seek to recover their reasonable attorneys’ and experts’ fees pursuant to Section 12.6 of the

                                                    LAPA.
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                                                                                           CAUSES OF ACTION


                                                            16.    Real Estate Fraud: Berry, Taylor, and Davis, with actual awareness of the falsity of

                                                    their false representations, violated section 27.01 of the Texas Business and Commerce Code by

                                                    engaging in fraud in connection with a real estate transaction, and each has benefited from the false




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                                                    representations and omissions in connection with the transaction. They are therefore liable in

                                                    accordance with the statute for the damages suffered by the Furie Parties.


                                                           17.       Unjust Enrichment/Disgorgement: Berry, Taylor, and Davis have been unjustly

                                                    enriched by virtue of the sums paid in connection with the LAPA and the “carry” that each has

                                                    been provided. Thus, the Furie Parties seek disgorgement of all of their ill-gotten gains, including,

                                                    but not limited to, the money paid to reimburse them and the value, to date, of the “carry.”


                                                           18.       Breach of Contract: Berry, Davis, and Taylor have breached their obligations under

                                                    the LAPA by, inter alia, failing to deliver the seismic data, resulting in substantial damages to the

                                                    Furie Parties.


                                                                                             Rule 47 Statement

                                                           19.       Under Texas Rule of Civil Procedure 47, the Furie Parties seek monetary relief in

                                                    excess of $1,000,000 on their counterclaims.


                                                                                           Request for Disclosure


                                                           20.       Under Texas Rule of Civil Procedure 194, the Furie Parties requests that Counter-

                                                    Defendants disclose, within 30 days after service of this Request, the information or material

                                                    described in Texas Rule of Civil Procedure 194.2(a)-(i)
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                                                                                           Conditions Precedent

                                                           21.       The Furie Parties have met all conditions precedent to filing this suit, or they have

                                                    otherwise been waived.


                                                           WHEREFORE, PREMISES CONSIDERED, the Furie Parties pray that Plaintiffs and

                                                    Intervenors take nothing by way of their claims and that they go hence from this Court, without


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                                                    day. The Furie Parties further pray that upon final trial, they have judgment against Berry, Davis,

                                                    and Taylor as follows:


                                                           1.      For their actual damages;

                                                           2.      For exemplary damages;

                                                           3.      For disgorgement;

                                                           4.      For reasonable and necessary attorneys’ and expert witness fees;

                                                           5.      For costs;

                                                           6.      For pre- and post-judgment interest at the maximum lawful rate; and

                                                           7.      For such other and further relief to which they (or any one or more of them) show
                                                                   entitlement.




                                                                                                 Respectfully submitted,


                                                                                                 REYNOLDS FRIZZELL LLP

                                                                                                 By:     _/s/ Chris Reynolds
                                                                                                         Chris Reynolds
                                                                                                         State Bar No: 16801900
                                                                                                         Christopher M. Hogan
                                                                                                         State Bar No: 24065434
                                                                                                 1100 Louisiana Street, Suite 3500
                                                                                                 Houston, TX 77002
                                                                                                 Phone: (713) 485-7200
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                                                                                                 creynolds@reynoldsfrizzell.com
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                                                                                                 chogan@reynoldsfrizzell.com

                                                                                                 ATTORNEYS FOR DEFENDANTS/
                                                                                                 COUNTER-PLAINTIFFS FURIE OPERATING
                                                                                                 ALASKA, LLC, FURIE PETROLEUM
                                                                                                 COMPANY, LLC, AND CORNUCOPIA OIL &
                                                                                                 GAS COMPANY, LLC




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                                                                                    CERTIFICATE OF SERVICE


                                                           I certify that on this the 13th day of October 2017, a true and correct copy of the foregoing
                                                    instrument has been served through the court’s electronic filing service system upon all known
                                                    counsel of record in accordance with the requirements of the Texas Rules of Civil Procedure.


                                                                                                         _/s/ Chris Reynolds
                                                                                                         Chris Reynolds
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 5, 2019


     Certified Document Number:        77011926 Total Pages: 7




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
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        EXHIBIT B -19
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                                                                                                                                    Chris Daniel - District Clerk Harris County
                                                                                                                                                      Envelope No. 20423458
                                                                                                                                                              By: Falon Boehm
                                                                                                                                                   Filed: 10/31/2017 3:52 PM



                                                                                      CAUSE NO. 2016-49928

                                                     ALLEN LAWRENCE BERRY                           §       IN THE DISTRICT COURT OF
                                                     and DANNY DAVIS                                §
                                                                                                    §
                                                     v.                                             §       HARRIS COUNTY, T E X A S
                                                                                                    §
                                                     DAMON KADE, et al.                             §       125th JUDICIAL DISTRICT

                                                                         PLAINTIFFS’ SIXTH AMENDED PETITION

                                                            Allen Lawrence Berry and Danny Davis (“Plaintiffs”) file this Sixth Amended

                                                     Petition complaining of Damon Kade, Kay Rieck, Lars Degenhardt, Tom Hord, Furie

                                                     Operating Alaska, LLC, Furie Petroleum Company, LLC, and Cornucopia Oil & Gas

                                                     Company, LLC (“Defendants”) and respectfully states as follows:

                                                                                           I.
                                                                              DISCOVERY AND RELIEF SOUGHT

                                                            1.      In accordance with Rule 190 of the Texas Rules of Civil Procedure,

                                                     discovery in this case is intended to be conducted under Level 3.

                                                            2.      Plaintiffs seek monetary relief over $1,000,000. See Tex. R. Civ. P. 47(c).

                                                                                             II.
                                                                                  JURSIDICTION AND VENUE

                                                            3.      This Court has subject matter jurisdiction because the amount in

                                                     controversy exceeds the jurisdictional requirement of this Court and because none of the
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                                                     causes of action pled fall within the exclusive jurisdiction of any court of this state.

                                                            4.      Venue is proper in Harris County, Texas because the acts and occurrences

                                                     giving rise to the various causes of action occurred in part in Harris County, Texas.

                                                     Furthermore, one or more of the defendants reside in Harris County, Texas.
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                                                                                         III.
                                                                           PARTIES AND SERVICE OF CITATION

                                                             5.      Plaintiff is Allen Lawrence Berry, whose address is 5005 Riverway, Suite

                                                     440, Houston, Texas 77056.

                                                             6.      Plaintiff is Danny Davis, whose address is 5005 Riverway, Suite 440,

                                                     Houston, Texas 77056.

                                                             7.      Defendant, Damon Kade is an individual residing in Harris County, Texas

                                                     who has made an appearance in this case.

                                                             8.      Defendant, Kay Rieck is an individual who may be served at his place of

                                                     employment, Furie Operating Alaska, LLC, 100 Enterprise Avenue, League City, Texas

                                                     or wherever he may be found.

                                                             9.      Defendant, Lars Degenhardt is an individual who was served by

                                                     substituted service on October 24, 2016.

                                                             10.     Defendant, Tom Hord is an individual who was served by substituted

                                                     service on October 24, 2016, and who has made an appearance.

                                                             11.     Defendant, Furie Operating Alaska, LLC, is a Texas LLC that has made

                                                     an appearance in this case.

                                                             12.     Defendant, Cornucopia Oil & Gas Company, LLC, is a Texas LLC that
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                                                     has made an appearance in this case.

                                                             13.     Defendant Furie Petroleum Company, LLC is a Texas LLC that may be

                                                     served with process by serving its registered agent CT Corporation System at 1999 Bryan

                                                     Street, Suite 900, Texas 75201. Furie Petroleum Company, LLC has made an appearance

                                                     in this case.




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                                                                                              IV.
                                                                                             FACTS

                                                           14.     Escopeta Oil, LLC (“Escopeta Oil”) and Escopeta of Alaska, LLC,

                                                     (“Escopeta Alaska”) were originally owned by Allen Lawrence Berry (“Berry”) and

                                                     Danny Davis (“Davis”).

                                                           15.     On October 22, 2010, Escopeta Oil and Taylor Minerals, LLC (“Taylor”),

                                                     as Assignors, entered into a Lease Assignment and Participation Agreement (“Lease

                                                     Assignment”) with Escopeta Alaska, as Assignee, regarding leases in the Cook Inlet

                                                     Basin (“Leases”) in Alaska. The following are the pertinent provisions of the Lease

                                                     Assignment:

                                                           9.3     The parties acknowledge that under the current laws of the State of
                                                                   Alaska, certain expenses incurred in connection with the
                                                                   development of the KLU Leases may qualify to be refunded or
                                                                   reimbursed by the State of Alaska, HB 280 and the overall ACES
                                                                   Program or for credits against income taxes otherwise payable to
                                                                   the State of Alaska. To the extent the parties are able to qualify for
                                                                   such tax credits, [Escopeta Oil] and Taylor hereby agree that all tax
                                                                   credits shall be monetized for the benefit of [Escopeta Alaska] as
                                                                   full and complete payment for the working interest costs of
                                                                   [Escopeta Oil] and Taylor for the drilling of the #1 KLU and
                                                                   subsequent wells in which [Escopeta Oil] and Taylor are working
                                                                   interest owners.

                                                           9.4     The parties acknowledge that under the current laws of the State of
                                                                   Alask, the wells drilled on all the Leases may qualify for a
                                                                   production royalty or a reduction in the royalty percentage paid to
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                                                                   the State of Alaska. To the extent the parties are successful in
                                                                   obtaining this royalty relief credit, the value or interest received
                                                                   pursuant to any such program on all leases will belong 79% to
                                                                   [Escopeta Alaska] and 21% to [Escopeta Oil] (for itself and, as
                                                                   applicable, for the benefit of Taylor).

                                                           9.5     [Escopeta Oil] and Taylor will contribute 100% of their share and
                                                                   all right, title and interested in and to all funds due from SB 309,
                                                                   HB 280, and the Alaska ACES Program for the development of the
                                                                   KLU. For this contribution, along with prior work in developing
                                                                   the KLU geology and exploration program, [Escopeta Oil] and



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                                                                    Taylor will own a 21% working interest based on a 75% NRI in
                                                                    the KLU drilling and development program. This working interest
                                                                    shall be free and clear of any and all additional costs and
                                                                    assessments and will include all drilling, completion, platform,
                                                                    pipeline and facility costs to bring oil and gas into production. The
                                                                    21% working interest will come into effect at the time [Escopeta
                                                                    Alaska] has recovered 100% of its total costs of drilling,
                                                                    completing, building pipelines, platforms, necessary facilities and
                                                                    placing the Kitchen Lights Unit on production. [Escopeta Oil] and
                                                                    Taylor will pay their share of all operating expenses, workover and
                                                                    recompletion costs, in accordance with their respective working
                                                                    interest ownership, once [Escopeta Alaska] has recovered 100% of
                                                                    its total cost.

                                                     Under the Lease Agreement, Escopeta Oil was responsible for the administration and

                                                     operation of the Leases.

                                                            16.     Pursuant to the Joint Operating Agreement entered into on October 21,

                                                     2010 between Escopeta Oil and Escopeta Alaska, Escopeta Oil was the operator and

                                                     Escopeta Alaska and Taylor were non-operating working interest owners. Pursuant to the

                                                     terms of the Lease Agreement, Escopeta Alaska and Taylor assigned certain rights to

                                                     Escopeta Oil and retained certain royalty interests and 25% of the working interest.

                                                     Escopeta Alaska, among other duties, agreed to fund 100% of the costs of drilling and

                                                     development of the leases and in return, received assignment of 75% of the working

                                                     interest. The Lease Assignment and Joint Operating Agreement expressly states that

                                                     each Agreement is binding upon and inures to the benefit of the successors and assigns of
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                                                     each party.

                                                            17.     After the Lease Assignment was entered, Davis and Berry assigned 100%

                                                     interest of Escopeta Oil and Escopeta Alaska to Furie Operating Alaska, LLC. However,

                                                     both Davis and Berry retained their interests in the Leases individually. On August 19,




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                                                     2011, Escopeta Alaska changed its name to become Defendant Cornucopia.           On

                                                     September 21, 2011, Escopeta Oil changed its name became Defendant Furie.

                                                            18.     Pursuant to the Lease Assignment and a subsequent transfer of an

                                                     additional 1% to Cornucopia from Escopeta Oil, the current working interest in the

                                                     Leases is divided as follows:

                                                                    80%                 Cornucopia

                                                                    6.875%              Davis

                                                                    7.875%              Berry

                                                                    5.25%               Taylor

                                                            19.     Upon information and belief, Furie Operating is owned 100% by Furie

                                                     Petroleum Company, LLC (“Furie Petroleum”), and Furie Petroleum is owned 88% by

                                                     Cornucopia.    Additionally, upon information and belief, Cornucopia is also owned

                                                     wholly or partially by Deutsche Oel & Gas, AG (“Deutsche”), Deutsche is owned 100%

                                                     by Alecto, Ltd. (“Alecto”), and Alecto is owned 100% by Defendant Kay Rieck.

                                                     Deutsche is also a member of Furie Petroleum’s management and owns 12% of

                                                     Cornucopia.

                                                            20.     Defendant Lars Degenhardt is President of Furie Operating and is an

                                                     officer or member of the board of directors of Deutsche, also known as German Oil &
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                                                     Gas. Defendant Damon Kade is the former President and Director of Furie Operating,

                                                     the former President of Furie Petroleum, and was involved with other companies which

                                                     were subsidiaries of Furie Operating, Furie Petroleum, and Cornucopia. Defendant Tom

                                                     Hord is the Chief Operating Officer of Furie Petroleum and a Director of Furie

                                                     Operating.




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                                                               21.   Pursuant to a Joint Operating Agreement between Escopeta Oil (later

                                                     Furie Operating) and Escopeta Alaska (later Cornucopia) executed on October 21, 2010,

                                                     Furie Operating, through itself and the relationships with the other Defendants, was

                                                     responsible for the administration and operation of the Leases. Defendants, in operating

                                                     said interests, failed to properly administer said interests, failed to keep Plaintiffs

                                                     properly advised of their interests, and failed to properly account for their interests.

                                                               22.   Without limitation, Defendants (1) failed to properly account for tax

                                                     credits received by the state of Alaska under Section 9.3 of the Lease Assignment; (2)

                                                     failed to properly account for discovery royalties under Section 9.4 of the Lease

                                                     Assignment; and (3) charged improper and excessive operating costs for the Leases at

                                                     issue. Further, Defendants improperly engaged in self-dealing, as shown from the

                                                     intertwined business relationships between the majority interest owner of the lease

                                                     assignment, Cornucopia, and the operator, Furie Operating, and the further ownership

                                                     structure of the entities described herein.

                                                               23.   After the dates of the agreements, Defendants applied for and received tax

                                                     credits from the State of Alaska through programs, such as ACES Program and State of

                                                     Alaska HB 280, and, further, Defendants received an increase in the net revenue interest

                                                     as a result of a reduction in the royalty percentage payable to the State of Alaska, as
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                                                     lessor.    Defendants have failed and refused to properly account for any tax credits

                                                     received from the State of Alaska under Section 9.3 of the Lease Assignment. Further,

                                                     Defendants failed to properly account for discovery or production royalty or reduction of

                                                     same under Section 9.4 of the Lease Assignment; and Defendants have charged improper

                                                     and excessive operating costs for the Leases at issue.




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                                                             24.     Further, Defendants received a discovery royalty, production royalty or

                                                     reduction in royalty pursuant to incentive plans adopted by the State of Alaska to

                                                     encourage drilling and development of oil and gas properties on State owned lands.

                                                     Defendants have failed to pay or account for this amount.

                                                             25.     Defendants, in operating said interests, failed to properly administer the

                                                     working interest owners’ interests in the Oil and Gas Lease and the Kitchen Lights Unit

                                                     interest, failed to keep the parties properly advised as to financial and operational matters

                                                     relating to the parties’ interests and failed to properly account for all interests.

                                                             26.     Further, Defendants made misrepresentations to Plaintiffs regarding

                                                     Plaintiffs’ forthcoming receipt of the discovery royalties and full amount due from the tax

                                                     benefits.

                                                                                               V.
                                                                                        CAUSES OF ACTION

                                                                                 NEGLIGENCE / GROSS NEGLIGENCE

                                                             27.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             28.     Defendants owed a duty to Plaintiffs to conduct operations in a reasonably

                                                     prudent manner. Defendants further had a duty to use proper accounting procedures and

                                                     methods. Defendants breached their duties.
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                                                             29.     Defendants knew or should have known and had actual and/or

                                                     constructive notice that their improper actions reasonably caused Plaintiffs to suffer

                                                     injury. Defendants knew or should have known that they were not acting as a reasonably

                                                     prudent operator.     Defendants continued to act, individually and in concert, which

                                                     proximately caused the damage to and destruction of Plaintiffs’ lawful contractual and

                                                     equitable rights.   Further, Defendants’ interference and negligent actions resulted in



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                                                     Plaintiffs being denied possession of, use of and access to its interests in the assigned

                                                     rights and property interests. Defendants’ actions constitute negligence and/or gross

                                                     negligence which proximately caused the injuries described by Plaintiffs herein.

                                                            30.     Defendants’ negligent acts include, but are not limited to:

                                                            a)      Negligently and grossly negligently failed to provide accurate
                                                                    information regarding Plaintiffs’ rights under the Lease Agreement
                                                                    and Joint Operating Agreement;

                                                            b)      Negligently and grossly negligently failed to make payment of
                                                                    amounts due to Plaintiffs and using same for Defendants’
                                                                    purposes;

                                                            c)      Negligently and grossly negligently failing to make and keep
                                                                    proper accounting of all amounts received and expended subject to
                                                                    the Lease Agreement and Joint Operating Agreement;

                                                            d)      Negligently and grossly negligently failing to pay to Plaintiffs all
                                                                    amounts properly due to them subject to the Lease Agreement and
                                                                    Joint Operating Agreement;

                                                            e)      Negligently and grossly negligently failing to maintain records of
                                                                    all amounts which would offset any payment toward Plaintiffs’
                                                                    interests, such as, their “Back-in right” subject to the Lease
                                                                    Agreement and Joint Operating Agreement;

                                                            f)      Failing to properly investigate each other Defendant’s improper
                                                                    actions which harmed Plaintiffs and failure to advise Plaintiffs of
                                                                    said actions;

                                                            g)      Negligently and grossly negligently receiving and retaining monies
                                                                    properly belonging to Plaintiffs; and
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                                                            h)      Negligently and grossly negligently failing to cease and desist in
                                                                    all improper activity in violation of Plaintiffs’ rights.

                                                            31.     Further, the negligent, tortious and improper actions by Defendants by

                                                     continuing to violate Plaintiffs’ contracted and assigned rights are reckless, willful, and

                                                     wanton disregard for Plaintiffs’ known rights.




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                                                            32.     Defendants consciously and/or deliberately engaged in recklessness,

                                                     oppression, fraud, willfulness, wantonness and will malice through their operations and

                                                     administration of Plaintiffs’ interests, which proximately caused Plaintiffs’ damages in

                                                     the past and ongoing described herein.

                                                                                       BREACH OF CONTRACT

                                                            33.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                            34.     Plaintiffs entered into or have rights derived from the Lease Agreement

                                                     and Joint Operating Agreement.

                                                            35.     Defendants failed to abide by the terms and conditions of the Lease

                                                     Assignment and Joint Operating Agreement.

                                                            36.     Plaintiffs have performed their contractual obligations, and all conditions

                                                     precedent have been met.

                                                            37.     Defendants have breach the Lease Assignment and Joint Operating

                                                     Agreement by failing to abide by one or more of the terms and conditions.

                                                            38.     This breach has cause injury to Plaintiffs.

                                                                      BREACH OF FIDUCIARY DUTY/AIDING AND ABETTING

                                                            39.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                            40.     Defendants acted as a fiduciary to Plaintiffs, owing Plaintiffs the duty of
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                                                     good faith and fair dealing and the duty to make full disclosure to Plaintiffs concerning

                                                     matters affecting the Leases.

                                                            41.     Defendants have breached and/or aided and abetted the breach of fiduciary

                                                     duties owed to Plaintiffs by knowingly and intentionally failing to fully disclose and

                                                     account for material facts concerning the Leases.




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                                                             42.     The breaches resulted in damages to Plaintiffs greatly exceeding the

                                                      minimum jurisdictional limits of this Court.

                                                             43.     Defendant Cornucopia further has received funds beneficially owned by

                                                      and payable to Plaintiffs and breached its legal, equitable and fiduciary duty to Plaintiffs

                                                      as it received, but failed to account for and pay to Plaintiffs, production royalty or

                                                      reduction of the production royalty percentage paid to the State of Alaska.

                                                             44.     Further, Defendants, acting in concert, sought and received “royalty relief

                                                      credits” and have failed and refused to account for or pay Plaintiffs these amounts.

                                                                              IMPROPER ADMINISTRATION AND ACCOUNTING

                                                             45.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             46.     Defendants have breached their duties to Plaintiffs through improper

                                                      administration. Defendants have a duty to properly account, bill, and pay the appropriate

                                                      amounts based on Plaintiffs’ interest.

                                                             47.     Defendants have failed in this duty causing Plaintiffs’ damages greatly

                                                      exceeding the minimum jurisdictional limits of this Court.

                                                             48.     Plaintiffs sue for an equitable accounting related to all joint interest

                                                      billings, and monies owed to plaintiff.
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                                                                                                CONVERSION

                                                             49.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             50.     Pursuant to the Lease Agreement and Joint Operating Agreement,

                                                      Plaintiffs are entitled to a percentage of royalties and working interest based upon oil and

                                                      gas removed from the property subject to the Leases at issue.




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                                                             51.     Defendants have established commercial production and sold substantial

                                                      quantities of oil and gas from the Leases but have failed to pay to Plaintiffs their share of

                                                      such proceeds. Accordingly, Defendants have improperly converted those rights and

                                                      monies and have refused to return same to Plaintiffs.         Further, due to Defendants’

                                                      knowledge of Plaintiffs’ rights and their intentional disregard, malice, and gross

                                                      negligence for Plaintiffs’ rights, Plaintiffs’ property and the injury which would result,

                                                      Plaintiffs seek exemplary damages from Defendants.

                                                                                             CONSPIRACY

                                                             52.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             53.     Defendants, with knowledge of Plaintiffs’ rights, conspired with concerted

                                                      action and/or aided and abetted each other in the breaches of contract and fiduciary duties

                                                      owed to Plaintiffs. Plaintiffs by knowingly and intentionally failing to fully disclose and

                                                      account for material facts concerning the Leases. The breaches caused and resulted in

                                                      damages to Plaintiffs.

                                                             54.     Defendants, wrongfully breached, intentionally, negligently and grossly

                                                      negligently acted in concert to prevent Plaintiffs from receiving the benefits of their

                                                      bargain and their rights set forth under the Lease Agreement and Joint Operating
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                                                      Agreement.    Each of these actions intentionally, negligently and grossly negligently

                                                      succeeded in breach of the Lease Agreement and Joint Operating Agreement and caused

                                                      the property interests and rights owned by Plaintiffs to be impaired and damaged.

                                                             55.     Defendants caused injury to Plaintiffs as set forth herein.

                                                             56.     Further, Defendants operated in concert throughout this matter and have

                                                      advanced a common scheme to engage in self-dealing through a myriad of interlocking




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                                                      domestic and foreign entities and to deceive Plaintiffs as to the disposition of property, to

                                                      conceal amounts received by Defendants, to prevent Plaintiffs from becoming aware of

                                                      the amounts Defendants received, to conceal and convert amounts expended through self-

                                                      dealing and other actions set forth herein.

                                                                                          UNJUST ENRICHMENT

                                                             57.     Defendants, through their improper actions, have retained property and

                                                      property interests which rightfully belong to Plaintiffs. Retention of such property is

                                                      unconscionable.

                                                                                                    FRAUD

                                                             58.     Plaintiffs incorporate all previous paragraphs as if fully restated herein.

                                                             59.     Defendants fraudulently represented to Plaintiffs that receipt of the

                                                      discovery royalties and full amount due from the tax benefits was forthcoming. These

                                                      representations were material.

                                                             60.     Defendants representations were false, and Defendants knew the

                                                      representations were false when they were made.

                                                             61.     Defendants     had    no   intention       of   following   through   on   these

                                                      misrepresentations.
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                                                             62.     Defendants fraudulent conduct was willful, wanton, and malicious.

                                                             63.     Defendants intended Plaintiffs to rely on their representations and conduct,

                                                      and Plaintiffs did in fact rely on the representations.

                                                             64.     Plaintiffs have been injured by Defendants’ fraudulent conduct and are

                                                      entitled to recover damages for that injury.




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                                                                                                VI.
                                                                                              DAMAGES

                                                             65.      As a direct and proximate result of the incidents made the basis of this

                                                      lawsuit and improper actions and failures to act by Defendants, Plaintiffs suffered serious

                                                      damage. Each action complained of herein is a direct and proximate cause of Plaintiffs’

                                                      damages set forth herein.

                                                             66.      Plaintiffs incurred the following damages, which are of a continuing

                                                      nature, due to Defendants’ actions:

                                                                   a) Any and all amounts not paid to Plaintiffs pursuant to their rights
                                                                      under the Lease Assignment and Joint Operating Agreement.

                                                                   b) All property rights sold and assigned by Defendants, monies paid
                                                                      to Defendants, and the losses incurred by Plaintiffs as a result of
                                                                      same.

                                                                   c) Interest, prejudgment and post judgment; and

                                                                   d) Any and all other damages available via statute, common law and
                                                                      equity.

                                                             67.      Because of these injuries and damages, Plaintiffs are entitled to recover

                                                      compensatory damages of an amount which is within the jurisdictional requirements of

                                                      this Honorable Court.       Plaintiffs also seek punitive and/or exemplary damages to the

                                                      extent allowed by law.
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                                                             68.      Because of the conduct of Defendants, including breach of the agreements

                                                      between the parties, Plaintiffs have been compelled to engage the services of an attorney

                                                      to prosecute this action. Plaintiffs are entitled to recover a reasonable sum for the

                                                      necessary services to the maximum extent allowed by law, including all expenses and

                                                      court costs, of the attorney in the preparation and trial of this action and for appeals to the

                                                      Court of Appeals or the Texas Supreme Court.



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                                                                                            VII.
                                                                                   CONDITIONS PRECEDENT

                                                             69.     All conditions precedent to bringing the above causes of action have been

                                                      met or occurred.

                                                                                           VIII.
                                                                                  NO ELECTION OF REMEDIES

                                                             70.     The foregoing facts and theories are pled cumulatively and alternatively,

                                                      with no election or waiver of rights or remedies.

                                                                                               IX.
                                                                                          TRIAL BY JURY

                                                             71.     Plaintiffs request trial by jury and have submitted the appropriate jury fee.

                                                                                                X.
                                                                                              PRAYER

                                                             WHEREFORE, PREMISES CONSIDERED, Allen Lawrence Berry and Danny

                                                      Davis pray that they take judgment against Defendants and recover:

                                                             a.      All the actual damages and special damages caused by the wrongful

                                                                     conduct complained of herein;

                                                             b.      Just and reasonable attorney’s fees;

                                                             c.      Pre- and post-judgment interest;
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                                                             d.      Costs of suit; and

                                                             e.      Other such relief at law and equity for which it may be justly entitled.




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                                                                                        Respectfully submitted,

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                                                                                  CERTIFICATE OF SERVICE

                                                             This is to certify that a true and complete copy of this document was served on all

                                                      counsel of record by method indicated below on the 31st day of October, 2017:

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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 5, 2019


     Certified Document Number:        77246890 Total Pages: 17




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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